                                                                                             Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 1 of 82




ID Number       Custodian          Date          Application              Subject                Author                  To                   CC                Filename          Treatment         Claim                          Privilege Statement




                                                                      DRAFT - MASS
                                                                    EMAIL ADVISORY                                                                                                                                 Draft of mass email sent to Adam Bitter for review.
                                                                    (CC/EA/VR - 1031) -                                                                                                                             The draft mass email informs election officials of
                                                                                                                                                                                               Attorney Client;
DOC_0034679   Christina Adkins   1/20/2022      Outlook Email        Advisory 2022-06 -      Christina Adkins       Adam Bitter                                                    Withhold                        Advisory 2022-06, which relates to the appointment
                                                                                                                                                                                              Deliberative Process
                                                                       Appointment                                                                                                                                 procedures for members of the Early Voting Ballot
                                                                    Procedures for Early                                                                                                                                                 Board.
                                                                    Voting Ballot Board




                                                                                                                                                                                                                   Mass email drafted by Christina Adkins and sent to
                                                                                                                                                                                                                   Kristi Hart for review, along with an inquiry about
                                                                    Draft -- email for the                                                                                                                         when the latter would like to meet with state party
DOC_0051899   Christina Adkins   10/22/2021     Outlook Email        State Party Folks       Christina Adkins        Kristi Hart                                                   Withhold   Deliberative Process officials about the TEAM system. The mass email is
                                                                     Primary Updates                                                                                                                                 meant to inform individuals about a forthcoming
                                                                                                                                                                                                                        email to county chairs and future webinars.




                                                                                                                                                                                                                       Charles Pinney's draft of the County Chair
                                                                                                                                                              County Chair
                                                                                                                                                                                               Attorney Client;       Handbook for Primary-Holding Parties, revised
DOC_0051900   Christina Adkins   10/22/2021   Microsoft Word 2016                             Charles Pinney                                                   Handbook -          Withhold
                                                                                                                                                                                              Deliberative Process     October 2021 and included in an email from
                                                                                                                                                              DRAFT.docx
                                                                                                                                                                                                                            Christina Adkins to Kristi Hart.




                                                                                                                                                                                                                       Email from Elections Divison employee to FBI
                                                                    RE: FBI Request for
                                                                                                                                                                                                                     agent in response to agent's inquiry about specific,
DOC_0055013   Christina Adkins   10/29/2021     Outlook Email        Assistance - Texas        Kate Fisher      James Runkel (FBI)      Christina Adkins                           Withhold      Investigative
                                                                                                                                                                                                                       named targets of ongoing FBI investigations of
                                                                     Voter Registration
                                                                                                                                                                                                                                        voter fraud.




                                                                                                                                                           Lily review - TEAM -                                        Draft copy of TEAM Ballot by Mail manual with
DOC_0215504     Kristi Hart       1/9/2022    Microsoft Word 2016                              Lillian Eder                                                    Ballot by Mail      Withhold   Deliberative Process       Election Division employee's edits, revealing
                                                                                                                                                           Manual 012022.docx                                        internal development of SOS policies and guidance.




                                                                      RE: RE: MASS                               Christina Adkins;
                                                                                                                                                                                                                      Draft of "Election Day Reminders" mass email to
                                                                    EMAIL ADVISORY                              Elections-Attorneys;                                                           Attorney Client;
DOC_0232088    Chuck Pinney       3/2/2020      Outlook Email                                 Charles Pinney                                                                       Withhold                          election officials that features edits and comments
                                                                    (CC/EA- ) - Election                         Alexa Buxkemper;                                                             Deliberative Process
                                                                                                                                                                                                                         from Christina Adkins and Charles Pinney.
                                                                      Day Reminders                              David Velez-Perez




                                                                                                                 Christina Adkins;
                                                                     RE: MASS EMAIL                             Genevieve Gill; Heidi
                                                                                                                                                                                                                      Email chain with internal discussion about draft
                                                                    ADVISORY (CC/EA- )                          Martinez; Elections-                                                           Attorney Client;
DOC_0232092    Chuck Pinney       3/2/2020      Outlook Email                                 Charles Pinney                                                                       Withhold                           version of "Election Day Reminders" mass email,
                                                                      - Election Day                              Attorneys; Alexa                                                            Deliberative Process
                                                                                                                                                                                                                     involving multiple attorneys and Christina Adkins.
                                                                        Reminders                                Buxkemper; David
                                                                                                                    Velez-Perez
                                                                                  Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 2 of 82




                                                           RE: MASS EMAIL                             Christina Adkins;                                                               Charles Pinney's copy of Christina Adkins' draft for
                                                          ADVISORY (CC/EA- )                         Elections-Attorneys;                                         Attorney Client;    the "Election Day Reminders" mass email that she
DOC_0232093   Chuck Pinney    3/2/2020    Outlook Email                            Charles Pinney                                                     Withhold
                                                            - Election Day                            Alexa Buxkemper;                                           Deliberative Process sent to other SOS attorneys and staff members for
                                                              Reminders                               David Velez-Perez                                                                                    review.




                                                          Re: DRAFT -- MASS                                                                                                               Charles Pinney's copy of email chain featuring
                                                                                                      Krystine Ramon;
                                                          EMAIL (CC/EA/VR -                                                                                       Attorney Client;         comments from Krystine Ramon regarding
DOC_0232306   Chuck Pinney   7/10/2020    Outlook Email                            Charles Pinney     Christina Adkins;                               Withhold
                                                           940) REMINDERS                                                                                        Deliberative Process   Christina Adkins' initial draft of the Reminders for
                                                                                                         Elec Legal
                                                            for Election Day                                                                                                                        Election Day mass email.




                                                           Re: DRAFT - MASS
                                                                                                      Krystine Ramon;                                                                   Email containing Charles Pinney's proposed edits to
                                                          EMAIL (CC/EA/VR -
                                                                                                       Genevieve Gill;                                            Attorney Client;        Christina Adkins' draft mass email about hand-
DOC_0232397   Chuck Pinney    8/6/2020    Outlook Email   940) - Hand-Delivery     Charles Pinney                                                     Withhold
                                                                                                      Christina Adkins;                                          Deliberative Process    delivery of mail ballots during the November 2020
                                                            of Mail Ballots for
                                                                                                         Elec Legal                                                                                       General Election.
                                                            November 3, 2020




                                                                                                                                                                                        Charles Pinney responding to Keith Ingram's email
                                                                                                                                                                                         to multiple SOS attorneys requesting information
DOC_0232849   Chuck Pinney   12/3/2020    Outlook Email     Re: goliad county      Charles Pinney       Keith Ingram                                  Withhold     Attorney Client
                                                                                                                                                                                          about vote irregularities that occurred in Goliad
                                                                                                                                                                                                              County.




                                                                                                                                                                                          Email from Christina Adkins to Kathy Haigler
                                                                                                                                                                                            (Legislative Director for Rep. Dennis Paul)
                                                           RE: substitute for                        Kathy.Haigler@house                                                                 containing edits to draft amendment language as
DOC_0233032   Chuck Pinney   4/12/2021    Outlook Email                           Christina Adkins                          Charles Pinney            Withhold       Legislative
                                                             CSHB 3281                                    .texas.gov                                                                      part of responding to the Ms. Haigler's inquiry
                                                                                                                                                                                           about adding a postmark deadline for mail-in
                                                                                                                                                                                                       ballots to CSHB 3281.




                                                                                                                                                                                        Email from Charles Pinney responding to discussion
                                                                                                                                                                                        involving Keith Ingram and Christina Adkins about
                                                            Re: Complaints
                                                                                                                              Tamara                                                         potentially referring complaints to OAG for
DOC_0234053   Chuck Pinney   11/20/2020   Outlook Email    regarding El Paso       Charles Pinney       Keith Ingram                                  Withhold     Attorney Client
                                                                                                                            Schoonmaker                                                  investigation and containing draft referral letters
                                                            Election Judges
                                                                                                                                                                                         for El Paso County judges for obstruction of a poll
                                                                                                                                                                                                               watcher.




                                                                                                                                                                                         Email chain between Charles Pinney and Kristi
                                                                                                                                                                                         Hart, with Christina Adkins often cc'd, featuring
                                                          Re: Possible Harrison
DOC_0235860   Chuck Pinney   10/4/2020    Outlook Email                            Charles Pinney        Kristi Hart                                  Withhold     Attorney Client        internal discussion about potential alternative
                                                          County Voter Fraud
                                                                                                                                                                                        explanations for voter registration fraud allegation
                                                                                                                                                                                             forwarded from Harrison County official.
                                                                                   Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 3 of 82




                                                                                                                                                                                         Internal communication involving multiple SOS
                                                            RE: Application to                        Krystine Ramon;
                                                                                                                            Christina Adkins;                      Attorney Client;    attorneys and employees regarding design and legal
DOC_0353089   Heidi Martinez   5/11/2020   Outlook Email    Cancel ABBM and         Heidi Martinez   Alexa Buxkemper;                                  Withhold
                                                                                                                            David Velez-Perez                     Deliberative Process requirements for Application to Cancel ABBM and
                                                            Cancellation Chart                       Elections-Attorneys
                                                                                                                                                                                                      Cancellation Chart.




                                                                                                                                                                                           Email from Heidi Martinez to Christina Adkins
                                                                                                                                                                                         featuring Spanish language translation for draft of
DOC_0353224   Heidi Martinez   6/25/2020   Outlook Email   FW: Sign language....    Heidi Martinez    Christina Adkins                                 Withhold   Deliberative Process
                                                                                                                                                                                          Health Protocols for Voting in Person signage and
                                                                                                                                                                                                      Curbside Voting signage.




                                                                                                                                                                                                Email chain involving multiple SOS
                                                                                                                                                                                         attorneys—including Charles Pinney, Genevieve
                                                                                                       Charles Pinney;
                                                                                                                                                                                         Gill, Krystine Ramon, Heidi Martinez, Christina
                                                                                                        Melanie Best;
                                                           RE: Joint Ballot by                                                                                                           Adkins, and Melanie Best—who are engaging in
                                                                                                      Christina Adkins;                                            Attorney Client;
DOC_0353248   Heidi Martinez   6/30/2020   Outlook Email   Mail Issues - SD 14      Heidi Martinez                                                     Withhold                        legal analysis and formulating policy in response to
                                                                                                      Krystine Ramon;                                             Deliberative Process
                                                           and Primary Runoff                                                                                                          voter's question about whether she can still vote in
                                                                                                       Genevieve Gill;
                                                                                                                                                                                         a party's primary if she received a ballot that did
                                                                                                     Elections-Attorneys
                                                                                                                                                                                       not include the primary candidates and has already
                                                                                                                                                                                                       mailed that ballot off.




                                                                                                                                                                                        Email chain responding to initial email from Keith
                                                                                                     Melanie Best; Lena
                                                                                                                                                                                           Ingram about potential voter harassment in
                                                                                                     Proft; Keith Ingram;
                                                                                                                                                                   Attorney Client;    Maverick County in relation to curbside voting and
DOC_0353284   Heidi Martinez   7/9/2020    Outlook Email   RE: maverick county      Heidi Martinez     Genevieve Gill;                                 Withhold
                                                                                                                                                                  Deliberative Process featuring internal discussion among multiple SOS
                                                                                                       Charles Pinney;
                                                                                                                                                                                       attorneys of the application of the 100 foot zone rule
                                                                                                     Elections-Attorneys
                                                                                                                                                                                                        to the facts alleged.




                                                                                                                                                                                         Email from Heidi Martinez to other SOS attorneys
                                                           RE: DRAFT -- MASS                           Charles Pinney;
                                                                                                                                                                                          offering comments and questions in response to
                                                           EMAIL (CC/EA/VR -                          Krystine Ramon;                                              Attorney Client;
DOC_0353304   Heidi Martinez   7/10/2020   Outlook Email                            Heidi Martinez                                                     Withhold                           their comments and proposed edits of Christina
                                                            940) REMINDERS                            Christina Adkins;                                           Deliberative Process
                                                                                                                                                                                          Adkins' draft Reminders for Election Day mass
                                                             for Election Day                            Elec Legal
                                                                                                                                                                                                             email.




                                                                                                                                                                                        Email from Heidi Martinez to other SOS attorneys
                                                             RE: Quickparts                            Genevieve Gill;                                             Attorney Client;     featuring draft response by her and Melanie Best
DOC_0353440   Heidi Martinez   8/4/2020    Outlook Email                            Heidi Martinez                            Melanie Best             Withhold
                                                               (DRAFT)                                Christina Adkins                                            Deliberative Process addressing frequent questions about the use of drop
                                                                                                                                                                                                    boxes for ballots by mail.




                                                                                                                                                                                       Email chain featuring additional discussion among
                                                             RE: Quickparts                           Christina Adkins;                                            Attorney Client;         SOS attorneys and revised draft response
DOC_0353445   Heidi Martinez   8/4/2020    Outlook Email                            Heidi Martinez                            Melanie Best             Withhold
                                                               (DRAFT)                                 Genevieve Gill                                             Deliberative Process addressing frequent questions about the use of drop
                                                                                                                                                                                                    boxes for ballots by mail.
                                                                                    Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 4 of 82




                                                             RE: March 1 2022                                                                                                              Email from Lillian Eder to Kristi Hart correcting
                                                                                                                             Heidi Martinez;
DOC_0355637   Heidi Martinez   11/30/2021   Outlook Email     SOP updates for         Lillian Eder        Kristi Hart                                   Withhold   Deliberative Process    errors in Spanish translation for draft language
                                                                                                                              Lillian Eder
                                                               VoteTexas.gov                                                                                                                       updating VoteTexas.gov website.




                                                                                                      Ruth Hughs; Joe
                                                                                                                                                                                            Email from Adam Bitter to executive level SOS
                                                               Straight-Ticket                        Esparza; Stephen
DOC_0360975    Joe Esparza     9/28/2020    Outlook Email                             Adam Bitter                                                       Withhold     Attorney Client      employees relating to update sent to county officials
                                                               Voting Update                           Chang; Teresa
                                                                                                                                                                                                  following decision by Fifth Circuit.
                                                                                                          Farfan




                                                                                                                                                                                              Email from Secretary Hughs inquiring about
                                                            Re: Draft mass email                       Adam Bitter; Joe                                             Attorney Client;         language in draft mass email to local election
DOC_0361182    Joe Esparza     10/13/2020   Outlook Email                             Ruth Hughs                                                        Withhold
                                                             re ballot markings                           Esparza                                                  Deliberative Process    officials written by Adam Bitter and pertaining to
                                                                                                                                                                                                           markings on ballots.




                                                                                                                                                                                            Email from Adam Bitter replying to Secretary
                                                            RE: Draft mass email                       Ruth Hughs; Joe                                              Attorney Client;     Hughs' inquiry about language in draft mass email
DOC_0361184    Joe Esparza     10/13/2020   Outlook Email                             Adam Bitter                                                       Withhold
                                                             re ballot markings                            Esparza                                                 Deliberative Process to local election officials written by Adam Bitter and
                                                                                                                                                                                                  pertaining to markings on ballots.




                                                                                                                                                                                          Secretary Hughs' reply email to Adam Bitter about
                                                            Re: Draft mass email                       Adam Bitter; Joe                                             Attorney Client;      the former's inquiry about language in draft mass
DOC_0361188    Joe Esparza     10/13/2020   Outlook Email                             Ruth Hughs                                                        Withhold
                                                             re ballot markings                           Esparza                                                  Deliberative Process    email to local election officials written by Adam
                                                                                                                                                                                             Bitter and pertaining to markings on ballots.




                                                                                                                                                                                         Email from Adam Bitter containing draft of mass
                                                            Draft mass email re                        Ruth Hughs; Joe                                              Attorney Client;
DOC_0361192    Joe Esparza     10/13/2020   Outlook Email                             Adam Bitter                                                       Withhold                        email to local election officials addressing markings
                                                             ballot markings                               Esparza                                                 Deliberative Process
                                                                                                                                                                                                              on ballots.




                                                               FOR REVIEW:
                                                              Secretary Hughs
                                                             Encourages Texans
                                                               To Vote Early,
                                                                                                      Joe Esparza; Adam                                                                  Email from Stephen Chang to executive level SOS
                                                                  Observe
DOC_0362141    Joe Esparza     6/15/2020    Outlook Email                            Stephen Chang   Bitter; Keith Ingram;                              Withhold   Deliberative Process officials regarding draft language for a press release
                                                               Recommended
                                                                                                          Ruth Hughs                                                                             on early voting and health protocols.
                                                            Health Protocols, And
                                                             Make Preparations
                                                             To Cast A Ballot In
                                                             July 14th Election
                                                                                Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 5 of 82




                                                         RE: FOR REVIEW:
                                                          Secretary Hughs
                                                         Encourages Texans
                                                           To Vote Early,                                                                                                               Recirculation of email from Stephen Chang to
                                                                                                  Joe Esparza; Adam
                                                              Observe                                                                                                                    executive level SOS officials regarding draft
DOC_0362162   Joe Esparza   6/17/2020   Outlook Email                            Stephen Chang   Bitter; Keith Ingram;                              Withhold   Deliberative Process
                                                           Recommended                                                                                                                 language for a press release on early voting and
                                                                                                      Ruth Hughs
                                                        Health Protocols, And                                                                                                                          health protocols.
                                                         Make Preparations
                                                         To Cast A Ballot In
                                                         July 14th Election


                                                         RE: FOR REVIEW:
                                                          Secretary Hughs
                                                         Encourages Texans
                                                           To Vote Early,
                                                                                                                                                                                      Reply email from Adam Bitter stating he will have
                                                              Observe                            Stephen Chang; Joe                                             Attorney Client;
DOC_0362171   Joe Esparza   6/18/2020   Outlook Email                             Adam Bitter                                                       Withhold                          edits to draft language for a press release on early
                                                           Recommended                                Esparza                                                  Deliberative Process
                                                                                                                                                                                                  voting and health protocols.
                                                        Health Protocols, And
                                                         Make Preparations
                                                         To Cast A Ballot In
                                                         July 14th Election


                                                         FW: FOR REVIEW:
                                                          Secretary Hughs
                                                         Encourages Texans
                                                           To Vote Early,
                                                                                                                                                                                      Email from Stephen Chang regarding need for
                                                              Observe                              Adam Bitter; Joe                                             Attorney Client;
DOC_0362172   Joe Esparza   6/18/2020   Outlook Email                            Stephen Chang                                                      Withhold                        review by Adam Bitter of draft language for a press
                                                           Recommended                                Esparza                                                  Deliberative Process
                                                                                                                                                                                        release on early voting and health protocols.
                                                        Health Protocols, And
                                                         Make Preparations
                                                         To Cast A Ballot In
                                                         July 14th Election


                                                         RE: FOR REVIEW:
                                                          Secretary Hughs
                                                         Encourages Texans
                                                           To Vote Early,
                                                                                                                                                                                    Reply email from Stephen Chang regarding waiting
                                                              Observe                              Adam Bitter; Joe
DOC_0362173   Joe Esparza   6/18/2020   Outlook Email                            Stephen Chang                                                      Withhold   Deliberative Process for Adam Bitter's edits to draft language for a press
                                                           Recommended                                Esparza
                                                                                                                                                                                        release on early voting and health protocols.
                                                        Health Protocols, And
                                                         Make Preparations
                                                         To Cast A Ballot In
                                                         July 14th Election


                                                           FOR REVIEW:
                                                          Secretary Hughs
                                                         Encourages Texans
                                                           To Vote Early,
                                                                                                  Joe Esparza; Adam                                                                 Reply email from Stephen Chang regarding waiting
                                                              Observe
DOC_0362176   Joe Esparza   6/18/2020   Outlook Email                            Stephen Chang   Bitter; Keith Ingram;                              Withhold   Deliberative Process for Adam Bitter's edits to draft language for a press
                                                           Recommended
                                                                                                      Ruth Hughs                                                                        release on early voting and health protocols.
                                                        Health Protocols, And
                                                         Make Preparations
                                                         To Cast A Ballot In
                                                         July 14th Election


                                                         Re: FOR REVIEW:
                                                          Secretary Hughs
                                                         Encourages Texans
                                                           To Vote Early,
                                                                                                                                                                                      Reply email from Stephen Chang regarding draft
                                                              Observe
DOC_0362181   Joe Esparza   6/19/2020   Outlook Email                            Stephen Chang       Adam Bitter         Joe Esparza                Withhold   Deliberative Process   language for a press release on early voting and
                                                           Recommended
                                                                                                                                                                                                      health protocols.
                                                        Health Protocols, And
                                                         Make Preparations
                                                         To Cast A Ballot In
                                                         July 14th Election




                                                        FW: DRAFT -- MASS
                                                                                                                                                                                      Email forwarding Christina Adkins' draft mass
                                                        EMAIL (CC/EA/VR -
DOC_0362273   Joe Esparza   7/10/2020   Outlook Email                             Adam Bitter        Joe Esparza                                    Withhold   Deliberative Process email to county officials providing certain reminders
                                                         940) REMINDERS
                                                                                                                                                                                                      for election day.
                                                          for Election Day
                                                                                 Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 6 of 82




                                                                                                                                                                                        Email chain featuring discussion of Adam Bitter's
                                                             RE: legislative                         Adam Bitter; Sam                                            Attorney Client;
DOC_0362533   Joe Esparza    9/23/2021    Outlook Email                            Joe Esparza                                                       Withhold                              edits to Keith Ingram's legislative update
                                                                update                                   Taylor                                                 Deliberative Process
                                                                                                                                                                                                          presentation.




                                                                                                                                                                                         Email from Stephen Chang discussing potential
                                                          FW: KXAN request                          Joe Esparza; Adam
DOC_0366936   Joe Esparza    8/24/2020    Outlook Email                           Stephen Chang                                                      Withhold     Attorney Client       responses to media inquiry about SOS policies for
                                                                8/24                                Bitter; Keith Ingram
                                                                                                                                                                                        nursing home residents voting during COVID-19.




                                                                                                                           Joe Esparza; Adam                                            Email clarifying which executive level staff should
                                                           Emails concerning                                                Bitter; Shamika                                               receive emails that question the results of the
DOC_0378183   Joe Esparza    11/30/2020   Outlook Email                          Pepe De La Garza     Stephen Chang                                  Withhold   Deliberative Process
                                                            election results                                                Fehr; Pepe De La                                            election as part of formulation of policy on how to
                                                                                                                                 Garza                                                                respond to such emails.




                                                                                                                                                                                       Email from Keith Ingram to Deputy Secretary and
                                                          FW: Records Request
                                                                                                    Joe Esparza; Adam                                                                  high level legal staff at SOS discussing legal issues
                                                              for Electronic                                                                                     Attorney Client;
DOC_0383243   Keith Ingram   8/10/2020    Outlook Email                           Keith Ingram       Bitter; Christina                                Redact                             surrounding, and potential response to, Burnet
                                                           Election Tabulation                                                                                  Deliberative Process
                                                                                                          Adkins                                                                       County's inquiry about PIA request received from
                                                               Information
                                                                                                                                                                                                          True the Vote.




                                                                                                                                                                                       Email chain between Teri Avery (Director of House
                                                                                                                                                                                        Elections Committee) and Keith Ingram featuring
                                                                                                                                                                                         the former's request on behalf of the Committee
DOC_0384621   Keith Ingram   11/24/2020   Outlook Email     RE: Information         Teri Avery         Keith Ingram                                  Withhold       Legislative
                                                                                                                                                                                       Chair for information about election equipment and
                                                                                                                                                                                            voting by mail, with Ingram providing the
                                                                                                                                                                                                information available at the time.




                                                                                                                                                                                       Charles Pinney responding to Keith Ingram's email
                                                                                                                                                                                        to multiple SOS attorneys requesting information
DOC_0384625   Keith Ingram   12/3/2020    Outlook Email    Re: goliad county      Charles Pinney       Keith Ingram                                  Withhold     Attorney Client
                                                                                                                                                                                         about vote irregularities that occurred in Goliad
                                                                                                                                                                                                             County.




                                                                                                                                                                                       Krystine Ramon responding to Keith Ingram's email
                                                                                                                                                                                        to multiple SOS attorneys requesting information
DOC_0384629   Keith Ingram   12/3/2020    Outlook Email    RE: goliad county     Krystine Ramon        Keith Ingram                                  Withhold     Attorney Client
                                                                                                                                                                                         about vote irregularities that occurred in Goliad
                                                                                                                                                                                                             County.
                                                                               Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 7 of 82




                                                                                               Eric Hudson; Keith                                                                     Adam Bitter discussing ballot certification with
DOC_0384983   Keith Ingram   5/15/2020    Outlook Email    RE: Ballot Order      Adam Bitter                        Patrick Sweeten                Withhold     Attorney Client
                                                                                                     Ingram                                                                          OAG attorneys in the context of pending litigation.




                                                                                                                                                                                      Email from Keith Ingram to SOS attorneys and
                                                            RE: Election
                                                                                                Charles Pinney;        Tamara                                                        support staff responding to Charles Pinney's legal
DOC_0420228   Keith Ingram   5/27/2020    Outlook Email    Complaint Voter      Keith Ingram                                                       Withhold     Attorney Client
                                                                                                Christina Adkins     Schoonmaker                                                      analysis of election fraud complaint against city
                                                               Fraud
                                                                                                                                                                                                       council member.




                                                                                                                                                                                     Email discussing possible actions and measures to
DOC_0421042   Keith Ingram    4/8/2020    Outlook Email   RE: COVID-19 Stuff    Keith Ingram    Christina Adkins                                   Withhold   Deliberative Process
                                                                                                                                                                                      be taken in elections in response to COVID-19.




                                                                                                                                                                                      Email discussion formulating response to media
                                                          RE: KSAT Inquiry -
                                                                                                  Sam Taylor;                                                                             inquiry about SB1 requirement for video
                                                              SB 1 Video                                                                                       Attorney Client;
DOC_0421643   Keith Ingram   9/14/2021    Outlook Email                         Keith Ingram    Christina Adkins;    Joe Esparza                   Withhold                          surveillance, including draft bullet pointed outline
                                                              Streaming                                                                                       Deliberative Process
                                                                                                  Adam Bitter                                                                          edited in response to legal advice by Christina
                                                            Requirements
                                                                                                                                                                                                           Adkins.




                                                                                                                                                                                     Email forwarding various attachments involving
DOC_0443624   Keith Ingram   10/7/2020    Outlook Email         emails          Keith Ingram      Adam Bitter                                      Withhold     Attorney Client      BBM to be sent to OAG attorney Todd Disher for
                                                                                                                                                                                       review in connection with election litigation.




                                                                                                                                                                                      Email from Kristi Hart summarizing and setting
                                                                                                                                                                                       forth the location of underlying data needed for
                                                                                               Keith Ingram; Adam                                              Attorney Client;
DOC_0449848    Kristi Hart   12/29/2021   Outlook Email      SB 1 Report         Kristi Hart                                                       Withhold                           Adam Bitter to draft the report submitted to the
                                                                                                      Bitter                                                  Deliberative Process
                                                                                                                                                                                      legislature about voter registration cancellations
                                                                                                                                                                                                  due to non-U.S. citizenship.




                                                                                                                                                                                      Email chain with Adam Bitter's response and
                                                                                                                                                                                     analysis of Kristi Hart's email summarizing the
                                                                                               Adam Bitter; Keith                                              Attorney Client;    underlying data needed for Adam Bitter to draft the
DOC_0449855    Kristi Hart   12/30/2021   Outlook Email    RE: SB 1 Report       Kristi Hart                                                       Withhold
                                                                                                   Ingram                                                     Deliberative Process   report submitted to the legislature about voter
                                                                                                                                                                                       registration cancellations due to non-U.S.
                                                                                                                                                                                                        citizenship.
                                                                                 Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 8 of 82




                                                           RE: Election Day                                                                                                                           Email reply from Kristi Hart responding to Andria
                                                                                                                                                                                Attorney Client;
DOC_0452597   Kristi Hart   10/29/2020   Outlook Email      Reminders for          Kristi Hart      Andria Perales                                                  Withhold                            Perales' draft mass email about election day
                                                                                                                                                                               Deliberative Process
                                                              Inspectors                                                                                                                                     reminders for poll place inspectors.




                                                                                                                                                                                                       Email discussing how to respond to remaining
DOC_0455469   Kristi Hart   9/27/2020    Outlook Email   Coopersmith Request       Kate Fisher       Adam Bitter            Kristi Hart                              Redact    Deliberative Process portions of PIA request seeking data about absentee
                                                                                                                                                                                                                      voting in Texas.




                                                         RE: NPR News Data-                                             Kristi Hart; Lillian   RE_ NPR News Data-                                      Email discussing how to respond to media inquiry
DOC_0455472   Kristi Hart    8/6/2020    Outlook Email                             Kate Fisher       Keith Ingram                                                    Redact    Deliberative Process
                                                               Ready                                                           Eder                Ready.msg                                           about ballots rejected in the March 2020 primary.




                                                         FW: DRAFT - DRAFT
                                                            - MASS E-MAIL
                                                                                                                                                                                                        Internal draft of mass email advisory to county
DOC_0462471   Kristi Hart   11/20/2020   Outlook Email   ADVISORY (VR/E/V-)        Kristi Hart        Lillian Eder                                                  Withhold   Deliberative Process
                                                                                                                                                                                                      election officials on the removal of suspense voters.
                                                         - Suspense List Voter
                                                              Cancellations




                                                                                                                                                                                                      Email chain between Adam Bitter and Kristi Hart
                                                                                                                                                                                 Attorney Client;
DOC_0487228   Kristi Hart    1/6/2022    Outlook Email    RE: DOJ Data File        Adam Bitter        Kristi Hart                                                   Withhold                          discussing production of requested TEAM database
                                                                                                                                                                                  Work Product
                                                                                                                                                                                                                   material in this litigation.




                                                         RE: DRAFT - DRAFT
                                                            - MASS E-MAIL                                                                                                                           Email from Lillian Eder commented on Kristi Hart's
DOC_0488843   Kristi Hart   11/20/2020   Outlook Email   ADVISORY (VR/E/V-)        Lillian Eder       Kristi Hart                                                   Withhold   Deliberative Process draft mass email advisory about suspense list voter
                                                         - Suspense List Voter                                                                                                                                         cancellations.
                                                              Cancellations




                                                                                                                                                                                                      Email sent at the direction of counsel by Kristi Hart
                                                                                                  Timothy Endruschat;                                                                                    to vendors that maintain the TEAM database
DOC_0491863   Kristi Hart    1/6/2022    Outlook Email      DOJ Data File          Kristi Hart    Vinayak Deshmukh;                                                 Withhold      Work Product            formulating instructions for how the TEAM
                                                                                                     Melissa Peters                                                                                   database can be extracted and produced pursuant to
                                                                                                                                                                                                             the discovery request in this litigation.
                                                                               Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 9 of 82




                                                                                                                                                                                                      Email chain involving Adam Bitter attempting to
                                                            FW: Santa Fe                                                                                                                              determine the scope and proper response to PIA
                                                                                                                        Adam Bitter; Kristi                                    Attorney Client;
DOC_0494650   Kristi Hart   10/28/2021   Outlook Email   Independent School       Kate Fisher        Adam Bitter                                                    Redact                               request for older emails addressing whether
                                                                                                                              Hart                                            Deliberative Process
                                                              District                                                                                                                               allowing an employee to wear blue jeans to work if
                                                                                                                                                                                                            that person voted constitutes bribery




                                                                                                                                                                                                    Email chain involving Keith Ingram and multiple
                                                                                                                                                                                                   SOS attorneys discussing how to respond to inquiry
                                                          FW: Blue jeans day                                                                  FW_ Blue jeans day               Attorney Client;
DOC_0494651   Kristi Hart   10/26/2021   Outlook Email                           Melanie Best         Elec Legal                                                   Withhold                         about whether allowing an employee to wear blue
                                                              at schools                                                                        at schools.msg                Deliberative Process
                                                                                                                                                                                                      jeans to work if that person voted constitutes
                                                                                                                                                                                                                          bribery




                                                                                                                                                                                                      Email chain involving multiple SOS attorneys
                                                          RE: DRAFT: GOTV                          Christina Adkins;                          RE_ DRAFT_ GOTV
                                                                                                                                                                               Attorney Client;    discussing how to respond to inquiry about whether
DOC_0494653   Kristi Hart   9/15/2017    Outlook Email        Efforts and      Andre Montgomery      Melanie Best;                                Efforts and       Redact
                                                                                                                                                                              Deliberative Process allowing an employee to wear blue jeans to work if
                                                              Incentives                          Elections-Attorneys                           Incentives.msg
                                                                                                                                                                                                          that person voted constitutes bribery




                                                            MASS EMAIL
                                                                                                                                                                                                      Kristi Hart requesting that Lillian Eder carefully
                                                           (CC/EA/VR-42):
                                                                                                                                                                                                     review her draft of a mass email advisory to county
DOC_0496840   Kristi Hart   8/24/2020    Outlook Email   Important Dates for      Kristi Hart        Lillian Eder                                                  Withhold   Deliberative Process
                                                                                                                                                                                                       officials regarding the special election in Senate
                                                           Special Election,
                                                                                                                                                                                                                           District 50.
                                                          Senate District 30




                                                                                                                                                                                                      Email sent to Adam Bitter providing update and
                                                           FW: 2020 Voter                                               Adam Bitter; Kristi                                    Attorney Client;
DOC_0498851   Kristi Hart   7/22/2021    Outlook Email                            Kate Fisher        Adam Bitter                                                    Redact                              seeking clarification on PIA request voter
                                                          Registration Data                                                   Hart                                            Deliberative Process
                                                                                                                                                                                                                     registration data.




                                                                                                                                                                                                       Email from Adam Bitter seeking clarification on
                                                          FW: Coopersmith                                               Kristi Hart; Adam                                                              SOS's initial response to PIA request related to
DOC_0499032   Kristi Hart   9/28/2020    Outlook Email                           Adam Bitter         Kate Fisher                                                    Redact      Attorney Client
                                                              Request                                                   Bitter; Adam Bitter                                                          absentee voting in Texas in order to determine what
                                                                                                                                                                                                                  else needs to be produced.




                                                               PLEASE
                                                         PROOF>>>>>>>>MA
                                                                                                                                                                                                       Email containing draft of mass email advisory to
                                                              SS E-MAIL
                                                                                                  Lillian Eder; Beva                                                                                  county election officials about activities that must
DOC_0507711   Kristi Hart   12/29/2021   Outlook Email       ADVISORY             Kristi Hart                                                                      Withhold   Deliberative Process
                                                                                                        Kellison                                                                                       be completed in preparation for the March 2022
                                                         (VR/EA/CC/V-1002) -
                                                                                                                                                                                                                            Primary.
                                                            March 3, 2020
                                                           Primary Election
                                                                                   Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 10 of 82




                                                             RE: PLEASE
                                                         PROOF>>>>>>>>MA                                                                                                                Brief response confirming that mass email advisory
                                                              SS E-MAIL                                                                                                                 to county election officials about activities that must
                                                                                                       Kristi Hart; Beva
DOC_0507712   Kristi Hart   12/29/2021   Outlook Email       ADVISORY                Lillian Eder                                                       Withhold   Deliberative Process    be completed in preparation for the March 2022
                                                                                                           Kellison
                                                         (VR/EA/CC/V-1002) -                                                                                                              Primary should be sent the following today, with
                                                            March 3, 2020                                                                                                                   the draft email contained in the email chain.
                                                           Primary Election




                                                         RE: Update and proof
                                                         - FW: MASS EMAIL                                                                                                                 Email reply from Beva Kellison about calculating
                                                            (CC/EA/VR-45)                                                                                                                  dates included in Kristi Hart's draft mass email
                                                          Important Dates for                                                                                                              advisory about the special election in CD6. The
DOC_0508019   Kristi Hart   5/12/2021    Outlook Email                               Beva Kellison        Kristi Hart                                   Withhold   Deliberative Process
                                                            Special Runoff                                                                                                                draft mass email included information about hand
                                                              Election for                                                                                                                delivery of mail ballots and extended early voting
                                                             Congressional                                                                                                                                       hours.
                                                               District 6




                                                              RE: PROOF
                                                           PLEASE: MASS                                                                                                                  Email reply from Lillian Eder about updating the
                                                         EMAIL (CC/EA/VR-                                                                                                               TEAM Election calendar with the dates included in
                                                         45) Important Dates                                                                                                             Kristi Hart's draft mass email advisory about the
DOC_0508051   Kristi Hart   5/14/2021    Outlook Email                               Lillian Eder         Kristi Hart                                   Withhold   Deliberative Process
                                                          for Special Runoff                                                                                                            special election in CD6, which included information
                                                              Election for                                                                                                               about hand delivery of mail ballots and extended
                                                            Congressional                                                                                                                                 early voting hours.
                                                               District 6




                                                         RE: Please review------
                                                            ---MASS EMAIL                                                                                                               Email with Beva Kellison's suggested edits to Kristi
                                                             (CC/EA/VR-93)                                                                                                               Hart's draft mass email advisory about the special
DOC_0508060   Kristi Hart    2/3/2021    Outlook Email    Important Dates for        Beva Kellison        Kristi Hart         Beva Kellison             Withhold   Deliberative Process runoff election in HD68, which included information
                                                             Special Runoff                                                                                                               about hand delivery of mail ballots and extended
                                                           Election for House                                                                                                                             early voting hours.
                                                               District 68




                                                         Please review---------
                                                            MASS EMAIL
                                                                                                                                                                                          Email with Kristi Hart's draft mass email advisory
                                                           (CC/EA/VR-93)
                                                                                                     Beva Kellison; Lillian                                                                 about the special runoff election in HD68, which
DOC_0508062   Kristi Hart    2/3/2021    Outlook Email   Important Dates for          Kristi Hart                                                       Withhold   Deliberative Process
                                                                                                            Eder                                                                           included information about hand delivery of mail
                                                            Special Runoff
                                                                                                                                                                                                ballots and extended early voting hours.
                                                          Election for House
                                                              District 68




                                                         FW: MASS EMAIL
                                                           (CC/EA/VR-93)                                                                                                                 Email with Kristi Hart's draft mass email advisory
                                                         Important Dates for                          Lillian Eder; Beva                                                                  about the special election in CD6, which included
DOC_0508305   Kristi Hart   2/23/2021    Outlook Email                                Kristi Hart                                                       Withhold   Deliberative Process
                                                         Special Election for                               Kellison                                                                    information about hand delivery of mail ballots and
                                                            Congressional                                                                                                                           extended early voting hours.
                                                              District 6




                                                          RE: MASS EMAIL
                                                                                                                                                                                            Email reply from Lillian Eder regarding Kristi
                                                           (CC/EA/VR-93)
                                                                                                                                                                                          Hart's draft mass email advisory about the special
                                                         Important Dates for
DOC_0508310   Kristi Hart   2/23/2021    Outlook Email                               Lillian Eder         Kristi Hart                                   Withhold   Deliberative Process   election in CD6, which included information about
                                                         Special Election for
                                                                                                                                                                                           hand delivery of mail ballots and extended early
                                                            Congressional
                                                                                                                                                                                                            voting hours.
                                                              District 6
                                                                                Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 11 of 82




                                                         RE: MASS EMAIL
                                                          (CC/EA/VR-923)
                                                                                                                                                                                       Email chain featuring Kristi Hart's draft of mass
                                                             Reporting
DOC_0508980   Kristi Hart   6/1/2020    Outlook Email                             Lillian Eder         Kristi Hart                                   Withhold   Deliberative Process   email advisory on the reporting requirements for
                                                         Requirements for
                                                                                                                                                                                                         early voting.
                                                           Early Voting -
                                                              pending




                                                                                                                                                                                     Email with Kristi Hart's draft of mass email about
                                                         FW: MASS EMAIL
                                                                                                     Keith Ingram;                                                                    upcoming events to be held by the SOS Elections
                                                          (CC/EA/VR-942)
DOC_0509125   Kristi Hart   6/28/2020   Outlook Email                              Kristi Hart      Christina Adkins;                                Withhold   Deliberative Process Division, including a webinar about early voting by
                                                         Elections Division
                                                                                                      Dan Glotzer                                                                    mail ballots on 6/30/20 and a webinar about election
                                                          Upcoming Events
                                                                                                                                                                                                       security on 7/2/20.




                                                         RE: DRAFT DRAFT
                                                        DRAFT ------MASS                                                                                                              Email with Kristi Hart's draft mass email advisory
                                                        EMAIL (CC/EA/VR- )                        Beva Kellison; Lillian                                                              about the special election in HD10, which included
DOC_0510406   Kristi Hart   8/7/2021    Outlook Email                              Kristi Hart                                                       Withhold   Deliberative Process
                                                         Important Dates for                             Eder                                                                        information about hand delivery of mail ballots and
                                                         Special Election for                                                                                                                    extended early voting hours.
                                                          House District 10




                                                        FW: DRAFT DRAFT
                                                        DRAFT ------MASS                                                                                                              Email with Kristi Hart's draft mass email advisory
                                                        EMAIL (CC/EA/VR- )                                                                                                            about the special election in HD10, which included
DOC_0510802   Kristi Hart   8/10/2021   Outlook Email                              Kristi Hart       Beva Kellison                                   Withhold   Deliberative Process
                                                         Important Dates for                                                                                                         information about hand delivery of mail ballots and
                                                         Special Election for                                                                                                                    extended early voting hours.
                                                          House District 10




                                                         RE: DRAFT DRAFT
                                                                                                                                                                                        Email requesting that Kristi Hart's draft mass
                                                        DRAFT ------MASS
                                                                                                                                                                                       email advisory about the special election in HD10,
                                                        EMAIL (CC/EA/VR- )
DOC_0510888   Kristi Hart   8/9/2021    Outlook Email                              Kristi Hart       Beva Kellison                                   Withhold   Deliberative Process   which included information about hand delivery of
                                                         Important Dates for
                                                                                                                                                                                        mail ballots and extended early voting hours, be
                                                         Special Election for
                                                                                                                                                                                              sent to Lena Proft for final approval.
                                                          House District 10




                                                        RE: Update and proof
                                                        - FW: MASS EMAIL
                                                                                                                                                                                        Reply to Kristi Hart's email containing her draft
                                                           (CC/EA/VR-45)
                                                                                                                                                                                       mass email advisory about the special election in
                                                         Important Dates for                       Kristi Hart; Lillian
DOC_0511814   Kristi Hart   5/12/2021   Outlook Email                             Beva Kellison                            Beva Kellison             Withhold   Deliberative Process     CD6, which included information about hand
                                                           Special Runoff                                 Eder
                                                                                                                                                                                       delivery of mail ballots and extended early voting
                                                             Election for
                                                                                                                                                                                                              hours.
                                                            Congressional
                                                              District 6




                                                        FW: MASS EMAIL
                                                                                                                                                                                     Reply with proposed edit to Kristi Hart's draft mass
                                                          (CC/EA/VR-42):
                                                                                                                                                                                      email advisory about the special election in SD30,
DOC_0511820   Kristi Hart   8/24/2020   Outlook Email   Important Dates for       Lillian Eder         Kristi Hart                                   Withhold   Deliberative Process
                                                                                                                                                                                     which included information about hand delivery of
                                                          Special Election,
                                                                                                                                                                                        mail ballot sand extended early voting hours.
                                                         Senate District 30
                                                                                      Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 12 of 82




                                                            RE: Update and proof
                                                            - FW: MASS EMAIL
                                                                                                                                                                                                        Reply about verifying dates in Kristi Hart's draft
                                                               (CC/EA/VR-45)
                                                                                                                                                                                                        mass email advisory about the special election in
                                                             Important Dates for                         Kristi Hart; Lillian
DOC_0511848     Kristi Hart    5/12/2021    Outlook Email                               Beva Kellison                           Beva Kellison                        Withhold   Deliberative Process      CD6, which included information about hand
                                                               Special Runoff                                   Eder
                                                                                                                                                                                                        delivery of mail ballots and extended early voting
                                                                 Election for
                                                                                                                                                                                                                               hours.
                                                                Congressional
                                                                  District 6




                                                            FW: MASS EMAIL                                                                                                                               Reply with proposed edits to Kristi Hart's draft
                                                              (CC/EA/VR-78)                                                                                                                             mass email advisory about the special election in
DOC_0511922     Kristi Hart    12/28/2020   Outlook Email   Important Dates for          Lillian Eder        Kristi Hart                                             Withhold   Deliberative Process     HD68, which included information about hand
                                                            Special Election for                                                                                                                        delivery of mail ballots and extended early voting
                                                             House District 68                                                                                                                                                 hours.




                                                            RE: Please review------
                                                               ---MASS EMAIL                                                                                                                             Reply with proposed edits to Kristi Hart's draft
                                                                (CC/EA/VR-93)                                                                                                                           mass email advisory about the special election in
                                                                                                          Kristi Hart; Beva
DOC_0511932     Kristi Hart     2/3/2021    Outlook Email    Important Dates for         Lillian Eder                                                                Withhold   Deliberative Process     HD68, which included information about hand
                                                                                                              Kellison
                                                                Special Runoff                                                                                                                          delivery of mail ballots and extended early voting
                                                              Election for House                                                                                                                                               hours.
                                                                  District 68




                                                             RE: MASS EMAIL
                                                                                                                                                                                                         Reply with proposed edits to Kristi Hart's draft
                                                              (CC/EA/VR-93)
                                                                                                                                                                                                        mass email advisory about the special election in
                                                            Important Dates for
DOC_0511949     Kristi Hart    2/23/2021    Outlook Email                               Beva Kellison        Kristi Hart        Beva Kellison                        Withhold   Deliberative Process     HCD6, which included information about hand
                                                            Special Election for
                                                                                                                                                                                                        delivery of mail ballots and extended early voting
                                                               Congressional
                                                                                                                                                                                                                               hours.
                                                                 District 6




                                                            RE: DRAFT - MASS
                                                                                                                                                                                                       Email containing Krystine Ramon's proposed edits
                                                            EMAIL (CC/EA/VR -
                                                                                                                                                                                 Attorney Client;      to Christina Adkins' draft mass email about hand-
DOC_0526060   Krystine Ramon    8/6/2020    Outlook Email   940) - Hand-Delivery       Krystine Ramon     Christina Adkins                                           Withhold
                                                                                                                                                                                Deliberative Process   delivery of mail ballots during the November 2020
                                                             of Mail Ballots for
                                                                                                                                                                                                                        General Election.
                                                             November 3, 2020




                                                                                                                                                                                                      Email chain involving Keith Ingram and multiple
                                                                                                                                                                                                     SOS attorneys discussing how to respond to inquiry
                                                             FW: Blue jeans day                                                                 FW_ Blue jeans day               Attorney Client;
DOC_0532944   Krystine Ramon   10/26/2021   Outlook Email                               Melanie Best         Elec Legal                                              Withhold                         about whether allowing an employee to wear blue
                                                                 at schools                                                                       at schools.msg                Deliberative Process
                                                                                                                                                                                                        jeans to work if that person voted constitutes
                                                                                                                                                                                                                            bribery




                                                                                                                                                                                                       Internal discussion of Melanie Best's draft response
                                                             RE: DRAFT: GOTV                              Christina Adkins;                     RE_ DRAFT_ GOTV
                                                                                                                                                                                 Attorney Client;        to question in 2017 about whether allowing an
DOC_0532946   Krystine Ramon   9/15/2017    Outlook Email        Efforts and          Andre Montgomery      Melanie Best;                           Efforts and       Redact
                                                                                                                                                                                Deliberative Process    employee to wear blue jeans to work if that person
                                                                 Incentives                              Elections-Attorneys                      Incentives.msg
                                                                                                                                                                                                                    voted constitutes bribery.
                                                                                   Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 13 of 82




                                                                                                                                                                                            Email chain involving Keith Ingram and multiple
                                                                                                                                                                                           SOS attorneys discussing how to respond to inquiry
                                                            FW: Blue jeans day                                                        FW_ Blue jeans day               Attorney Client;
DOC_0533166   Krystine Ramon   10/26/2021   Outlook Email                            Melanie Best          Elec Legal                                      Withhold                         about whether allowing an employee to wear blue
                                                                at schools                                                              at schools.msg                Deliberative Process
                                                                                                                                                                                              jeans to work if that person voted constitutes
                                                                                                                                                                                                                  bribery




                                                                                                                                                                                             Internal discussion of Melanie Best's draft response
                                                            RE: DRAFT: GOTV                            Christina Adkins;              RE_ DRAFT_ GOTV
                                                                                                                                                                       Attorney Client;        to question in 2017 about whether allowing an
DOC_0533168   Krystine Ramon   9/15/2017    Outlook Email       Efforts and        Andre Montgomery      Melanie Best;                    Efforts and       Redact
                                                                                                                                                                      Deliberative Process    employee to wear blue jeans to work if that person
                                                                Incentives                            Elections-Attorneys               Incentives.msg
                                                                                                                                                                                                          voted constitutes bribery.




                                                                                                         Heidi Martinez;                                                                      Email containing Lena Proft's draft response to
                                                                                                      Melanie Best; Keith                                                                    allegations of voter intimidation of curbside voters
                                                                                                                                                                       Attorney Client;
DOC_0537896     Lena Proft      7/9/2020    Outlook Email   RE: maverick county       Lena Proft       Ingram; Genevieve                                   Withhold                             at polling location in Maverick County, which
                                                                                                                                                                      Deliberative Process
                                                                                                      Gill; Charles Pinney;                                                                    follows an email chain involving multiple SOS
                                                                                                      Elections-Attorneys                                                                      attorneys providing legal analysis of the issue.




                                                            RE: DRAFT - MASS
                                                                                                                                                                                           Email agreeing with other attorneys' proposed edits
                                                            EMAIL (CC/EA/VR -                           Genevieve Gill;
                                                                                                                                                                                            to Christina Adkins' draft mass email about hand-
DOC_0538204     Lena Proft      8/6/2020    Outlook Email   940) - Hand-Delivery      Lena Proft       Christina Adkins;                                   Withhold   Deliberative Process
                                                                                                                                                                                           delivery of mail ballots during the November 2020
                                                             of Mail Ballots for                          Elec Legal
                                                                                                                                                                                                            General Election.
                                                             November 3, 2020




                                                                                                                                                                                                    Email chain involving multiple SOS
                                                                                                                                                                                             attorneys—including Charles Pinney, Genevieve
                                                                                                        Genevieve Gill;
                                                                                                                                                                                             Gill, Krystine Ramon, Heidi Martinez, Christina
                                                                                                        Charles Pinney;
                                                            RE: Joint Ballot by                                                                                                              Adkins, and Melanie Best—who are engaging in
                                                                                                        Heidi Martinez;                                                Attorney Client;
DOC_0545703    Melanie Best    6/30/2020    Outlook Email   Mail Issues - SD 14      Melanie Best                                                          Withhold                        legal analysis and formulating policy in response to
                                                                                                       Christina Adkins;                                              Deliberative Process
                                                            and Primary Runoff                                                                                                             voter's question about whether she can still vote in
                                                                                                       Krystine Ramon;
                                                                                                                                                                                             a party's primary if she received a ballot that did
                                                                                                      Elections-Attorneys
                                                                                                                                                                                           not include the primary candidates and has already
                                                                                                                                                                                                           mailed that ballot off.



                                                                                                                                                                                                    Email chain involving multiple SOS
                                                                                                                                                                                             attorneys—including Charles Pinney, Genevieve
                                                                                                        Charles Pinney;
                                                                                                                                                                                             Gill, Krystine Ramon, Heidi Martinez, Christina
                                                                                                      Genevieve Gill; Heidi
                                                            RE: Joint Ballot by                                                                                                              Adkins, and Melanie Best—who are engaging in
                                                                                                      Martinez; Christina                                              Attorney Client;
DOC_0545704    Melanie Best    6/30/2020    Outlook Email   Mail Issues - SD 14      Melanie Best                                                          Withhold                        legal analysis and formulating policy in response to
                                                                                                       Adkins; Krystine                                               Deliberative Process
                                                            and Primary Runoff                                                                                                             voter's question about whether she can still vote in
                                                                                                       Ramon; Elections-
                                                                                                                                                                                             a party's primary if she received a ballot that did
                                                                                                          Attorneys
                                                                                                                                                                                           not include the primary candidates and has already
                                                                                                                                                                                                           mailed that ballot off.



                                                                                                                                                                                                    Email chain involving multiple SOS
                                                                                                                                                                                             attorneys—including Charles Pinney, Genevieve
                                                                                                        Genevieve Gill;
                                                                                                                                                                                             Gill, Krystine Ramon, Heidi Martinez, Christina
                                                                                                       Christina Adkins;
                                                            RE: Joint Ballot by                                                                                                              Adkins, and Melanie Best—who are engaging in
                                                                                                        Charles Pinney;                                                Attorney Client;
DOC_0545705    Melanie Best    6/30/2020    Outlook Email   Mail Issues - SD 14      Melanie Best                                                          Withhold                        legal analysis and formulating policy in response to
                                                                                                        Heidi Martinez;                                               Deliberative Process
                                                            and Primary Runoff                                                                                                             voter's question about whether she can still vote in
                                                                                                       Krystine Ramon;
                                                                                                                                                                                             a party's primary if she received a ballot that did
                                                                                                      Elections-Attorneys
                                                                                                                                                                                           not include the primary candidates and has already
                                                                                                                                                                                                           mailed that ballot off.
                                                                                Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 14 of 82




                                                                                                                                                                                              Email chain involving multiple SOS
                                                                                                                                                                                       attorneys—including Charles Pinney, Genevieve
                                                                                                   Genevieve Gill;
                                                                                                                                                                                       Gill, Krystine Ramon, Heidi Martinez, Christina
                                                                                                   Charles Pinney;
                                                          RE: Joint Ballot by                                                                                                          Adkins, and Melanie Best—who are engaging in
                                                                                                   Heidi Martinez;                                               Attorney Client;
DOC_0545707   Melanie Best   6/30/2020    Outlook Email   Mail Issues - SD 14     Melanie Best                                                       Withhold                        legal analysis and formulating policy in response to
                                                                                                  Christina Adkins;                                             Deliberative Process
                                                          and Primary Runoff                                                                                                         voter's question about whether she can still vote in
                                                                                                  Krystine Ramon;
                                                                                                                                                                                       a party's primary if she received a ballot that did
                                                                                                 Elections-Attorneys
                                                                                                                                                                                     not include the primary candidates and has already
                                                                                                                                                                                                     mailed that ballot off.




                                                             FW: Governor
                                                                                                                                                                                      Email from the Legal Team asking Keith Ingram
                                                            Abbott: institute                      Keith Ingram;
DOC_0549199   Melanie Best   6/29/2020    Outlook Email                            LegalTeam                                                          Redact    Deliberative Process how to treat correspondence received from Progress
                                                           universal vote-by-                     Christina Adkins
                                                                                                                                                                                        Texas advocating for universal vote-by-mail.
                                                                 mail!




                                                             FW: Governor
                                                                                                                                                                                      Email from the Legal Team asking Keith Ingram
                                                            Abbott: institute                      Keith Ingram;
DOC_0549264   Melanie Best   6/29/2020    Outlook Email                            LegalTeam                                                          Redact    Deliberative Process how to treat correspondence received from Progress
                                                           universal vote-by-                     Christina Adkins
                                                                                                                                                                                        Texas advocating for universal vote-by-mail.
                                                                 mail!




                                                                                                  Heidi Martinez;                                                                      Email from Melanie Best to other SOS attorneys
                                                            RE: Quickparts                       Christina Adkins;                                               Attorney Client;       commenting on revised draft response by Heidi
DOC_0549682   Melanie Best    8/4/2020    Outlook Email                           Melanie Best                                                       Withhold
                                                              (DRAFT)                             Genevieve Gill;                                               Deliberative Process   Martinez addressing frequent questions about the
                                                                                                   Melanie Best                                                                              use of drop boxes for ballots by mail.




                                                           DRAFT: Message
                                                                 from
                                                                                                                                                                                        Melanie Best's draft response to public inquiry
                                                          KM_C458_WEST(205
                                                                                                 Christina Adkins;                                               Attorney Client;    regarding late arrival of email ballot for FPCA voter
DOC_0549849   Melanie Best   4/15/2020    Outlook Email     ) Email ballots       Melanie Best                                                       Withhold
                                                                                                   Melanie Best                                                 Deliberative Process involving explanation of Federal Write-in Absentee
                                                             arrived late -
                                                                                                                                                                                                             Ballot.
                                                           Markowski (EIR)
                                                                 draft




                                                             FW: Round 3
                                                                                                                                                                                       Email from Melanie Best providing edits to draft
                                                          ADV2020-XX - Ballot                    Christina Adkins;                                               Attorney Client;
DOC_0550100   Melanie Best   10/13/2020   Outlook Email                           Melanie Best                                                       Withhold                           version of "Procedures for Ballot Corrections"
                                                            Corrections (CA                        Melanie Best                                                 Deliberative Process
                                                                                                                                                                                                      Election Advisory.
                                                                 edits)




                                                                                                                                                                                       Internal discussion and analysis regarding how to
                                                                                                 Alexa Buxkemper;
                                                            RE: Dropping off                                                                                                             respond to question from Harris County about
                                                                                                  Krystine Ramon;                                                Attorney Client;
DOC_0550104   Melanie Best   6/13/2020    Outlook Email      Voted BBM on         Melanie Best                         Adam Bitter                   Withhold                          whether in-person ballot delivery to voting clerk's
                                                                                                 Christina Adkins;                                              Deliberative Process
                                                              election day                                                                                                              office means any branch office or just the clerk's
                                                                                                     Elec Legal
                                                                                                                                                                                                          main office.
                                                                                Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 15 of 82




                                                          RE: MASS EMAIL
                                                                                                                                                                                         Email chain involving multiple SOS attorneys--
                                                             ADVISORY -
                                                                                                   Charles Pinney;                                                                       including Christina Adkins, Melanie Best, and
                                                          (CC/EA/VR -700) -
                                                                                                  Christina Adkins;                                                                     Charles Pinney--analyzing Ms. Adkins' draft mass
                                                         Questions regarding                                                                                       Attorney Client;
DOC_0550573   Melanie Best   3/20/2020   Outlook Email                            Melanie Best   Elections-Attorneys;                                  Withhold                            email advisory addressing frequently asked
                                                          Advisory 2020-12-                                                                                       Deliberative Process
                                                                                                 David Velez-Perez;                                                                    questions about a previous advisory (Advisory 2020-
                                                          Actions for May 2,
                                                                                                  Alexa Buxkemper                                                                         12) on requirements for postponing May 2000
                                                            2020 Uniform
                                                                                                                                                                                                            Election.
                                                         Election (COVID-19)




                                                                                                                                                                                       Melanie Best replying to Heidi Martinez's questions
                                                           FW: Schleicher                          Heidi Martinez;
                                                                                                                                                                   Attorney Client;    and ideas for responding to inquiry from Schleicher
DOC_0552806   Melanie Best   10/9/2020   Outlook Email   County-Question on       Melanie Best      Melanie Best;                                      Withhold
                                                                                                                                                                  Deliberative Process  County official about ballot mailed to county jail
                                                               BBM                                 Christina Adkins
                                                                                                                                                                                             inmate that was subsequently released.




                                                                                                                                                                                         Email from Melanie Best providing updated draft
                                                           FW: Quickparts                                                                                          Attorney Client;
DOC_0553165   Melanie Best   8/19/2020   Outlook Email                            Melanie Best     Christina Adkins                                    Withhold                          response addressing frequent questions about the
                                                             (DRAFT)                                                                                              Deliberative Process
                                                                                                                                                                                               use of drop boxes for ballots by mail.




                                                                                                                                   RE_ MASS EMAIL
                                                         RE: MASS EMAIL                             Heidi Martinez;
                                                                                                                                    (CC_EA_VR - ) --                                    Email from Melanie Best providing comments and
                                                          (CC/EA/VR - ) --                         Christina Adkins;                                               Attorney Client;
DOC_0553321   Melanie Best   11/7/2018   Outlook Email                            Melanie Best                                     REMINDER Ballot     Withhold                        edits to Christina Adkins' draft mass email advisory
                                                         REMINDER Ballot                           Krystine Ramon;                                                Deliberative Process
                                                                                                                                   by Mail Deadlines                                                   about BBM deadlines.
                                                         by Mail Deadlines                        Elections-Attorneys
                                                                                                                                         .msg




                                                                                                                                   RE_ MASS EMAIL
                                                         RE: MASS EMAIL                             Heidi Martinez;
                                                                                                                                    (CC_EA_VR - ) --                                    Email from Melanie Best providing comments and
                                                          (CC/EA/VR - ) --                         Christina Adkins;                                               Attorney Client;
DOC_0553324   Melanie Best   11/7/2018   Outlook Email                            Melanie Best                                     REMINDER Ballot     Withhold                        edits to Christina Adkins' draft mass email advisory
                                                         REMINDER Ballot                           Krystine Ramon;                                                Deliberative Process
                                                                                                                                   by Mail Deadlines                                                   about BBM deadlines.
                                                         by Mail Deadlines                        Elections-Attorneys
                                                                                                                                         .msg




                                                                                                   Krystine Ramon;                                                                      Email from Melanie Best replying to email chain
                                                         RE: Draft Quickpart                        Charles Pinney;                                                                       featuring multiple attorneys' suggestions and
                                                                                                                                                                   Attorney Client;
DOC_0553846   Melanie Best   10/2/2020   Outlook Email    for Ballot Drop Off     Melanie Best     Christina Adkins;                                   Withhold                         discussion about Governor's 10/1/20 proclamation
                                                                                                                                                                  Deliberative Process
                                                               Quesitons                         Lena Proft; Elections-                                                                about hand-delivery of mail ballots and poll watcher
                                                                                                      Attorneys                                                                                      observation of delivery.




                                                                                                    Heidi Martinez;                                                                      Email from Melanie Best to other SOS attorneys
                                                           RE: Quickparts                          Christina Adkins;                                               Attorney Client;       commenting on revised draft response by Heidi
DOC_0554277   Melanie Best   8/4/2020    Outlook Email                            Melanie Best                                                         Withhold
                                                             (DRAFT)                                Genevieve Gill;                                               Deliberative Process   Martinez addressing frequent questions about the
                                                                                                     Melanie Best                                                                              use of drop boxes for ballots by mail.
                                                                                Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 16 of 82




                                                                                                                                                                                       Email featuring back-and-forth discussion between
                                                                                                  Heidi Martinez;                                                                        Melanie Best and Heidi Martinez regarding the
                                                           RE: Quickparts                                                                                        Attorney Client;
DOC_0554283   Melanie Best   8/4/2020    Outlook Email                            Melanie Best   Christina Adkins;                                   Withhold                           latter's latest draft response addressing frequent
                                                             (DRAFT)                                                                                            Deliberative Process
                                                                                                  Genevieve Gill                                                                       questions about the use of drop boxes for ballots by
                                                                                                                                                                                                                mail.




                                                         RE: DRAFT - MASS                         Heidi Martinez;
                                                                                                                                                                                         Email discussing additional edits to Christina
                                                         EMAIL (CC/EA/VR -                       Krystine Ramon;
                                                                                                                                                                                        Adkins' draft mass email about hand-delivery of
DOC_0554335   Melanie Best   8/6/2020    Outlook Email   940) - Hand-Delivery     Melanie Best    Genevieve Gill;                                    Withhold   Deliberative Process
                                                                                                                                                                                        mail ballots during the November 2020 General
                                                          of Mail Ballots for                    Christina Adkins;
                                                                                                                                                                                                            Election.
                                                          November 3, 2020                          Elec Legal




                                                         FW: DRAFT - MASS
                                                                                                                                                                                         Email discussing additional edits to Christina
                                                         EMAIL (CC/EA/VR -
                                                                                                                                                                                        Adkins' draft mass email about hand-delivery of
DOC_0554512   Melanie Best   8/14/2020   Outlook Email   940) - Hand-Delivery     Melanie Best    Christina Adkins                                   Withhold   Deliberative Process
                                                                                                                                                                                        mail ballots during the November 2020 General
                                                          of Mail Ballots for
                                                                                                                                                                                                            Election.
                                                          November 3, 2020




                                                                                                  Heidi Martinez;                                                                      Email from Melanie Best providing updated draft
                                                           RE: Quickparts                                                                                        Attorney Client;
DOC_0554554   Melanie Best   8/17/2020   Outlook Email                            Melanie Best   Christina Adkins;   Elections-Attorneys             Withhold                          response addressing frequent questions about the
                                                             (DRAFT)                                                                                            Deliberative Process
                                                                                                  Genevieve Gill                                                                             use of drop boxes for ballots by mail.




                                                                                                  Heidi Martinez;
                                                                                                                                                                                       Email from Melanie Best providing updated draft
                                                           RE: Quickparts                        Christina Adkins;                                               Attorney Client;
DOC_0554557   Melanie Best   8/17/2020   Outlook Email                            Melanie Best                                                       Withhold                          response addressing frequent questions about the
                                                             (DRAFT)                              Genevieve Gill;                                               Deliberative Process
                                                                                                                                                                                             use of drop boxes for ballots by mail.
                                                                                                   Melanie Best




                                                           FW: DRAFT2:
                                                            Message from                                                                                                                  Melanie Best asking for input and making
                                                         KM_C458_WEST(205                                                                                                             additional changes to her draft response to public
                                                                                                 Christina Adkins;                                               Attorney Client;
DOC_0554632   Melanie Best   5/1/2020    Outlook Email     ) Email ballots        Melanie Best                                                       Withhold                          inquiry regarding late arrival of email ballot for
                                                                                                   Melanie Best                                                 Deliberative Process
                                                            arrived late -                                                                                                           FPCA voter involving explanation of Federal Write-
                                                          Markowski (EIR)                                                                                                                            in Absentee Ballot.
                                                                draft




                                                            FW: Round 3
                                                                                                                                                                                        Email from Melanie Best featuring comments,
                                                         ADV2020-XX - Ballot                     Christina Adkins;                                               Attorney Client;
DOC_0554836   Melanie Best   6/12/2020   Outlook Email                            Melanie Best                                                       Withhold                        suggested additional language, and edits for election
                                                           Corrections (CA                         Melanie Best                                                 Deliberative Process
                                                                                                                                                                                      advisory draft on Procedures for Ballot Corrections.
                                                                edits)
                                                                                Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 17 of 82




                                                            FW: Governor                                                                                                               Email from Melanie Best asking Keith Ingram and
                                                           Abbott: institute                       Keith Ingram;                                                                         Christina Adkins how to treat correspondence
DOC_0554946   Melanie Best   6/29/2020   Outlook Email                            Melanie Best                                                        Redact    Deliberative Process
                                                          universal vote-by-                      Christina Adkins                                                                        received from Progress Texas advocating for
                                                                mail!                                                                                                                                universal vote-by-mail.




                                                                                                                                                                                              Email chain involving multiple SOS
                                                                                                                                                                                       attorneys—including Charles Pinney, Genevieve
                                                                                                  Christina Adkins;
                                                                                                                                                                                       Gill, Krystine Ramon, Heidi Martinez, Christina
                                                                                                   Heidi Martinez;
                                                         RE: Joint Ballot by                                                                                                           Adkins, and Melanie Best—who are engaging in
                                                                                                  Krystine Ramon;                                                Attorney Client;
DOC_0554965   Melanie Best   6/29/2020   Outlook Email   Mail Issues - SD 14      Melanie Best                                                       Withhold                        legal analysis and formulating policy in response to
                                                                                                   Genevieve Gill;                                              Deliberative Process
                                                         and Primary Runoff                                                                                                          voter's question about whether she can still vote in
                                                                                                   Charles Pinney;
                                                                                                                                                                                       a party's primary if she received a ballot that did
                                                                                                 Elections-Attorneys
                                                                                                                                                                                     not include the primary candidates and has already
                                                                                                                                                                                                     mailed that ballot off.



                                                                                                                                                                                              Email chain involving multiple SOS
                                                                                                                                                                                       attorneys—including Charles Pinney, Genevieve
                                                                                                   Genevieve Gill;
                                                                                                                                                                                       Gill, Krystine Ramon, Heidi Martinez, Christina
                                                                                                  Christina Adkins;
                                                         RE: Joint Ballot by                                                                                                           Adkins, and Melanie Best—who are engaging in
                                                                                                   Charles Pinney;                                               Attorney Client;
DOC_0554981   Melanie Best   6/30/2020   Outlook Email   Mail Issues - SD 14      Melanie Best                                                       Withhold                        legal analysis and formulating policy in response to
                                                                                                   Heidi Martinez;                                              Deliberative Process
                                                         and Primary Runoff                                                                                                          voter's question about whether she can still vote in
                                                                                                  Krystine Ramon;
                                                                                                                                                                                       a party's primary if she received a ballot that did
                                                                                                 Elections-Attorneys
                                                                                                                                                                                     not include the primary candidates and has already
                                                                                                                                                                                                     mailed that ballot off.



                                                                                                                                                                                              Email chain involving multiple SOS
                                                                                                                                                                                       attorneys—including Charles Pinney, Genevieve
                                                                                                  Christina Adkins;
                                                                                                                                                                                       Gill, Krystine Ramon, Heidi Martinez, Christina
                                                                                                   Genevieve Gill;
                                                         RE: Joint Ballot by                                                                                                           Adkins, and Melanie Best—who are engaging in
                                                                                                   Charles Pinney;                                               Attorney Client;
DOC_0554990   Melanie Best   6/30/2020   Outlook Email   Mail Issues - SD 14      Melanie Best                                                       Withhold                        legal analysis and formulating policy in response to
                                                                                                   Heidi Martinez;                                              Deliberative Process
                                                         and Primary Runoff                                                                                                          voter's question about whether she can still vote in
                                                                                                  Krystine Ramon;
                                                                                                                                                                                       a party's primary if she received a ballot that did
                                                                                                 Elections-Attorneys
                                                                                                                                                                                     not include the primary candidates and has already
                                                                                                                                                                                                     mailed that ballot off.




                                                                                                                                                                                      Email chain responding to initial email from Keith
                                                                                                   Lena Proft; Keith                                                                     Ingram about potential voter harassment in
                                                                                                  Ingram; Genevieve                                              Attorney Client;    Maverick County in relation to curbside voting and
DOC_0555140   Melanie Best   7/7/2020    Outlook Email   RE: maverick county      Melanie Best                                                       Withhold
                                                                                                 Gill; Charles Pinney;                                          Deliberative Process featuring internal discussion among multiple SOS
                                                                                                 Elections-Attorneys                                                                 attorneys of the application of the 100 foot zone rule
                                                                                                                                                                                                      to the facts alleged.




                                                                                                                                                                                        Email chain involving Melanie Best's additional
                                                         FW: Timely Return of                                                                                    Attorney Client;      suggested edits for Christina Adkins' updated draft
DOC_0555374   Melanie Best   2/27/2020   Outlook Email                            Melanie Best    Christina Adkins                                   Withhold
                                                          Corrected Ballots                                                                                     Deliberative Process     mass email to local election officials about the
                                                                                                                                                                                               timely return of corrected ballots.




                                                                                                   Genevieve Gill;
                                                                                                  Christina Adkins;
                                                          RE: MASS EMAIL
                                                                                                   Charles Pinney;                                                                      Email chain with internal discussion about draft
                                                         ADVISORY (CC/EA- )                                                                                      Attorney Client;
DOC_0555402   Melanie Best   3/2/2020    Outlook Email                            Melanie Best     Heidi Martinez;                                   Withhold                           version of "Election Day Reminders" mass email,
                                                           - Election Day                                                                                       Deliberative Process
                                                                                                 Elections-Attorneys;                                                                  involving multiple attorneys and Christina Adkins.
                                                             Reminders
                                                                                                  Alexa Buxkemper;
                                                                                                  David Velez-Perez
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 18 of 82




                                                               RE: MASS EMAIL
                                                                                                                                                                                            Email chain involving multiple SOS attorneys--
                                                                  ADVISORY -
                                                                                                          Charles Pinney;                                                                   including Christina Adkins, Melanie Best, and
                                                               (CC/EA/VR -700) -
                                                                                                         Christina Adkins;                                                                 Charles Pinney--analyzing Ms. Adkins' draft mass
                                                              Questions regarding                                                                                     Attorney Client;
DOC_0555572    Melanie Best      3/20/2020    Outlook Email                            Melanie Best     Elections-Attorneys;                              Withhold                            email advisory addressing frequently asked
                                                               Advisory 2020-12-                                                                                     Deliberative Process
                                                                                                        David Velez-Perez;                                                                questions about a previous advisory (Advisory 2020-
                                                               Actions for May 2,
                                                                                                         Alexa Buxkemper                                                                     12) on requirements for postponing May 2000
                                                                 2020 Uniform
                                                                                                                                                                                                               Election.
                                                              Election (COVID-19)




                                                               DRAFT: Message
                                                                     from
                                                                                                                                                                                             Melanie Best's draft response to public inquiry
                                                              KM_C458_WEST(205
                                                                                                         Christina Adkins;                                            Attorney Client;    regarding late arrival of email ballot for FPCA voter
DOC_0555700    Melanie Best      4/15/2020    Outlook Email     ) Email ballots        Melanie Best                                                       Withhold
                                                                                                           Melanie Best                                              Deliberative Process involving explanation of Federal Write-in Absentee
                                                                 arrived late -
                                                                                                                                                                                                                  Ballot.
                                                               Markowski (EIR)
                                                                     draft




                                                                 FW: DRAFT:
                                                                 Message from
                                                                                                                                                                                            Melanie Best asking for input on her draft response
                                                              KM_C458_WEST(205
                                                                                                                                                                      Attorney Client;       to public inquiry regarding late arrival of email
DOC_0555748    Melanie Best      4/29/2020    Outlook Email     ) Email ballots        Melanie Best      Christina Adkins                                 Withhold
                                                                                                                                                                     Deliberative Process     ballot for FPCA voter involving explanation of
                                                                 arrived late -
                                                                                                                                                                                                     Federal Write-in Absentee Ballot.
                                                               Markowski (EIR)
                                                                     draft




                                                                                                                                                                                            Email from Adam Bitter requesting call to discuss
                                                              RE: DRAFT --- MASS
DOC_0615662   Christina Adkins   10/14/2020   Outlook Email                            Adam Bitter       Christina Adkins                                 Withhold     Attorney Client       draft mass email about additional markings on
                                                               EMAIL (CC/EA/VR)
                                                                                                                                                                                               ballots that was sent by Christina Adkins .




                                                                   RE: Ballot                                                                                                                Christina Adkins responding to Charles Pinney's
                                                                                                          Charles Pinney;                                             Attorney Client;
DOC_0615694   Christina Adkins   10/15/2020   Outlook Email    Initials/Signature    Christina Adkins                                                     Withhold                           draft quickpart addressing misinformation about
                                                                                                        Elections-Attorneys                                          Deliberative Process
                                                                Quickpart Draft                                                                                                                       additional markings on ballots.




                                                               TEST: Secretary
                                                                 Hughs Marks
                                                                National Voter
                                                                                                                                                                                               Email to Heidi Martinez requesting that she
                                                               Registration Day,                         Heidi Martinez;                                              Attorney Client;
DOC_0616310   Christina Adkins    9/8/2020    Outlook Email                           Stephen Chang                            Joe Esparza                Withhold                           translate draft press release (included earlier in
                                                               Urges All Eligible                        Christina Adkins                                            Deliberative Process
                                                                                                                                                                                              email chain) into a Spanish language version.
                                                              Texans To Register
                                                              To Vote By October
                                                                      5th




                                                              RE: TEST: Secretary
                                                                 Hughs Marks
                                                                 National Voter                                                                                                             Email reply to Heidi Martinez's confirmation that
                                                                Registration Day,                        Heidi Martinez;                                              Attorney Client;       she will translate draft press release (included
DOC_0616345   Christina Adkins    9/8/2020    Outlook Email                           Stephen Chang                            Joe Esparza                Withhold
                                                                Urges All Eligible                       Christina Adkins                                            Deliberative Process    earlier in email chain) into a Spanish language
                                                               Texans To Register                                                                                                                                version.
                                                              To Vote By October
                                                                       5th
                                                                                      Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 19 of 82




                                                              RE: TEST: Secretary
                                                                 Hughs Marks
                                                                 National Voter
                                                                                                                                                                                             Email from Heidi Martinez confirming that she will
                                                                Registration Day,                         Stephen Chang;                                               Attorney Client;
DOC_0616347   Christina Adkins    9/8/2020    Outlook Email                            Heidi Martinez                          Joe Esparza                 Withhold                           translate draft press release (included earlier in
                                                                Urges All Eligible                        Christina Adkins                                            Deliberative Process
                                                                                                                                                                                               email chain) into a Spanish language version.
                                                               Texans To Register
                                                              To Vote By October
                                                                       5th




                                                                                                         Lena Proft; Charles                                                                    Email chain with various attorneys providing
                                                                                                          Pinney; Krystine                                             Attorney Client;        comments and edits on draft for updated voter
DOC_0617368   Christina Adkins   10/25/2021   Outlook Email       RE: VR Apps           Melanie Best                                                       Withhold
                                                                                                          Ramon; Christina                                            Deliberative Process   registration form in response to Christina Adkins'
                                                                                                         Adkins; Elec Legal                                                                         request that the forms be reviewed.




                                                                                                                                                                                                Email chain with various attorneys providing
                                                                                                         Krystine Ramon;
                                                                                                                                                                       Attorney Client;        comments and edits on draft for updated voter
DOC_0617372   Christina Adkins   10/25/2021   Outlook Email       Re: VR Apps          Charles Pinney    Christina Adkins;                                 Withhold
                                                                                                                                                                      Deliberative Process   registration form in response to Christina Adkins'
                                                                                                            Elec Legal
                                                                                                                                                                                                    request that the forms be reviewed.




                                                                                                                                                                                            Reply email from Krystine Ramon commenting on
                                                                                                         Christina Adkins;                                             Attorney Client;    draft for updated voter registration form in response
DOC_0617374   Christina Adkins   10/25/2021   Outlook Email       RE: VR Apps          Krystine Ramon                                                      Withhold
                                                                                                            Elec Legal                                                Deliberative Process to Christina Adkins' request that multiple attorney
                                                                                                                                                                                                             review the forms.




                                                              Re: TEST: Secretary
                                                                 Hughs Marks
                                                                National Voter                                                                                                                Email forwarded by Christina Adkins requesting
                                                               Registration Day,                          Stephen Chang;                                                                      that Heidi Martinez translate draft press release
DOC_0617645   Christina Adkins    9/8/2020    Outlook Email                           Christina Adkins                         Joe Esparza                 Withhold     Attorney Client
                                                               Urges All Eligible                         Heidi Martinez                                                                       (included earlier in email chain) into a Spanish
                                                              Texans To Register                                                                                                                              language version.
                                                              To Vote By October
                                                                      5th




                                                                                                                                                                                               Email from Heidi Martinez to Christina Adkins
                                                                                                                                                                                             featuring Spanish language translation for draft of
DOC_0617754   Christina Adkins   6/25/2020    Outlook Email   FW: Sign language....    Heidi Martinez     Christina Adkins                                 Withhold   Deliberative Process
                                                                                                                                                                                              Health Protocols for Voting in Person signage and
                                                                                                                                                                                                          Curbside Voting signage.




                                                                                                                                                                                            Email from Christina Adkins approving proofs for
                                                                                                                                                                                            Spanish and English language versions of Health
DOC_0617764   Christina Adkins   6/27/2020    Outlook Email   Re: Sign language....   Christina Adkins     Andria Perales      Kristi Hart                 Withhold   Deliberative Process
                                                                                                                                                                                           Protocols for Voting in Person signage and Curbside
                                                                                                                                                                                                              Voting signage.
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 20 of 82




                                                                                                                                                                                            Email from Andria Perales providing both Spanish
                                                                                                                                                                                            and English language versions of Health Protocols
DOC_0617777   Christina Adkins   6/27/2020   Outlook Email   RE: Sign language....    Andria Perales     Christina Adkins       Kristi Hart               Withhold   Deliberative Process
                                                                                                                                                                                            for Voting in Person signage and Curbside Voting
                                                                                                                                                                                                                 signage.




                                                                                                                                                                                           Email chain responding to initial email from Keith
                                                                                                          Genevieve Gill;                                                                     Ingram about potential voter harassment in
                                                                                                          Charles Pinney;                                             Attorney Client;    Maverick County in relation to curbside voting and
DOC_0617877   Christina Adkins   7/6/2020    Outlook Email   Re: maverick county       Keith Ingram                                                       Withhold
                                                                                                           Melanie Best;                                             Deliberative Process featuring internal discussion among multiple SOS
                                                                                                        Elections-Attorneys                                                               attorneys of the application of the 100 foot zone rule
                                                                                                                                                                                                           to the facts alleged.




                                                                                                                                                                                           Email chain responding to initial email from Keith
                                                                                                           Keith Ingram;                                                                      Ingram about potential voter harassment in
                                                                                                          Charles Pinney;                                             Attorney Client;    Maverick County in relation to curbside voting and
DOC_0617878   Christina Adkins   7/6/2020    Outlook Email   RE: maverick county      Genevieve Gill                                                      Withhold
                                                                                                           Melanie Best;                                             Deliberative Process featuring internal discussion among multiple SOS
                                                                                                        Elections-Attorneys                                                               attorneys of the application of the 100 foot zone rule
                                                                                                                                                                                                           to the facts alleged.




                                                                                                                                                                                           Email chain responding to initial email from Keith
                                                                                                          Lena Proft; Keith                                                                   Ingram about potential voter harassment in
                                                                                                         Ingram; Genevieve                                            Attorney Client;    Maverick County in relation to curbside voting and
DOC_0617907   Christina Adkins   7/7/2020    Outlook Email   RE: maverick county       Melanie Best                                                       Withhold
                                                                                                        Gill; Charles Pinney;                                        Deliberative Process featuring internal discussion among multiple SOS
                                                                                                        Elections-Attorneys                                                               attorneys of the application of the 100 foot zone rule
                                                                                                                                                                                                           to the facts alleged.




                                                             FW: DRAFT -- MASS
                                                                                                                                                                                               Email from Christina Adkins to Adam Bitter
                                                             EMAIL (CC/EA/VR -                                                                                        Attorney Client;
DOC_0617939   Christina Adkins   7/10/2020   Outlook Email                           Christina Adkins       Adam Bitter                                   Withhold                            featuring her initial draft of the Reminders for
                                                              940) REMINDERS                                                                                         Deliberative Process
                                                                                                                                                                                                         Election Day mass email.
                                                               for Election Day




                                                               DRAFT -- MASS
                                                                                                                                                                                           Email from Christina Adkins to attorneys in the
                                                             EMAIL (CC/EA/VR -                                                                                        Attorney Client;
DOC_0617941   Christina Adkins   7/10/2020   Outlook Email                           Christina Adkins        Elec Legal                                   Withhold                        SOS Elections Division featuring her initial draft of
                                                              940) REMINDERS                                                                                         Deliberative Process
                                                                                                                                                                                             the Reminders for Election Day mass email.
                                                               for Election Day




                                                                                                                                                                                            Email from Heidi Martinez to other SOS attorneys
                                                             RE: DRAFT -- MASS                            Charles Pinney;
                                                                                                                                                                                             offering comments and questions in response to
                                                             EMAIL (CC/EA/VR -                           Krystine Ramon;                                              Attorney Client;
DOC_0617944   Christina Adkins   7/10/2020   Outlook Email                            Heidi Martinez                                                      Withhold                           their comments and proposed edits of Christina
                                                              940) REMINDERS                             Christina Adkins;                                           Deliberative Process
                                                                                                                                                                                             Adkins' draft Reminders for Election Day mass
                                                               for Election Day                             Elec Legal
                                                                                                                                                                                                                email.
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 21 of 82




                                                             RE: DRAFT -- MASS                          Lena Proft; Charles
                                                                                                                                                                                           Email from Genevieve Gill to other SOS attorneys
                                                             EMAIL (CC/EA/VR -                           Pinney; Krystine                                             Attorney Client;
DOC_0617945   Christina Adkins   7/10/2020   Outlook Email                            Genevieve Gill                                                      Withhold                        confirming that she has reviewed Christina Adkins'
                                                              940) REMINDERS                             Ramon; Christina                                            Deliberative Process
                                                                                                                                                                                             draft Reminders for Election Day mass email.
                                                               for Election Day                         Adkins; Elec Legal




                                                             RE: DRAFT -- MASS                           Charles Pinney;
                                                                                                                                                                                            Email from Lena Proft to other SOS attorneys
                                                             EMAIL (CC/EA/VR -                          Krystine Ramon;                                               Attorney Client;
DOC_0617946   Christina Adkins   7/10/2020   Outlook Email                              Lena Proft                                                        Withhold                        confirming that she has reviewed Christina Adkins'
                                                              940) REMINDERS                            Christina Adkins;                                            Deliberative Process
                                                                                                                                                                                             draft Reminders for Election Day mass email.
                                                               for Election Day                            Elec Legal




                                                             Re: DRAFT -- MASS
                                                                                                        Krystine Ramon;                                                                    Email from Charles Pinney to other SOS attorneys
                                                             EMAIL (CC/EA/VR -                                                                                        Attorney Client;
DOC_0617947   Christina Adkins   7/10/2020   Outlook Email                            Charles Pinney    Christina Adkins;                                 Withhold                        suggesting an addition be made to Christina Adkins'
                                                              940) REMINDERS                                                                                         Deliberative Process
                                                                                                           Elec Legal                                                                        draft Reminders for Election Day mass email.
                                                               for Election Day




                                                                                                                                                                                              Email from Adam Bitter providing final edits to
                                                             Mass email - Election                                                                                    Attorney Client;
DOC_0617979   Christina Adkins   7/13/2020   Outlook Email                             Adam Bitter       Christina Adkins                                 Withhold                            Christina Adkins' draft version of "Election Day
                                                               Day reminders                                                                                         Deliberative Process
                                                                                                                                                                                                         Reminders" mass email.




                                                                                                                                                                                             Christina Adkins' to-do list, emailed to herself and
DOC_0618194   Christina Adkins   9/6/2021    Outlook Email   RE: To Do List - 9/6    Christina Adkins    Christina Adkins                                 Withhold     Attorney Client      revealing thoughts and mental impressions on legal
                                                                                                                                                                                                          tasks to be completed.




                                                                                                                                                                                            Christina Adkins sending draft Spanish language
                                                                                                                                                                                          translations of Health Protocols for Voting in Person
DOC_0618612   Christina Adkins   6/26/2020   Outlook Email   RE: Sign language....   Christina Adkins     Andria Perales      Kristi Hart                 Withhold   Deliberative Process
                                                                                                                                                                                             signage and Curbside Voting signage to Andria
                                                                                                                                                                                                    Perales to create signage proofs.




                                                              RE: ADV2020-XX
                                                              Best Practices and
                                                                                                                                                                                             Email chain between Adam Bitter and Christina
                                                                Procedures for                                                                                        Attorney Client;
DOC_0618772   Christina Adkins   6/22/2020   Outlook Email                           Christina Adkins      Adam Bitter                                    Withhold                            Adkins discussing drafting and editing election
                                                             Curbside Voting and                                                                                     Deliberative Process
                                                                                                                                                                                            advisories on curbside voting and drive-thru voting.
                                                              Alternative Voting
                                                              (DRAFT) (1) (003)
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 22 of 82




                                                              RE: ADV2020-XX
                                                              Best Practices and
                                                                                                                                                                                             Email chain between Adam Bitter and Christina
                                                                Procedures for                                                                                        Attorney Client;
DOC_0618773   Christina Adkins   6/22/2020   Outlook Email                             Adam Bitter      Christina Adkins                                  Withhold                            Adkins discussing drafting and editing election
                                                             Curbside Voting and                                                                                     Deliberative Process
                                                                                                                                                                                            advisories on curbside voting and drive-thru voting.
                                                              Alternative Voting
                                                              (DRAFT) (1) (003)




                                                                                                        Christina Adkins;                                                                   Email chain discussing draft language and logistics
DOC_0618850   Christina Adkins   6/25/2020   Outlook Email   RE: Sign language....    Heidi Martinez     Lena Proft; Elec                                 Withhold   Deliberative Process   for releasing Health Protocols for Voting in Person
                                                                                                              Legal                                                                                signage and Curbside Voting signage.




                                                                                                                                                                                            Email chain discussing draft language and logistics
                                                                                                        Lena Proft; Elec
DOC_0618851   Christina Adkins   6/25/2020   Outlook Email   RE: Sign language....   Christina Adkins                                                     Withhold   Deliberative Process   for releasing Health Protocols for Voting in Person
                                                                                                            Legal
                                                                                                                                                                                                   signage and Curbside Voting signage.




                                                                                                                                                                                             Andria Perales confirming receipt of Christina
                                                                                                                                                                                          Adkins' updated draft language for Health Protocols
DOC_0618852   Christina Adkins   6/25/2020   Outlook Email   Re: Sign language....    Andria Perales    Christina Adkins                                  Withhold   Deliberative Process
                                                                                                                                                                                           for Voting in Person signage and Curbside Voting
                                                                                                                                                                                                                signage.




                                                                                                                                                                                               Email with Christina Adkins' updated draft
DOC_0618853   Christina Adkins   6/25/2020   Outlook Email   FW: Sign language....   Christina Adkins      Elec Legal                                     Withhold   Deliberative Process   language for Health Protocols for Voting in Person
                                                                                                                                                                                                  signage and Curbside Voting signage.




                                                                                                                                                                                            Email reply from Adam Bitter suggesting edits to an
                                                                                                                                                                      Attorney Client;        early draft version by Christina Adkins of the
DOC_0618855   Christina Adkins   6/25/2020   Outlook Email   RE: Sign language....     Adam Bitter      Christina Adkins                                  Withhold
                                                                                                                                                                     Deliberative Process    Health Protocols for Voting in Person signage and
                                                                                                                                                                                                          Curbside Voting signage.




                                                                                                                                                                                             Andria Perales confirming receipt of Spanish
                                                                                                                                                                                           language translation of draft language for Health
DOC_0618901   Christina Adkins   6/26/2020   Outlook Email   Re: Sign language....    Andria Perales    Christina Adkins    Kristi Hart                   Withhold   Deliberative Process
                                                                                                                                                                                          Protocols for Voting in Person signage and Curbside
                                                                                                                                                                                                             Voting signage.
                                                                                      Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 23 of 82




                                                                                                                                                                                                 Andria Perales requesting Spanish language
                                                                                                                                                                                              translation of draft language for Health Protocols
DOC_0618903   Christina Adkins   6/26/2020   Outlook Email   Re: Sign language....     Andria Perales    Christina Adkins    Kristi Hart                   Withhold   Deliberative Process
                                                                                                                                                                                              for Voting in Person signage and Curbside Voting
                                                                                                                                                                                                                    signage.




                                                                                                                                                                                               Email from Andria Perales providing Christina
                                                                                                                                                                                               Adkins signage proofs for Spanish and English
DOC_0618913   Christina Adkins   6/26/2020   Outlook Email   RE: Sign language....     Andria Perales    Christina Adkins    Kristi Hart                   Withhold   Deliberative Process
                                                                                                                                                                                             language versions of Health Protocols for Voting in
                                                                                                                                                                                                Person signage and Curbside Voting signage.




                                                                                                                                                                                           Christina Adkins providing Andria Perales with the
                                                                                                                                                                                           Spanish language translation of draft language for
DOC_0618935   Christina Adkins   6/26/2020   Outlook Email   RE: Sign language....    Christina Adkins    Andria Perales     Kristi Hart                   Withhold   Deliberative Process
                                                                                                                                                                                            Health Protocols for Voting in Person signage and
                                                                                                                                                                                                        Curbside Voting signage.




                                                                                                                                                                                             Christina Adkins inquiring about timetable for
                                                                                                                                                                                               producing signs featuring Spanish language
DOC_0618936   Christina Adkins   6/26/2020   Outlook Email   Re: Sign language....    Christina Adkins    Andria Perales     Kristi Hart                   Withhold   Deliberative Process
                                                                                                                                                                                           translation of Health Protocols for Voting in Person
                                                                                                                                                                                                  signage and Curbside Voting signage.




                                                                                                                                                                                                Christina Adkins replying to Andria Perales
                                                                                                                                                                                              providing signage proofs for Health Protocols for
DOC_0618937   Christina Adkins   6/26/2020   Outlook Email   Re: Sign language....    Christina Adkins    Andria Perales     Kristi Hart                   Withhold   Deliberative Process
                                                                                                                                                                                               Voting in Person signage and Curbside Voting
                                                                                                                                                                                                                  signage.




                                                                                                         Adam Bitter; Sam                                                                    Email from Keith Ingram replying to Adam Bitter's
                                                                                                                                                                       Attorney Client;
DOC_0619302   Christina Adkins   9/23/2021   Outlook Email   Re: legislative update     Keith Ingram     Taylor; Christina                                 Withhold                           suggested edits to Keith's draft for the legislative
                                                                                                                                                                      Deliberative Process
                                                                                                              Adkins                                                                                  update PowerPoint presentation.




                                                             RE: DRAFT -- MASS                                                                                                               Email from Krystine Ramon to other SOS attorneys
                                                             EMAIL (CC/EA/VR -                           Christina Adkins;                                             Attorney Client;       suggesting that additions be made to Christina
DOC_0622053   Christina Adkins   7/10/2020   Outlook Email                             Krystine Ramon                                                      Withhold
                                                              940) REMINDERS                                Elec Legal                                                Deliberative Process    Adkins' draft Reminders for Election Day mass
                                                               for Election Day                                                                                                                                   email.
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 24 of 82




                                                                                                                                                                                             Email chain between Charles Pinney and Kristi
                                                                RE: Possible                                                                                                                 Hart, with Christina Adkins often cc'd, featuring
DOC_0625475   Christina Adkins   9/29/2020   Outlook Email     Harrison County          Kristi Hart    Charles Pinney     Christina Adkins                Withhold     Attorney Client        internal discussion about potential alternative
                                                                Voter Fraud                                                                                                                 explanations for voter registration fraud allegation
                                                                                                                                                                                                 forwarded from Harrison County official.




                                                                                                                                                                                             Email chain between Charles Pinney and Kristi
                                                                                                                                                                                             Hart, with Christina Adkins often cc'd, featuring
                                                             Re: Possible Harrison
DOC_0625488   Christina Adkins   9/29/2020   Outlook Email                            Charles Pinney     Kristi Hart      Christina Adkins                Withhold     Attorney Client        internal discussion about potential alternative
                                                             County Voter Fraud
                                                                                                                                                                                            explanations for voter registration fraud allegation
                                                                                                                                                                                                 forwarded from Harrison County official.




                                                                                                                                                                                             Email chain between Charles Pinney and Kristi
                                                                RE: Possible                                                                                                                 Hart, with Christina Adkins often cc'd, featuring
DOC_0625500   Christina Adkins   9/29/2020   Outlook Email     Harrison County          Kristi Hart    Charles Pinney     Christina Adkins                Withhold     Attorney Client        internal discussion about potential alternative
                                                                Voter Fraud                                                                                                                 explanations for voter registration fraud allegation
                                                                                                                                                                                                 forwarded from Harrison County official.




                                                                                                                                                                                             Email chain between Charles Pinney and Kristi
                                                                RE: Possible                                                                                                                 Hart, with Christina Adkins often cc'd, featuring
DOC_0625501   Christina Adkins   9/29/2020   Outlook Email     Harrison County          Kristi Hart    Charles Pinney     Christina Adkins                Withhold     Attorney Client        internal discussion about potential alternative
                                                                Voter Fraud                                                                                                                 explanations for voter registration fraud allegation
                                                                                                                                                                                                 forwarded from Harrison County official.




                                                                                                                                                                                              Email from Charles Pinney to Kristi Hart and
                                                                Fw: Possible                                                                                                                 Christina Adkins requesting their assistance in
DOC_0625503   Christina Adkins   9/29/2020   Outlook Email     Harrison County        Charles Pinney     Kristi Hart      Christina Adkins                Withhold     Attorney Client      determining potential alternative explanations for
                                                                Voter Fraud                                                                                                                 voter registration fraud allegation forwarded from
                                                                                                                                                                                                         Harrison County official.




                                                             RE: TEST: Secretary
                                                                Hughs Marks
                                                                National Voter
                                                                                                                                                                                            Email containing Spanish language translation for
                                                               Registration Day,                       Stephen Chang;                                                 Attorney Client;
DOC_0626614   Christina Adkins   9/18/2020   Outlook Email                            Heidi Martinez                        Joe Esparza                   Withhold                            updated draft press release that was included
                                                               Urges All Eligible                      Christina Adkins                                              Deliberative Process
                                                                                                                                                                                                          earlier in email chain.
                                                              Texans To Register
                                                             To Vote By October
                                                                      5th




                                                             RE: TEST: Secretary
                                                                Hughs Marks
                                                                National Voter                                                                                                              Reply email from Stephen Chang confirming receipt
                                                               Registration Day,                       Heidi Martinez;                                                                       of Spanish language translation for updated draft
DOC_0626616   Christina Adkins   9/18/2020   Outlook Email                            Stephen Chang                         Joe Esparza                   Withhold     Attorney Client
                                                               Urges All Eligible                      Christina Adkins                                                                       press release that was included earlier in email
                                                              Texans To Register                                                                                                                                  chain.
                                                             To Vote By October
                                                                      5th
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 25 of 82




                                                                                                                                                                                                            Internal email from Heidi Martinez providing legal
                                                                                                                                                                                                             analysis in response to email from Grimes County
                                                               FW: Grimes CO:
                                                                                                          Christina Adkins;                                                           Attorney Client;         Elections Administrator regarding whether to
DOC_0626792   Christina Adkins   9/24/2020    Outlook Email   ABBM- State IDs do      Heidi Martinez                                                                       Redact
                                                                                                            Melanie Best                                                             Deliberative Process       accept and process ABBMs where the VUID
                                                                 not match
                                                                                                                                                                                                              numbers on the applications did not match the
                                                                                                                                                                                                              VUID numbers on the list of registered voters.




                                                                                                                                                                                                             Email with attorney discussion regarding how to
                                                               FW: Grimes CO:
                                                                                                           Melanie Best;                                                                                       respond to inquiry by Grimes County official
DOC_0628906   Christina Adkins   9/28/2020    Outlook Email   ABBM- State IDs do      Heidi Martinez                                                                       Redact      Attorney Client
                                                                                                          Christina Adkins                                                                                    regarding receipt of ABBMs with mismatched
                                                                 not match
                                                                                                                                                                                                                    names and addresses and VUID.




                                                                                                                                                      000000004F4A06877                                      Email chain with attorney discussion involving
                                                               RE: Cure Process -                                                Krystine Ramon;
                                                                                                                                                      F55C041B08F52DD3                Attorney Client;    regarding how the cure process for carrier envelopes
DOC_0632209   Christina Adkins   11/18/2021   Outlook Email   Returning Carrier to    Heidi Martinez      Christina Adkins       Keith Ingram; Elec                       Withhold
                                                                                                                                                      1920EB344B82200.m              Deliberative Process should work, and what recommendation to make to
                                                                     Voter                                                       Legal
                                                                                                                                                      sg                                                                  an advisory board.




                                                                                                                                                      000000007C8593002
                                                                                                                                                                                                              Email with attorney communication regarding
                                                                 RE: postmark                           Melanie Best; Kristi                          B050C47A021FAF43
DOC_0648148   Christina Adkins   1/20/2022    Outlook Email                          Christina Adkins                                                                     Withhold     Attorney Client      creation of FAQ for voter registration postmarking
                                                                  scenarios                                    Hart                                   14A1921E4382D00.m
                                                                                                                                                                                                                    problems during the 2022 elections.
                                                                                                                                                      sg




                                                                MASS E-MAIL                                                                           000000007C8593002
                                                                                                                                                                                                            Email with attorney discussion of draft advisory to
                                                              ADVISORY (VR/E/V-)                           Keith Ingram;                              B050C47A021FAF43
DOC_0649878   Christina Adkins   11/20/2020   Outlook Email                             Kristi Hart                                                                       Withhold     Attorney Client       County Election Officials for the 2020 election on
                                                                  - Suspense                              Christina Adkins                            14A1921C4EC2A00.
                                                                                                                                                                                                                       removal of suspense voters.
                                                              Cancellation Process                                                                    msg




                                                               RE: MASS E-MAIL                                                                        000000007C8593002                                     Email with attorney discussion of draft advisory to
                                                              ADVISORY (VR/E/V-)                           Keith Ingram;                              B050C47A021FAF43                                       County Election Officials for the 2020 election on
DOC_0649880   Christina Adkins   11/20/2020   Outlook Email                             Kristi Hart                                                                       Withhold     Attorney Client
                                                                   - Suspense                             Christina Adkins                            14A192104ED2A00.                                         removal of suspense voters. Also references
                                                              Cancellation Process                                                                    msg                                                    consultation with General Counsel Adam Bitter.




                                                               Re: MASS E-MAIL                                                                        000000007C8593002                                     Email with attorney discussion of draft advisory to
                                                              ADVISORY (VR/E/V-)                        Kristi Hart; Christina                        B050C47A021FAF43                                       County Election Officials for the 2020 election on
DOC_0649881   Christina Adkins   11/20/2020   Outlook Email                            Keith Ingram                                                                       Withhold     Attorney Client
                                                                   - Suspense                                   Adkins                                14A192124ED2A00.                                         removal of suspense voters. Also references
                                                              Cancellation Process                                                                    msg                                                    consultation with General Counsel Adam Bitter.
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 26 of 82




                                                               Re: MASS E-MAIL                                                                      000000007C8593002                                     Email with attorney discussion of draft advisory to
                                                              ADVISORY (VR/E/V-)                        Kristi Hart; Christina                      B050C47A021FAF43                Attorney Client;       County Election Officials for the 2020 election on
DOC_0649882   Christina Adkins   11/20/2020   Outlook Email                            Keith Ingram                                                                     Withhold
                                                                   - Suspense                                   Adkins                              14A192144ED2A00.               Deliberative Process      removal of suspense voters. Also references
                                                              Cancellation Process                                                                  msg                                                    consultation with General Counsel Adam Bitter.




                                                               RE: MASS EMAIL
                                                                  ADVISORY                                                                          000000007C8593002
                                                                                                                                                                                                          Email with attorney client discussion about drafting
                                                               (CC/EA/VR -1031)                           David H Gattuso;       Kristi Hart; SOS   B050C47A021FAF43
DOC_0650140   Christina Adkins   1/26/2022    Outlook Email                          Christina Adkins                                                                   Withhold     Attorney Client        and promoting early voting in person change
                                                               Advisory 2022-07 -                         SOS Webmaster            Webmaster        14A1921847D2B00.m
                                                                                                                                                                                                                              advisories.
                                                                Early Voting in                                                                     sg
                                                                Person Changes




                                                               RE: MASS EMAIL
                                                                  ADVISORY                                                                          000000007C8593002
                                                                                                                                                                                                          Email with attorney client discussion about drafting
                                                               (CC/EA/VR -1031)                           SOS Webmaster;                            B050C47A021FAF43
DOC_0650143   Christina Adkins   1/27/2022    Outlook Email                          Christina Adkins                              Kristi Hart                          Withhold     Attorney Client        and promoting early voting in person change
                                                               Advisory 2022-07 -                         David H Gattuso                           14A1921647E2B00.m
                                                                                                                                                                                                                              advisories.
                                                                Early Voting in                                                                     sg
                                                                Person Changes




                                                                                                            Keith Ingram;
                                                                                                                                                    000000007C8593002
                                                                                                           Genevieve Gill;                                                                                  Email with attorney discussion about curbside
                                                                                                                                                    B050C47A021FAF43                Attorney Client;
DOC_0657751   Christina Adkins    7/7/2020    Outlook Email   RE: maverick county       Lena Proft         Charles Pinney;                                              Withhold                           voting situation in Maverick County during 2020
                                                                                                                                                    14A1921E4722600.m              Deliberative Process
                                                                                                            Melanie Best;                                                                                     early voting and how SOS should respond.
                                                                                                                                                    sg
                                                                                                         Elections-Attorneys




                                                                                                        Melanie Best; Lena                                                                              Email chain with attorney discussion about curbside
                                                                                                                                                    000000007C8593002
                                                                                                        Proft; Keith Ingram;                                                                             voting situation in Maverick County during 2020
                                                                                                                                                    B050C47A021FAF43                Attorney Client;
DOC_0657758   Christina Adkins    7/9/2020    Outlook Email   RE: maverick county     Heidi Martinez      Genevieve Gill;                                               Withhold                        early voting and how SOS should respond. Attorney
                                                                                                                                                    14A192164732600.m              Deliberative Process
                                                                                                          Charles Pinney;                                                                               also discussed a curbside voting situation in Zapata
                                                                                                                                                            sg
                                                                                                        Elections-Attorneys                                                                                    County and how they should respond.




                                                                                                                                                    000000005A9CA9781                                      Email chain with questions from General Counsel
                                                                                                           Adam Bitter;                             CB8EB40B5BBD714                                        Ryan Alter of the office of Sen. Hinojosa to Keith
DOC_0663500   Christina Adkins   6/10/2021    Outlook Email      Fw: Question          Keith Ingram                                                                     Withhold       Legislative
                                                                                                          Christina Adkins                          5D3A388F44172200.                                      Ingram about how SOS would interpret proposed
                                                                                                                                                    msg                                                                 draft language in SB7.




                                                                                                                                                    000000005A9CA9781
                                                                                                          Christina Adkins;                                                                                Email with attorney discussion regarding fiscal
                                                                                                                                                    CB8EB40B5BBD714
DOC_0663558   Christina Adkins   6/30/2021    Outlook Email    Re: Hart VS Stuff      Charles Pinney          Tamara                                                    Withhold     Attorney Client      notes for SB598/SB7 and a voter registration chart
                                                                                                                                                    5D3A388F44612200.
                                                                                                           Schoonmaker                                                                                               for the county administrators.
                                                                                                                                                    msg
                                                                                          Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 27 of 82




                                                                                                                                            000000005A9CA9781                                  Email with attorney discussion regarding fiscal
                                                                                                                  Tamara
                                                                                                                                            CB8EB40B5BBD714                                   notes for SB598/SB7, the voter registration chart
DOC_0663559   Christina Adkins   6/30/2021      Outlook Email       RE: Hart VS Stuff     Christina Adkins     Schoonmaker;                                     Withhold   Attorney Client
                                                                                                                                            5D3A388FC4612200.                                 used by county administrators, and a draft of the
                                                                                                               Charles Pinney
                                                                                                                                            msg                                                        Annual Voting Systems Report.




                                                                                                                                            000000005A9CA9781
                                                                                                               Charles Pinney;                                                                Email with attorney discussion regarding fiscal
                                                                                                                                            CB8EB40B5BBD714
DOC_0663560   Christina Adkins   6/30/2021      Outlook Email         Hart VS Stuff       Christina Adkins        Tamara                                        Withhold   Attorney Client   notes for SB598/SB7 and a voter registration chart
                                                                                                                                            5D3A388F04622200.
                                                                                                                Schoonmaker                                                                             for the county administrators.
                                                                                                                                            msg




                                                                                                                                            000000005A9CA9781
                                                                                                               Charles Pinney;                                                                Email with attorney discussion regarding fiscal
                                                                                                                                            CB8EB40B5BBD714
DOC_0663561   Christina Adkins   6/30/2021      Outlook Email       RE: Hart VS Stuff     Christina Adkins        Tamara                                        Withhold   Attorney Client   notes for SB598/SB7 and a voter registration chart
                                                                                                                                            5D3A388F44642200.
                                                                                                                Schoonmaker                                                                             for the county administrators.
                                                                                                                                            msg




                                                                                                                                            000000005A9CA9781
                                                                                                                                                                                               Email from Legal Director Christina Adkins to
                                                                                                                                            CB8EB40B5BBD714
DOC_0664223   Christina Adkins   11/14/2021     Outlook Email        Chapter 1 Forms      Christina Adkins        Lena Proft                                    Withhold   Attorney Client   another attorney requesting review of SB1 changes
                                                                                                                                            5D3A388FC4A32300.
                                                                                                                                                                                                     to Order and Notice election forms.
                                                                                                                                            msg




                                                                                                                                            0000000057C4C3325
                                                                                                                                                                                               Email discussion of edits and revisions among
                                                                        Re: TAEA                                Adam Bitter;                97F7D47977054AD5
DOC_0665039   Christina Adkins    1/4/2022      Outlook Email                               Keith Ingram                                                        Withhold   Attorney Client     attorneys about TAEA presentation slides that
                                                                       presentation                            Christina Adkins             731028A44892B00.m
                                                                                                                                                                                                            cover, in part, SB1.
                                                                                                                                            sg




                                                                                                             Charles Pinney; Lena
                                                                                                                 Proft; Heidi
                                                                                                              Martinez; Christina
                                                                                                                                            0000000057C4C3325
                                                                                                                Adkins; Alexa
                                                                                                                                            97F7D47977054AD5                                   Outlook Sticky Note with attorney discussion
DOC_0665132   Christina Adkins   10/15/2021   Outlook Sticky Note   (No Subject Listed)     Melanie Best     Buxkemper; Tamara                                  Withhold   Attorney Client
                                                                                                                                            731028A04222C00.m                                 regarding SB1 meeting planning requirements.
                                                                                                                Schoonmaker;
                                                                                                                                            sg
                                                                                                               Krystine Ramon;
                                                                                                             Keith Ingram; David
                                                                                                                 Velez-Perez




                                                                                                                                            0000000057C4C3325                                 Email with attorney discussion regarding how to
                                                                    FW: Rains County                          Christina Adkins;
                                                                                                                                            97F7D47977054AD5                                 respond to Rain County's inquiry about the release
DOC_0666726   Christina Adkins   4/23/2021      Outlook Email       PIR/Legal Question     Krystine Ramon     Elections Internet;                               Withhold   Attorney Client
                                                                                                                                            731028AE4FD2500.                                    of early voter information pursuant to a PIA
                                                                      (EI Response)                              Kate Fisher
                                                                                                                                            msg                                                                    request.
                                                                                   Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 28 of 82




                                                                                                                                             0000000057C4C3325
                                                                                                                                             97F7D47977054AD5                                 Email with attorney discussion of updating election
DOC_0667290   Christina Adkins   1/18/2022    Outlook Email   How many forms....   Christina Adkins   Alexa Buxkemper                                            Withhold   Attorney Client
                                                                                                                                             731028A049F2A00.m                                            forms with SB1 language.
                                                                                                                                             sg




                                                              RE: MASS EMAIL
                                                                 ADVISORY                                                                    0000000057C4C3325
                                                                                                                                                                                              Email with attorney client discussion about drafting
                                                              (CC/EA/VR -1031)                                            Kristi Hart; SOS   97F7D47977054AD5
DOC_0667302   Christina Adkins   1/26/2022    Outlook Email                        Christina Adkins   David H Gattuso                                            Withhold   Attorney Client     and promoting early voting in person change
                                                              Advisory 2022-07 -                                            Webmaster        731028AA4C32A00.
                                                                                                                                                                                                                  advisories.
                                                               Early Voting in                                                               msg
                                                               Person Changes




                                                                                                                                             000000000F42E7293                                 Email from attorney to Legal Director Christina
                                                              FW: March 1 2022
                                                                                                                                             C856D4C928B5B390                                 Adkins regarding changes made to Spanish version
DOC_0667371   Christina Adkins   11/30/2021   Outlook Email    SOP updates for      Heidi Martinez    Christina Adkins                                           Withhold   Attorney Client
                                                                                                                                             9E4120044E72000.m                                 of VoteTexas.gov to reflect SB1 changes to early
                                                                VoteTexas.gov
                                                                                                                                             sg                                                                     voting.




                                                                                                                                             000000000F42E7293
                                                                                                       Melanie Best;                                                                            Email with attorney discussion regarding draft
                                                               RE: Quickparts                                                                C856D4C928B5B390
DOC_0667553   Christina Adkins    8/4/2020    Outlook Email                         Heidi Martinez    Christina Adkins;                                          Withhold   Attorney Client   advisory on drop boxes for delivering ballots by mail
                                                                 (DRAFT)                                                                     9E41200C40F2100.m
                                                                                                       Genevieve Gill                                                                                     and Voter ID requirements.
                                                                                                                                             sg




                                                                                                                                             000000000F42E7293
                                                                                                                                                                                                Email with attorney discussion regarding draft
                                                               RE: Quickparts                         Christina Adkins;                      C856D4C928B5B390
DOC_0667554   Christina Adkins    8/4/2020    Outlook Email                         Heidi Martinez                         Melanie Best                          Withhold   Attorney Client     advisory on drop boxes for delivering ballots by
                                                                 (DRAFT)                               Genevieve Gill                        9E4120024102100.m
                                                                                                                                                                                                                    mail.
                                                                                                                                             sg




                                                                                                                                             000000000F42E7293
                                                                                                       Heidi Martinez;                                                                          Email with attorney discussion regarding draft
                                                               RE: Quickparts                                                                C856D4C928B5B390
DOC_0667555   Christina Adkins    8/4/2020    Outlook Email                          Melanie Best     Christina Adkins;                                          Withhold   Attorney Client   advisory on drop boxes for delivering ballots by mail
                                                                 (DRAFT)                                                                     9E4120044102100.m
                                                                                                       Genevieve Gill                                                                                     and Voter ID requirements.
                                                                                                                                             sg




                                                                                                                                             000000000F42E7293
                                                                                                       Melanie Best;                                                                            Email with attorney discussion regarding draft
                                                               RE: Quickparts                                                                C856D4C928B5B390
DOC_0667556   Christina Adkins    8/4/2020    Outlook Email                         Heidi Martinez    Christina Adkins;                                          Withhold   Attorney Client   advisory on drop boxes for delivering ballots by mail
                                                                 (DRAFT)                                                                     9E41200A4102100.m
                                                                                                       Genevieve Gill                                                                                     and Voter ID requirements.
                                                                                                                                             sg
                                                                                  Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 29 of 82




                                                                                                                                           000000000F42E7293
                                                                                                       Melanie Best;                                                                               Email with attorney discussion regarding draft
                                                               RE: Quickparts                                                              C856D4C928B5B390
DOC_0667557   Christina Adkins   8/4/2020    Outlook Email                         Heidi Martinez     Christina Adkins;                                        Withhold     Attorney Client      advisory on drop boxes for delivering ballots by mail
                                                                 (DRAFT)                                                                   9E41200C4102100.m
                                                                                                       Genevieve Gill                                                                                        and Voter ID requirements.
                                                                                                                                           sg




                                                                                                       Heidi Martinez;                     000000000F42E7293
                                                                                                                                                                                                   Email with attorney discussion regarding draft
                                                               RE: Quickparts                         Christina Adkins;                    C856D4C928B5B390
DOC_0667558   Christina Adkins   8/4/2020    Outlook Email                          Melanie Best                                                               Withhold     Attorney Client      advisory on drop boxes for delivering ballots by mail
                                                                 (DRAFT)                               Genevieve Gill;                     9E41200E4102100.m
                                                                                                                                                                                                             and Voter ID requirements.
                                                                                                        Melanie Best                       sg




                                                                                                                                           000000000F42E7293
                                                                                                                                                                                                   Email with attorney discussion regarding draft
                                                               RE: Quickparts                         Christina Adkins;                    C856D4C928B5B390
DOC_0667559   Christina Adkins   8/4/2020    Outlook Email                         Heidi Martinez                           Melanie Best                       Withhold     Attorney Client        advisory on drop boxes for delivering ballots by
                                                                 (DRAFT)                               Genevieve Gill                      9E4120004112100.m
                                                                                                                                                                                                                       mail.
                                                                                                                                           sg




                                                                                                                                           000000000F42E7293
                                                                                                                                                                                                   Email with attorney discussion regarding draft
                                                               RE: Quickparts                          Heidi Martinez;                     C856D4C928B5B390
DOC_0667569   Christina Adkins   8/4/2020    Outlook Email                        Christina Adkins                          Melanie Best                       Withhold     Attorney Client        advisory on drop boxes for delivering ballots by
                                                                 (DRAFT)                               Genevieve Gill                      9E4120024132100.m
                                                                                                                                                                                                                       mail.
                                                                                                                                           sg




                                                                                                                                           000000000F42E7293
                                                                                                                                                                                                   Email with attorney discussion regarding draft
                                                               RE: Quickparts                          Heidi Martinez;                     C856D4C928B5B390
DOC_0667570   Christina Adkins   8/4/2020    Outlook Email                        Christina Adkins                          Melanie Best                       Withhold     Attorney Client        advisory on drop boxes for delivering ballots by
                                                                 (DRAFT)                               Genevieve Gill                      9E4120044132100.m
                                                                                                                                                                                                                       mail.
                                                                                                                                           sg




                                                                                                      Christina Adkins;
                                                                                                        Melanie Best;
                                                                                                       Genevieve Gill;                     000000000F42E7293
                                                                                                                                                                                                  Email with attorney discussion regarding how to
                                                               RE: November                            Charles Pinney;                     C856D4C928B5B390                Attorney Client;
DOC_0667665   Christina Adkins   8/12/2020   Outlook Email                           Lena Proft                                                                Withhold                            schedule the calendar for the November 2020
                                                             Calendar Questions                       Krystine Ramon;                      9E4120084322100.m              Deliberative Process
                                                                                                                                                                                                     elections in relation to accepting ABBMs.
                                                                                                     Elections-Attorneys;                  sg
                                                                                                     David Velez-Perez;
                                                                                                      Alexa Buxkemper




                                                                                                        Melanie Best;
                                                                                                       Genevieve Gill;
                                                                                                       Charles Pinney;                     000000000F42E7293
                                                                                                                                                                                                  Email with attorney discussion regarding how to
                                                               Re: November                           Krystine Ramon;                      C856D4C928B5B390                Attorney Client;
DOC_0667666   Christina Adkins   8/12/2020   Outlook Email                        Christina Adkins                                                             Withhold                            schedule the calendar for the November 2020
                                                             Calendar Questions                      Elections-Attorneys;                  9E41200A4322100.m              Deliberative Process
                                                                                                                                                                                                     elections in relation to accepting ABBMs.
                                                                                                     David Velez-Perez;                    sg
                                                                                                      Alexa Buxkemper;
                                                                                                          Lena Proft
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 30 of 82




                                                                                                        Lena Proft; Melanie
                                                                                                        Best; Genevieve Gill;
                                                                                                                                              000000000F42E7293
                                                                                                          Charles Pinney;                                                                            Email with attorney discussion regarding how to
                                                               RE: November                                                                   C856D4C928B5B390                Attorney Client;
DOC_0667667   Christina Adkins   8/12/2020   Outlook Email                           Christina Adkins     Krystine Ramon;                                         Withhold                            schedule the calendar for the November 2020
                                                             Calendar Questions                                                               9E41200E4322100.m              Deliberative Process
                                                                                                        Elections-Attorneys;                                                                            elections in relation to accepting ABBMs.
                                                                                                                                              sg
                                                                                                         David Velez-Perez;
                                                                                                         Alexa Buxkemper




                                                                FW: Round 3                                                                   000000000F42E7293
                                                                                                                                                                                                    Email with attorney discussion about edits to draft
                                                             ADV2020-XX - Ballot                         Christina Adkins;                    C856D4C928B5B390
DOC_0667894   Christina Adkins   6/12/2020   Outlook Email                             Melanie Best                                                               Withhold     Attorney Client        of election advisory to county election officials
                                                               Corrections (CA                             Melanie Best                       9E4120064782100.m
                                                                                                                                                                                                       regarding procedures for ballot corrections.
                                                                    edits)                                                                            sg




                                                                                                         Alexa Buxkemper;                     000000000F42E7293                                      Email with attorney discussion about the election
                                                               RE: Dropping off
                                                                                                          Krystine Ramon;                     C856D4C928B5B390                                      code's meaning of early voting clerk regarding how
DOC_0667925   Christina Adkins   6/13/2020   Outlook Email      Voted BBM on           Melanie Best                             Adam Bitter                       Withhold     Attorney Client
                                                                                                         Christina Adkins;                    9E41200647F2100.m                                      to respond to county's inquiry about dropping off
                                                                 election day
                                                                                                             Elec Legal                       sg                                                              mail-in ballots on election day.




                                                                                                          Melanie Best;                       000000000F42E7293                                      Email with attorney discussion about the election
                                                               Re: Dropping off
                                                                                                         Krystine Ramon;                      C856D4C928B5B390                Attorney Client;      code's meaning of early voting clerk regarding how
DOC_0667926   Christina Adkins   6/14/2020   Outlook Email      Voted BBM on         Alexa Buxkemper                            Adam Bitter                       Withhold
                                                                                                         Christina Adkins;                    9E41200847F2100.m              Deliberative Process    to respond to county's inquiry about dropping off
                                                                 election day
                                                                                                            Elec Legal                        sg                                                              mail-in ballots on election day.




                                                                                                                                              000000000F42E7293                                     Email with attorney discussion to draft response to
                                                                 Re: Possible                                                                 C856D4C928B5B390                                      voter inquiries regarding voting by mail eligibility
DOC_0667933   Christina Adkins   6/15/2020   Outlook Email                            Genevieve Gill     Christina Adkins                                         Withhold     Attorney Client
                                                             quickpart for voters?                                                            9E41200A4812100.m                                       and whether COVID changed the definition of
                                                                                                                                              sg                                                                        "disability."




                                                                                                         Christina Adkins;
                                                                                                          Genevieve Gill;                     000000000F42E7293                                      Email with attorneys discussing how to answer a
                                                             RE: Joint Ballot by
                                                                                                          Charles Pinney;                     C856D4C928B5B390                Attorney Client;        voter's question about the ability to vote in the
DOC_0668197   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14      Heidi Martinez                                                              Withhold
                                                                                                           Melanie Best;                      9E41200E4C92100.m              Deliberative Process     SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                         Krystine Ramon;                      sg                                                                           mail.
                                                                                                        Elections-Attorneys




                                                                                                         Christina Adkins;
                                                                                                          Genevieve Gill;                     000000000F42E7293                                      Email with attorneys discussing how to answer a
                                                             RE: Joint Ballot by
                                                                                                          Charles Pinney;                     C856D4C928B5B390                Attorney Client;        voter's question about the ability to vote in the
DOC_0668198   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14       Melanie Best                                                               Withhold
                                                                                                          Heidi Martinez;                     9E4120024CA2100.m              Deliberative Process     SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                         Krystine Ramon;                      sg                                                                           mail.
                                                                                                        Elections-Attorneys
                                                                                    Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 31 of 82




                                                                                                          Melanie Best;
                                                                                                        Christina Adkins;             000000000F42E7293                                     Email with attorneys discussing how to answer a
                                                             RE: Joint Ballot by
                                                                                                         Charles Pinney;              C856D4C928B5B390                Attorney Client;       voter's question about the ability to vote in the
DOC_0668200   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14     Genevieve Gill                                                       Withhold
                                                                                                         Heidi Martinez;              9E4120084CA2100.m              Deliberative Process    SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                        Krystine Ramon;               sg                                                                          mail.
                                                                                                       Elections-Attorneys




                                                                                                         Genevieve Gill;
                                                                                                         Charles Pinney;              000000000F42E7293                                     Email with attorneys discussing how to answer a
                                                             RE: Joint Ballot by
                                                                                                         Heidi Martinez;              C856D4C928B5B390                Attorney Client;       voter's question about the ability to vote in the
DOC_0668201   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14    Christina Adkins                                                      Withhold
                                                                                                          Melanie Best;               9E41200A4CA2100.               Deliberative Process    SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                        Krystine Ramon;               msg                                                                         mail.
                                                                                                       Elections-Attorneys




                                                                                                       Genevieve Gill; Heidi
                                                                                                        Martinez; Melanie             000000000F42E7293                                     Email with attorneys discussing how to answer a
                                                              Re: Joint Ballot by
                                                                                                         Best; Christina              C856D4C928B5B390                Attorney Client;       voter's question about the ability to vote in the
DOC_0668202   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14     Charles Pinney                                                       Withhold
                                                                                                        Adkins; Krystine              9E4120044CB2100.m              Deliberative Process    SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                        Ramon; Elections-             sg                                                                          mail.
                                                                                                           Attorneys




                                                                                                         Charles Pinney;
                                                                                                         Heidi Martinez;              000000000F42E7293                                     Email with attorneys discussing how to answer a
                                                             RE: Joint Ballot by
                                                                                                          Melanie Best;               C856D4C928B5B390                Attorney Client;       voter's question about the ability to vote in the
DOC_0668203   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14     Genevieve Gill                                                       Withhold
                                                                                                        Christina Adkins;             9E4120084CB2100.m              Deliberative Process    SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                        Krystine Ramon;               sg                                                                          mail.
                                                                                                       Elections-Attorneys




                                                                                                         Heidi Martinez;
                                                                                                         Genevieve Gill;              000000000F42E7293                                     Email with attorneys discussing how to answer a
                                                              Re: Joint Ballot by
                                                                                                          Melanie Best;               C856D4C928B5B390                Attorney Client;       voter's question about the ability to vote in the
DOC_0668204   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14     Charles Pinney                                                       Withhold
                                                                                                        Christina Adkins;             9E41200C4CB2100.               Deliberative Process    SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                        Krystine Ramon;               msg                                                                         mail.
                                                                                                       Elections-Attorneys




                                                                                                         Genevieve Gill;
                                                                                                         Charles Pinney;              000000000F42E7293                                     Email with attorneys discussing how to answer a
                                                             RE: Joint Ballot by
                                                                                                          Melanie Best;               C856D4C928B5B390                Attorney Client;       voter's question about the ability to vote in the
DOC_0668205   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14     Heidi Martinez                                                       Withhold
                                                                                                        Christina Adkins;             9E41200E4CB2100.               Deliberative Process    SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                        Krystine Ramon;               msg                                                                         mail.
                                                                                                       Elections-Attorneys




                                                                                                         Charles Pinney;
                                                                                                          Melanie Best;               000000000F42E7293                                     Email with attorneys discussing how to answer a
                                                             RE: Joint Ballot by
                                                                                                        Christina Adkins;             C856D4C928B5B390                Attorney Client;       voter's question about the ability to vote in the
DOC_0668206   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14     Heidi Martinez                                                       Withhold
                                                                                                        Krystine Ramon;               9E4120004CC2100.m              Deliberative Process    SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                         Genevieve Gill;              sg                                                                          mail.
                                                                                                       Elections-Attorneys
                                                                                    Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 32 of 82




                                                                                                         Heidi Martinez;
                                                                                                         Charles Pinney;                           000000000F42E7293                                      Email with attorneys discussing how to answer a
                                                             RE: Joint Ballot by
                                                                                                          Melanie Best;                            C856D4C928B5B390                Attorney Client;        voter's question about the ability to vote in the
DOC_0668207   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14     Genevieve Gill                                                                    Withhold
                                                                                                        Christina Adkins;                          9E4120024CC2100.m              Deliberative Process     SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                        Krystine Ramon;                            sg                                                                           mail.
                                                                                                       Elections-Attorneys




                                                                                                          Melanie Best;
                                                                                                        Christina Adkins;                          000000000F42E7293                                      Email with attorneys discussing how to answer a
                                                              Re: Joint Ballot by
                                                                                                         Heidi Martinez;                           C856D4C928B5B390                Attorney Client;        voter's question about the ability to vote in the
DOC_0668209   Christina Adkins   6/30/2020   Outlook Email   Mail Issues - SD 14     Charles Pinney                                                                    Withhold
                                                                                                        Krystine Ramon;                            9E41200E4CC2100.               Deliberative Process     SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                         Genevieve Gill;                           msg                                                                          mail.
                                                                                                       Elections-Attorneys




                                                                                                        Christina Adkins;
                                                                                                         Heidi Martinez;                           000000000F42E7293                                      Email with attorneys discussing how to answer a
                                                             RE: Joint Ballot by
                                                                                                        Krystine Ramon;                            C856D4C928B5B390                Attorney Client;        voter's question about the ability to vote in the
DOC_0668213   Christina Adkins   6/29/2020   Outlook Email   Mail Issues - SD 14      Melanie Best                                                                     Withhold
                                                                                                         Genevieve Gill;                           9E4120084CD2100.m              Deliberative Process     SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff
                                                                                                         Charles Pinney;                           sg                                                                           mail.
                                                                                                       Elections-Attorneys




                                                                                                         Heidi Martinez;
                                                                                                                                                   000000000F42E7293                                      Email with attorneys discussing how to answer a
                                                             RE: Joint Ballot by                        Krystine Ramon;
                                                                                                                                                   C856D4C928B5B390                Attorney Client;        voter's question about the ability to vote in the
DOC_0668215   Christina Adkins   6/29/2020   Outlook Email   Mail Issues - SD 14    Christina Adkins     Genevieve Gill;                                               Withhold
                                                                                                                                                   9E41200C4CD2100.               Deliberative Process     SD14 2020 primary election by a joint ballot by
                                                             and Primary Runoff                          Charles Pinney;
                                                                                                                                                   msg                                                                          mail.
                                                                                                       Elections-Attorneys




                                                                                                                                                   000000000F42E7293                                     Email containing SOS communication about how to
                                                               RE: INETMAIL:                                                   Adam Bitter; Joe
                                                                                                                                                   C856D4C928B5B390                                      respond to legislative constituent inquiry on mail-in
DOC_0668337   Christina Adkins   7/14/2020   Outlook Email      Voting from           Keith Ingram      Elections Internet    Esparza; Christina                        Redact      Attorney Client
                                                                                                                                                   9E41200C4EF2100.                                       voting from Lauren Lumsden of the office of Rep.
                                                                 Antarctica                                                        Adkins
                                                                                                                                                   msg                                                                       Dade Phelan.




                                                                                                                                                   000000000F42E7293                                       Email with attorney discussion regarding draft
                                                             FW: Timely Return of                                                                  C856D4C928B5B390                Attorney Client;       mass advisory to county officials about timing of
DOC_0668999   Christina Adkins   2/27/2020   Outlook Email                            Melanie Best      Christina Adkins                                               Withhold
                                                              Corrected Ballots                                                                    9E4120024742200.m              Deliberative Process   counting corrected mail-in ballots from voters that
                                                                                                                                                   sg                                                                   voted early by mail.




                                                               RE: RE: MASS                              Charles Pinney;                           000000000F42E7293
                                                                                                                                                                                                            Email with attorney discussion of draft mass
                                                             EMAIL ADVISORY                            Elections-Attorneys;                        C856D4C928B5B390
DOC_0669034   Christina Adkins   3/2/2020    Outlook Email                          Christina Adkins                                                                   Withhold     Attorney Client          advisory to counties regarding election day
                                                             (CC/EA- ) - Election                       Alexa Buxkemper;                           9E41200E4822200.m
                                                                                                                                                                                                                reminders for 2020 primary election.
                                                               Day Reminders                            David Velez-Perez                          sg
                                                                                   Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 33 of 82




                                                                                                        Charles Pinney;
                                                             RE: MASS EMAIL                            Christina Adkins;             000000000F42E7293
                                                                                                                                                                                           Email with attorney discussion of draft mass
                                                            ADVISORY (CC/EA- )                          Heidi Martinez;              C856D4C928B5B390                Attorney Client;
DOC_0669035   Christina Adkins   3/2/2020   Outlook Email                           Genevieve Gill                                                       Withhold                           advisory to counties regarding election day
                                                              - Election Day                          Elections-Attorneys;           9E4120004832200.m              Deliberative Process
                                                                                                                                                                                               reminders for 2020 primary election.
                                                                Reminders                              Alexa Buxkemper;              sg
                                                                                                       David Velez-Perez




                                                             RE: MASS EMAIL                             Heidi Martinez;              000000000F42E7293                                      Email with attorney discussion of draft mass
                                                            ADVISORY (CC/EA- )                        Elections-Attorneys;           C856D4C928B5B390                Attorney Client;        advisory to counties regarding election day
DOC_0669036   Christina Adkins   3/2/2020   Outlook Email                          Christina Adkins                                                      Withhold
                                                              - Election Day                           Alexa Buxkemper;              9E4120064832200.m              Deliberative Process   reminders for 2020 primary election, including
                                                                Reminders                              David Velez-Perez             sg                                                            treatment of defective ballots.




                                                              RE: RE: MASS                             Christina Adkins;             000000000F42E7293
                                                                                                                                                                                           Email with attorney discussion of draft mass
                                                            EMAIL ADVISORY                            Elections-Attorneys;           C856D4C928B5B390                Attorney Client;
DOC_0669037   Christina Adkins   3/2/2020   Outlook Email                           Charles Pinney                                                       Withhold                           advisory to counties regarding election day
                                                            (CC/EA- ) - Election                       Alexa Buxkemper;              9E4120084832200.m              Deliberative Process
                                                                                                                                                                                               reminders for 2020 primary election.
                                                              Day Reminders                            David Velez-Perez             sg




                                                             RE: MASS EMAIL                             Heidi Martinez;              000000000F42E7293                                      Email with attorney discussion of draft mass
                                                            ADVISORY (CC/EA- )                        Elections-Attorneys;           C856D4C928B5B390                Attorney Client;        advisory to counties regarding election day
DOC_0669038   Christina Adkins   3/2/2020   Outlook Email                          Christina Adkins                                                      Withhold
                                                              - Election Day                           Alexa Buxkemper;              9E41200A4832200.m              Deliberative Process   reminders for 2020 primary election, including
                                                                Reminders                              David Velez-Perez             sg                                                            treatment of defective ballots.




                                                                                                        Genevieve Gill;
                                                             RE: MASS EMAIL                             Charles Pinney;              000000000F42E7293                                      Email with attorney discussion of draft mass
                                                            ADVISORY (CC/EA- )                          Heidi Martinez;              C856D4C928B5B390                Attorney Client;        advisory to counties regarding election day
DOC_0669039   Christina Adkins   3/2/2020   Outlook Email                          Christina Adkins                                                      Withhold
                                                              - Election Day                          Elections-Attorneys;           9E4120064842200.m              Deliberative Process   reminders for 2020 primary election, including
                                                                Reminders                              Alexa Buxkemper;              sg                                                            treatment of defective ballots.
                                                                                                       David Velez-Perez




                                                                                                         Melanie Best;
                                                                                                        Genevieve Gill;
                                                             RE: MASS EMAIL                                                          000000000F42E7293                                      Email with attorney discussion of draft mass
                                                                                                        Charles Pinney;
                                                            ADVISORY (CC/EA- )                                                       C856D4C928B5B390                Attorney Client;        advisory to counties regarding election day
DOC_0669040   Christina Adkins   3/2/2020   Outlook Email                          Christina Adkins     Heidi Martinez;                                  Withhold
                                                              - Election Day                                                         9E41200C4842200.m              Deliberative Process   reminders for 2020 primary election, including
                                                                                                      Elections-Attorneys;
                                                                Reminders                                                            sg                                                            treatment of defective ballots.
                                                                                                       Alexa Buxkemper;
                                                                                                       David Velez-Perez




                                                             RE: MASS EMAIL                                                          000000000F42E7293
                                                                                                      Elections-Attorneys;                                                                 Email with attorney discussion of draft mass
                                                            ADVISORY (CC/EA- )                                                       C856D4C928B5B390
DOC_0669041   Christina Adkins   3/2/2020   Outlook Email                          Christina Adkins    Alexa Buxkemper;                                  Withhold     Attorney Client       advisory to counties regarding election day
                                                              - Election Day                                                         9E4120004852200.m
                                                                                                       David Velez-Perez                                                                       reminders for 2020 primary election.
                                                                Reminders                                                            sg
                                                                                 Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 34 of 82




                                                             RE: MASS EMAIL                          Christina Adkins;             000000000F42E7293                                      Email with attorney discussion of draft mass
                                                            ADVISORY (CC/EA- )                      Elections-Attorneys;           C856D4C928B5B390                                        advisory to counties regarding election day
DOC_0669043   Christina Adkins   3/2/2020   Outlook Email                         Heidi Martinez                                                       Withhold     Attorney Client
                                                              - Election Day                         Alexa Buxkemper;              9E4120044852200.m                                     reminders for 2020 primary election, including
                                                                Reminders                            David Velez-Perez             sg                                                            treatment of defective ballots.




                                                                                                     Christina Adkins;
                                                             RE: MASS EMAIL                                                        000000000F42E7293                                      Email with attorney discussion of draft mass
                                                                                                      Heidi Martinez;
                                                            ADVISORY (CC/EA- )                                                     C856D4C928B5B390                Attorney Client;        advisory to counties regarding election day
DOC_0669044   Christina Adkins   3/2/2020   Outlook Email                         Charles Pinney    Elections-Attorneys;                               Withhold
                                                              - Election Day                                                       9E4120064852200.m              Deliberative Process   reminders for 2020 primary election, including
                                                                                                     Alexa Buxkemper;
                                                                Reminders                                                          sg                                                            treatment of defective ballots.
                                                                                                     David Velez-Perez




                                                                                                      Genevieve Gill;
                                                                                                     Christina Adkins;
                                                             RE: MASS EMAIL                                                        000000000F42E7293                                      Email with attorney discussion of draft mass
                                                                                                      Charles Pinney;
                                                            ADVISORY (CC/EA- )                                                     C856D4C928B5B390                Attorney Client;        advisory to counties regarding election day
DOC_0669045   Christina Adkins   3/2/2020   Outlook Email                          Melanie Best       Heidi Martinez;                                  Withhold
                                                              - Election Day                                                       9E4120064852200.m              Deliberative Process   reminders for 2020 primary election, including
                                                                                                    Elections-Attorneys;
                                                                Reminders                                                          sg                                                            treatment of defective ballots.
                                                                                                     Alexa Buxkemper;
                                                                                                     David Velez-Perez




                                                                                                     Christina Adkins;
                                                             RE: MASS EMAIL                           Charles Pinney;              000000000F42E7293                                      Email with attorney discussion of draft mass
                                                            ADVISORY (CC/EA- )                        Heidi Martinez;              C856D4C928B5B390                Attorney Client;        advisory to counties regarding election day
DOC_0669046   Christina Adkins   3/2/2020   Outlook Email                         Genevieve Gill                                                       Withhold
                                                              - Election Day                        Elections-Attorneys;           9E41200E4852200.m              Deliberative Process   reminders for 2020 primary election, including
                                                                Reminders                            Alexa Buxkemper;              sg                                                            treatment of defective ballots.
                                                                                                     David Velez-Perez




                                                                                                      Genevieve Gill;
                                                             RE: MASS EMAIL                           Charles Pinney;              000000000F42E7293                                      Email with attorney discussion of draft mass
                                                            ADVISORY (CC/EA- )                        Heidi Martinez;              C856D4C928B5B390                Attorney Client;        advisory to counties regarding election day
DOC_0669047   Christina Adkins   3/2/2020   Outlook Email                        Christina Adkins                                                      Withhold
                                                              - Election Day                        Elections-Attorneys;           9E4120024862200.m              Deliberative Process   reminders for 2020 primary election, including
                                                                Reminders                            Alexa Buxkemper;              sg                                                            treatment of defective ballots.
                                                                                                     David Velez-Perez




                                                                                                      Genevieve Gill;
                                                             RE: MASS EMAIL                                                        000000000F42E7293
                                                                                                     Christina Adkins;                                                                   Email with attorney discussion of draft mass
                                                            ADVISORY (CC/EA- )                                                     C856D4C928B5B390                Attorney Client;
DOC_0669048   Christina Adkins   3/2/2020   Outlook Email                          Melanie Best     Elections-Attorneys;                               Withhold                           advisory to counties regarding election day
                                                              - Election Day                                                       9E41200C4862200.m              Deliberative Process
                                                                                                     Alexa Buxkemper;                                                                        reminders for 2020 primary election.
                                                                Reminders                                                          sg
                                                                                                     David Velez-Perez




                                                             RE: MASS EMAIL                           Genevieve Gill;              000000000F42E7293
                                                                                                                                                                                         Email with attorney discussion of draft mass
                                                            ADVISORY (CC/EA- )                      Elections-Attorneys;           C856D4C928B5B390                Attorney Client;
DOC_0669049   Christina Adkins   3/2/2020   Outlook Email                        Christina Adkins                                                      Withhold                           advisory to counties regarding election day
                                                              - Election Day                         Alexa Buxkemper;              9E4120004872200.m              Deliberative Process
                                                                                                                                                                                             reminders for 2020 primary election.
                                                                Reminders                            David Velez-Perez             sg
                                                                                   Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 35 of 82




                                                              RE: MASS EMAIL                           Christina Adkins;                   000000000F42E7293
                                                                                                                                                                                                    Email with attorney discussion of draft mass
                                                             ADVISORY (CC/EA- )                       Elections-Attorneys;                 C856D4C928B5B390                Attorney Client;
DOC_0669050   Christina Adkins   3/2/2020    Outlook Email                          Genevieve Gill                                                             Withhold                              advisory to counties regarding election day
                                                               - Election Day                          Alexa Buxkemper;                    9E4120044872200.m              Deliberative Process
                                                                                                                                                                                                        reminders for 2020 primary election.
                                                                 Reminders                             David Velez-Perez                   sg




                                                               MASS EMAIL                                                                  000000000F42E7293
                                                                                                      Elections-Attorneys;                                                                          Email with attorney discussion of draft mass
                                                             ADVISORY (CC/EA- )                                                            C856D4C928B5B390
DOC_0669051   Christina Adkins   3/2/2020    Outlook Email                         Christina Adkins    Alexa Buxkemper;                                        Withhold     Attorney Client          advisory to counties regarding election day
                                                               - Election Day                                                              9E4120064872200.m
                                                                                                       David Velez-Perez                                                                                reminders for 2020 primary election.
                                                                 Reminders                                                                 sg




                                                               MASS EMAIL                                                                  000000000F42E7293
                                                                                                                                                                                                    Email with attorney discussion of draft mass
                                                             ADVISORY (CC/EA-                                                              C856D4C928B5B390
DOC_0669073   Christina Adkins   3/3/2020    Outlook Email                         Christina Adkins     Tiffany Owens        Kristi Hart                       Withhold     Attorney Client          advisory to counties regarding election day
                                                             700) - Election Day                                                           9E41200448E2200.m
                                                                                                                                                                                                        reminders for 2020 primary election.
                                                                 Reminders                                                                 sg




                                                              RE: MASS EMAIL
                                                                 ADVISORY -                             Heidi Martinez;
                                                              (CC/EA/VR -700) -                          Melanie Best;                     000000000F42E7293                                      Email with attorney discussion of draft advisory
                                                             Questions regarding                        Charles Pinney;                    C856D4C928B5B390                Attorney Client;           regarding questions about the Governor's
DOC_0669176   Christina Adkins   3/19/2020   Outlook Email                         Christina Adkins                                                            Withhold
                                                              Advisory 2020-12-                       Elections-Attorneys;                 9E4120024B22200.m              Deliberative Process   proclamation and Advisory 2020-12 about elections
                                                              Actions for May 2,                      David Velez-Perez;                   sg                                                                     and COVID-19.
                                                                2020 Uniform                           Alexa Buxkemper
                                                             Election (COVID-19)




                                                              RE: MASS EMAIL
                                                                 ADVISORY -                             Charles Pinney;
                                                              (CC/EA/VR -700) -                          Melanie Best;                     000000000F42E7293                                      Email with attorney discussion of draft advisory
                                                             Questions regarding                       Christina Adkins;                   C856D4C928B5B390                Attorney Client;           regarding questions about the Governor's
DOC_0669177   Christina Adkins   3/19/2020   Outlook Email                          Heidi Martinez                                                             Withhold
                                                              Advisory 2020-12-                       Elections-Attorneys;                 9E4120044B22200.m              Deliberative Process   proclamation and Advisory 2020-12 about elections
                                                              Actions for May 2,                      David Velez-Perez;                   sg                                                                     and COVID-19.
                                                                2020 Uniform                           Alexa Buxkemper
                                                             Election (COVID-19)




                                                              RE: MASS EMAIL
                                                                 ADVISORY -                             Charles Pinney;
                                                              (CC/EA/VR -700) -                          Melanie Best;                     000000000F42E7293                                      Email with attorney discussion of draft advisory
                                                             Questions regarding                       Christina Adkins;                   C856D4C928B5B390                Attorney Client;           regarding questions about the Governor's
DOC_0669180   Christina Adkins   3/19/2020   Outlook Email                          Genevieve Gill                                                             Withhold
                                                              Advisory 2020-12-                       Elections-Attorneys;                 9E41200C4B22200.m              Deliberative Process   proclamation and Advisory 2020-12 about elections
                                                              Actions for May 2,                      David Velez-Perez;                   sg                                                                     and COVID-19.
                                                                2020 Uniform                           Alexa Buxkemper
                                                             Election (COVID-19)




                                                              RE: MASS EMAIL
                                                                 ADVISORY -
                                                                                                         Melanie Best;
                                                              (CC/EA/VR -700) -                                                            000000000F42E7293                                      Email with attorney discussion of draft advisory
                                                                                                       Christina Adkins;
                                                             Questions regarding                                                           C856D4C928B5B390                Attorney Client;           regarding questions about the Governor's
DOC_0669181   Christina Adkins   3/19/2020   Outlook Email                          Charles Pinney    Elections-Attorneys;                                     Withhold
                                                              Advisory 2020-12-                                                            9E4120004B32200.m              Deliberative Process   proclamation and Advisory 2020-12 about elections
                                                                                                      David Velez-Perez;
                                                              Actions for May 2,                                                           sg                                                                     and COVID-19.
                                                                                                       Alexa Buxkemper
                                                                2020 Uniform
                                                             Election (COVID-19)
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 36 of 82




                                                              RE: MASS EMAIL
                                                                 ADVISORY -                               Melanie Best;
                                                              (CC/EA/VR -700) -                          Charles Pinney;                          000000000F42E7293                                      Email with attorney discussion of draft advisory
                                                             Questions regarding                        Christina Adkins;                         C856D4C928B5B390                Attorney Client;           regarding questions about the Governor's
DOC_0669185   Christina Adkins   3/19/2020   Outlook Email                            Heidi Martinez                                                                  Withhold
                                                              Advisory 2020-12-                        Elections-Attorneys;                       9E41200C4B32200.m              Deliberative Process   proclamation and Advisory 2020-12 about elections
                                                              Actions for May 2,                       David Velez-Perez;                         sg                                                                     and COVID-19.
                                                                2020 Uniform                            Alexa Buxkemper
                                                             Election (COVID-19)




                                                              RE: MASS EMAIL
                                                                 ADVISORY -
                                                                                                         Charles Pinney;
                                                              (CC/EA/VR -700) -                                                                   000000000F42E7293                                      Email with attorney discussion of draft advisory
                                                                                                        Christina Adkins;
                                                             Questions regarding                                                                  C856D4C928B5B390                Attorney Client;           regarding questions about the Governor's
DOC_0669194   Christina Adkins   3/20/2020   Outlook Email                             Melanie Best    Elections-Attorneys;                                           Withhold
                                                              Advisory 2020-12-                                                                   9E4120084B52200.m              Deliberative Process   proclamation and Advisory 2020-12 about elections
                                                                                                       David Velez-Perez;
                                                              Actions for May 2,                                                                  sg                                                                     and COVID-19.
                                                                                                        Alexa Buxkemper
                                                                2020 Uniform
                                                             Election (COVID-19)




                                                                                                                                                  000000000F42E7293
                                                             RE: Application to                        Alexa Buxkemper;                                                                                 Email with attorney discussion regarding draft of
                                                                                                                              Christina Adkins;   C856D4C928B5B390                Attorney Client;
DOC_0669823   Christina Adkins   5/11/2020   Outlook Email   Cancel ABBM and          Heidi Martinez    Krystine Ramon;                                               Withhold                          updated Application to Cancel an ABBM form and
                                                                                                                              David Velez-Perez   9E4120044522300.m              Deliberative Process
                                                             Cancellation Chart                        Elections-Attorneys                                                                                        creation of a related chart.
                                                                                                                                                  sg




                                                                                                                                                  000000000F42E7293
                                                             Re: Application to                          Heidi Martinez;                                                                                Email with attorney discussion regarding draft of
                                                                                                                              Christina Adkins;   C856D4C928B5B390                Attorney Client;
DOC_0669824   Christina Adkins   5/11/2020   Outlook Email   Cancel ABBM and         Alexa Buxkemper    Krystine Ramon;                                               Withhold                          updated Application to Cancel an ABBM form and
                                                                                                                              David Velez-Perez   9E4120064522300.m              Deliberative Process
                                                             Cancellation Chart                        Elections-Attorneys                                                                                        creation of a related chart.
                                                                                                                                                  sg




                                                                                                                                                  000000000F42E7293
                                                             RE: Application to                         Krystine Ramon;                                                                                 Email with attorney discussion regarding draft of
                                                                                                                              Christina Adkins;   C856D4C928B5B390                Attorney Client;
DOC_0669826   Christina Adkins   5/11/2020   Outlook Email   Cancel ABBM and          Heidi Martinez   Alexa Buxkemper;                                               Withhold                          updated Application to Cancel an ABBM form and
                                                                                                                              David Velez-Perez   9E41200E4522300.m              Deliberative Process
                                                             Cancellation Chart                        Elections-Attorneys                                                                                                related chart.
                                                                                                                                                  sg




                                                                                                                                                  000000000F42E7293
                                                                                                        Adam Bitter; Joe                                                                                 Email with attorney discussion of the effect of the
                                                                Bettencourt's                                                                     C856D4C928B5B390
DOC_0671143   Christina Adkins   8/24/2021   Outlook Email                             Keith Ingram    Esparza; Christina                                             Withhold     Attorney Client      proposed Bettencourt amendment to CSSB1 on the
                                                                amendment                                                                         9E4120004162600.m
                                                                                                       Adkins; Kristi Hart                                                                                             SOS Ballot Tracker
                                                                                                                                                  sg




                                                                                                                                                                                                        Email with attorney discussion regarding draft
                                                                                                                                                  000000000F42E7293
                                                                                                                                                                                                       quickpart for voter inquiries about voting by mail
                                                                 RE: Possible                           Christina Adkins;                         C856D4C928B5B390                Attorney Client;
DOC_0671328   Christina Adkins   6/14/2020   Outlook Email                             Adam Bitter                                                                    Withhold                         eligibility in relation to the Texas Supreme Court
                                                             quickpart for voters?                       Genevieve Gill                           9E41200A4362000.m              Deliberative Process
                                                                                                                                                                                                      decision that lack of immunity to COVID-19 was not
                                                                                                                                                  sg
                                                                                                                                                                                                        considered a disability under the Election Code.
                                                                                       Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 37 of 82




                                                              RE: DRAFT: MASS
                                                              EMAIL (CC/EA/VR -                                                                   000000000F42E7293                                      Email with attorney draft and comments from
                                                                                                          Christina Adkins; Joe
                                                              940) - Proclamation                                                                 C856D4C928B5B390                Attorney Client;     others on that draft of guidance to counties about
DOC_0671386   Christina Adkins   7/27/2020    Outlook Email                              Adam Bitter         Esparza; Keith                                           Withhold
                                                                regarding Early                                                                   9E4120024492000.m              Deliberative Process Governor's proclamation to expand early voting, and
                                                                                                                 Ingram
                                                              Voting for November                                                                 sg                                                           in-person delivery of mail ballots.
                                                               3, 2020 Elections




                                                                                                                                                  000000000F42E7293                                        Email with attorney draft and comments from
                                                                 RE: Quickparts                             Christina Adkins;                     C856D4C928B5B390                                       others on that draft of guidance to counties about
DOC_0671394   Christina Adkins    8/4/2020    Outlook Email                             Heidi Martinez                             Melanie Best                       Withhold     Attorney Client
                                                                   (DRAFT)                                   Genevieve Gill                       9E41200844A2000.m                                     Governor's proclamation to expand early voting, and
                                                                                                                                                  sg                                                             in-person delivery of mail ballots.




                                                                                                                                                  000000000F42E7293                                        Email with attorney draft and comments from
                                                                 RE: Quickparts                              Genevieve Gill;                      C856D4C928B5B390                                       others on that draft of guidance to counties about
DOC_0671396   Christina Adkins    8/4/2020    Outlook Email                             Heidi Martinez                             Melanie Best                       Withhold     Attorney Client
                                                                   (DRAFT)                                  Christina Adkins                      9E41200044B2000.m                                     Governor's proclamation to expand early voting, and
                                                                                                                                                  sg                                                             in-person delivery of mail ballots.




                                                                                                                                                  0000000078ECA431F
                                                                                                                                                                                                           Email with attorney client communication
                                                                RE: Early Voting                           Adam Bitter; Keith                     0AE5F43954A09E42
DOC_0671807   Christina Adkins   9/25/2020    Outlook Email                            Christina Adkins                                                               Withhold     Attorney Client         regarding drafting response to early voting
                                                                  Mandamus                                 Ingram; Kristi Hart                    C2B0B17E4292000.
                                                                                                                                                                                                        mandamus petition against the Secretary of State.
                                                                                                                                                  msg




                                                                                                                                                  0000000078ECA431F
                                                                Emails on Hand                            Keith Ingram; Adam                      0AE5F43954A09E42                                      Email with attorney communication regarding hand-
DOC_0671879   Christina Adkins   9/28/2020    Outlook Email                            Christina Adkins                                                               Withhold     Attorney Client
                                                                  Delivery                                       Bitter                           C2B0B17643C2000.                                                   delivery-of-ballots issues.
                                                                                                                                                  msg




                                                                                                             Charles Pinney;                      0000000078ECA431F                                        Email with attorney draft and comments from
                                                              RE: Draft Quickpart
                                                                                                            Christina Adkins;                     0AE5F43954A09E42                                       others on that draft of guidance to counties about
DOC_0672016   Christina Adkins   10/2/2020    Outlook Email    for Ballot Drop Off      Krystine Ramon                                                                Withhold     Attorney Client
                                                                                                          Lena Proft; Elections-                  C2B0B1764602000.m                                     Governor's proclamation to expand early voting, and
                                                                    Questions
                                                                                                               Attorneys                          sg                                                             in-person delivery of mail ballots.




                                                                                                                                                  0000000078ECA431F
                                                                                                           Lena Proft; Heidi                                                                            Email with attorney discussion regarding questions
                                                                                                                                                  0AE5F43954A09E42                Attorney Client;
DOC_0672432   Christina Adkins   10/20/2020   Outlook Email   RE: by mail disability   Christina Adkins    Martinez; Melanie                                          Withhold                           received about braille voting by mail and curbside
                                                                                                                                                  C2B0B1704C72000.               Deliberative Process
                                                                                                            Best; Elec Legal                                                                                    voting for visually impaired voters.
                                                                                                                                                  msg
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 38 of 82




                                                             FW: DRAFT - MASS
                                                                                                                                              0000000078ECA431F                                        Email with attorney draft and comments from
                                                             EMAIL (CC/EA/VR -
                                                                                                                                              0AE5F43954A09E42                  Attorney Client;     others on that draft of guidance to counties about
DOC_0672986   Christina Adkins   8/14/2020   Outlook Email   940) - Hand-Delivery      Melanie Best     Christina Adkins                                            Withhold
                                                                                                                                              C2B0B1784462100.m                Deliberative Process Governor's proclamation to expand early voting, and
                                                              of Mail Ballots for
                                                                                                                                              sg                                                             in-person delivery of mail ballots.
                                                              November 3, 2020




                                                                                                                                                0000000078ECA431F                                      Email with attorney draft and comments from
                                                                                                         Heidi Martinez;
                                                               RE: Quickparts                                                                   0AE5F43954A09E42                Attorney Client;     others on that draft of guidance to counties about
DOC_0672998   Christina Adkins   8/17/2020   Outlook Email                             Melanie Best     Christina Adkins;   Elections-Attorneys                     Withhold
                                                                 (DRAFT)                                                                        C2B0B1764492100.m              Deliberative Process Governor's proclamation to expand early voting, and
                                                                                                         Genevieve Gill
                                                                                                                                                sg                                                           in-person delivery of mail ballots.




                                                                                                         Heidi Martinez;                      0000000078ECA431F                                        Email with attorney draft and comments from
                                                               RE: Quickparts                           Christina Adkins;                     0AE5F43954A09E42                  Attorney Client;     others on that draft of guidance to counties about
DOC_0673034   Christina Adkins   8/17/2020   Outlook Email                             Melanie Best                                                                 Withhold
                                                                 (DRAFT)                                 Genevieve Gill;                      C2B0B17A44C2100.                 Deliberative Process Governor's proclamation to expand early voting, and
                                                                                                          Melanie Best                        msg                                                            in-person delivery of mail ballots.




                                                                                                                                              0000000078ECA431F                                        Email with attorney draft and comments from
                                                               FW: Quickparts                                                                 0AE5F43954A09E42                  Attorney Client;     others on that draft of guidance to counties about
DOC_0673055   Christina Adkins   8/19/2020   Outlook Email                             Melanie Best     Christina Adkins                                            Withhold
                                                                 (DRAFT)                                                                      C2B0B1764572100.m                Deliberative Process Governor's proclamation to expand early voting, and
                                                                                                                                              sg                                                             in-person delivery of mail ballots.




                                                                                                                                              0000000035FA4DA9
                                                             Issues for the ABBM                                                              4717BF4A823A281E                                         Email with attorney communication about which
DOC_0678010   Christina Adkins   1/15/2022   Outlook Email                            Heidi Martinez    Christina Adkins                                            Withhold     Attorney Client
                                                                   webinar                                                                    9716D9CB24222200.                                           ABBM issues to review during webinar.
                                                                                                                                              msg




                                                             RE: DRAFT - MASS
                                                                                                                                              0000000035FA4DA9
                                                             EMAIL (CC/EA/VR -                                                                                                                        Email with attorney discussion of draft guidance to
                                                                                                                                              4717BF4A823A281E                  Attorney Client;
DOC_0678299   Christina Adkins   8/6/2020    Outlook Email   940) - Hand-Delivery    Christina Adkins      Elec Legal                                               Withhold                          election officials about Governor's proclamation on
                                                                                                                                              9716D9CBE4D62000.                Deliberative Process
                                                              of Mail Ballots for                                                                                                                      hand delivery of mail ballots before election day.
                                                                                                                                              msg
                                                              November 3, 2020




                                                              Re: DRAFT - MASS
                                                                                                        Krystine Ramon;                       0000000035FA4DA9                                         Email with attorney draft and comment on draft of
                                                             EMAIL (CC/EA/VR -
                                                                                                         Genevieve Gill;                      4717BF4A823A281E                                           guidance to election officials about Governor's
DOC_0678300   Christina Adkins   8/6/2020    Outlook Email   940) - Hand-Delivery     Charles Pinney                                                                Withhold     Attorney Client
                                                                                                        Christina Adkins;                     9716D9CB24D72000.                                       proclamation on hand delivery of mail ballots before
                                                               of Mail Ballots for
                                                                                                           Elec Legal                         msg                                                                         election day.
                                                               November 3, 2020
                                                                                    Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 39 of 82




                                                             RE: DRAFT - MASS
                                                                                                                                      0000000035FA4DA9
                                                             EMAIL (CC/EA/VR -                                                                                                              Email with attorney discussion of draft guidance to
                                                                                                        Christina Adkins;             4717BF4A823A281E                Attorney Client;
DOC_0678301   Christina Adkins   8/6/2020    Outlook Email   940) - Hand-Delivery    Genevieve Gill                                                       Withhold                          election officials about Governor's proclamation on
                                                                                                           Elec Legal                 9716D9CB44D72000.              Deliberative Process
                                                              of Mail Ballots for                                                                                                            hand delivery of mail ballots before election day.
                                                                                                                                      msg
                                                              November 3, 2020




                                                             RE: DRAFT - MASS
                                                                                                                                      0000000035FA4DA9
                                                             EMAIL (CC/EA/VR -                           Genevieve Gill;                                                                    Email with attorney discussion of draft guidance to
                                                                                                                                      4717BF4A823A281E                Attorney Client;
DOC_0678302   Christina Adkins   8/6/2020    Outlook Email   940) - Hand-Delivery    Krystine Ramon     Christina Adkins;                                 Withhold                          election officials about Governor's proclamation on
                                                                                                                                      9716D9CB64D72000.              Deliberative Process
                                                              of Mail Ballots for                          Elec Legal                                                                        hand delivery of mail ballots before election day.
                                                                                                                                      msg
                                                              November 3, 2020




                                                             RE: DRAFT - MASS
                                                                                                        Krystine Ramon;               0000000035FA4DA9
                                                             EMAIL (CC/EA/VR -                                                                                                              Email with attorney discussion of draft guidance to
                                                                                                         Genevieve Gill;              4717BF4A823A281E                Attorney Client;
DOC_0678303   Christina Adkins   8/6/2020    Outlook Email   940) - Hand-Delivery    Heidi Martinez                                                       Withhold                          election officials about Governor's proclamation on
                                                                                                        Christina Adkins;             9716D9CB84D72000.              Deliberative Process
                                                              of Mail Ballots for                                                                                                            hand delivery of mail ballots before election day.
                                                                                                           Elec Legal                 msg
                                                              November 3, 2020




                                                             RE: DRAFT - MASS                          Melanie Best; Heidi
                                                                                                                                      0000000035FA4DA9
                                                             EMAIL (CC/EA/VR -                         Martinez; Krystine                                                                   Email with attorney discussion of draft guidance to
                                                                                                                                      4717BF4A823A281E                Attorney Client;
DOC_0678304   Christina Adkins   8/6/2020    Outlook Email   940) - Hand-Delivery      Lena Proft      Ramon; Genevieve                                   Withhold                          election officials about Governor's proclamation on
                                                                                                                                      9716D9CBA4D72000.              Deliberative Process
                                                              of Mail Ballots for                        Gill; Christina                                                                     hand delivery of mail ballots before election day.
                                                                                                                                      msg
                                                              November 3, 2020                         Adkins; Elec Legal




                                                             RE: DRAFT - MASS                            Heidi Martinez;
                                                                                                                                      0000000035FA4DA9
                                                             EMAIL (CC/EA/VR -                          Krystine Ramon;                                                                     Email with attorney discussion of draft guidance to
                                                                                                                                      4717BF4A823A281E                Attorney Client;
DOC_0678305   Christina Adkins   8/6/2020    Outlook Email   940) - Hand-Delivery     Melanie Best       Genevieve Gill;                                  Withhold                          election officials about Governor's proclamation on
                                                                                                                                      9716D9CB04D82000.              Deliberative Process
                                                              of Mail Ballots for                       Christina Adkins;                                                                    hand delivery of mail ballots before election day.
                                                                                                                                      msg
                                                              November 3, 2020                             Elec Legal




                                                               DRAFT - MASS
                                                                                                                                      0000000035FA4DA9
                                                             EMAIL (CC/EA/VR -                                                                                                              Email with attorney discussion of draft guidance to
                                                                                                                                      4717BF4A823A281E                Attorney Client;
DOC_0678321   Christina Adkins   8/6/2020    Outlook Email   940) - Hand-Delivery   Christina Adkins       Elec Legal                                     Withhold                          election officials about Governor's proclamation on
                                                                                                                                      9716D9CBA4DA2000               Deliberative Process
                                                              of Mail Ballots for                                                                                                            hand delivery of mail ballots before election day.
                                                                                                                                      .msg
                                                              November 3, 2020




                                                                                                                                                                                           Email from Charles Pinney to other SOS attorneys
                                                                                                                                                                                               providing legal analysis of language in draft
                                                                                                                                      00000000EA87D65F
                                                                                                                                                                      Attorney Client;        legislation about accessible vote-by-mail. The
                                                             Re: Accessible VBM                         Christina Adkins;             0E1B604FB976FA0D
DOC_0682424   Christina Adkins   2/10/2021   Outlook Email                           Charles Pinney                                                       Withhold       Legislative;     analysis is conducted as part of SOS's determination
                                                                   System                                  Elec Legal                 EE778DE2E48B2100
                                                                                                                                                                     Deliberative Process of how to respond to an inquiry by Allison Heinrich,
                                                                                                                                      .msg
                                                                                                                                                                                             who was the Legislative Director for Rep. John
                                                                                                                                                                                                               Bucy's office.
                                                                                          Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 40 of 82




                                                                                                                                                                                                       Reply by Keith Ingram to email from Charles
                                                                                                                                                                                                       Pinney to other SOS attorneys providing legal
                                                                                                                                            00000000EA87D65F
                                                                                                              Charles Pinney;                                                   Attorney Client;       analysis of language in draft legislation about
                                                                     RE: Accessible VBM                                                     0E1B604FB976FA0D
DOC_0682432   Christina Adkins     2/10/2021     Outlook Email                              Keith Ingram     Christina Adkins;                                      Withhold       Legislative;      accessible vote-by-mail. The analysis is conducted
                                                                           System                                                           EE778DE264902100.
                                                                                                                Elec Legal                                                     Deliberative Process as part of SOS's determination of how to respond to
                                                                                                                                            msg
                                                                                                                                                                                                        an inquiry by Allison Heinrich, who was the
                                                                                                                                                                                                      Legislative Director for Rep. John Bucy's office.




                                                                                                                                            00000000EA87D65F
                                                                                                                                                                                                          Email with attorney-client communication
                                                                       Goliad County                                                        0E1B604FB976FA0D
DOC_0683277   Christina Adkins     12/2/2020     Outlook Email                            Christina Adkins    Keith Ingram                                          Withhold     Attorney Client      regarding emails received about election incident in
                                                                          Emails                                                            EE778DE204062300.
                                                                                                                                                                                                                        Goliad County.
                                                                                                                                            msg




                                                                                                                                             1.15.22_ST_Poll
                                                                                                                                            Watcher_DRAFT_VO
              Texas Secretary of                                                          Sam Taylor; Adam                                   TETEXAS_2022                                               General Counsel Adam Bitter's edits to draft of
DOC_0701905                        1/17/2022   Microsoft Word 2016                                                                                                  Withhold   Deliberative Process
                    State                                                                      Bitter                                       UPDATES_ENGLIS                                               voter registration updates to Vote Texas.org
                                                                                                                                                H (AB edits
                                                                                                                                               1.17.22).docx




                                                                                                                                                                                                           Email with attorney client communication
              Texas Secretary of                                                                                                            1.17.22 Press Release               Attorney Client;
DOC_0701906                        1/16/2022   Adobe Acrobat (PDF)                          Adam Bitter                                                             Withhold                                requesting review of a draft SOS release
                    State                                                                                                                   DRAFT (1.16.22).pdf                Deliberative Process
                                                                                                                                                                                                             encouraging eligible voters to register




                                                                                                                                                                                                          Attorney draft advisory "Changes to Laws
              Texas Secretary of                                                            Information                                                                                                Regarding the Application for Ballot by Mail and
DOC_0701908                        1/18/2022   Microsoft Word 2016                                                                          ABBM Advisory.docx      Withhold     Attorney Client
                    State                                                                   Technology                                                                                                 Federal Post Card Application; House Bill 3920,
                                                                                                                                                                                                              House Bill 3107, House Bill 1382 "




                                                                                                                                                                                                       Attorney draft advisory " Application for Ballot by
              Texas Secretary of                                                            Information                                        ABBM Update
DOC_0701909                        6/17/2020   Microsoft Word 2016                                                                                                  Withhold     Attorney Client        Mail and Annual Application for Ballot by Mail
                    State                                                                   Technology                                          (002).docx
                                                                                                                                                                                                                    Procedures and FAQs"




                                                                                                                                             ADV2020-12 -Covid-
              Texas Secretary of                                                                                                               19 Emergency                                           Attorney draft of advisory "COVID-19 (Coronav​i​ rus)
DOC_0701910                        3/13/2020   Microsoft Word 2016                          Keith Ingram                                                            Withhold     Attorney Client
                    State                                                                                                                      Procedures (AB                                                          Voting Procedures"
                                                                                                                                                 edits).docx
                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 41 of 82




                                                                                                                       ADV2020-12 -Covid-
                                                                                                                          19 Emergency
              Texas Secretary of                                                                                                                                             Attorney draft of advisory "COVID-19 (Coronav​i​ rus)
DOC_0701911                        3/16/2020   Microsoft Word 2016     Keith Ingram                                    Procedures (All edits)   Withhold   Attorney Client
                    State                                                                                                                                                                     Voting Procedures"
                                                                                                                       - SC 3_13_2020 plus
                                                                                                                          SOS edits.docx




                                                                                                                           ADV2020-14 -
                                                                                                                            COVID-19
              Texas Secretary of                                                                                       (Coronavirus) Voting                                  Attorney draft of advisory "COVID-19 (Coronav​i​ rus)
DOC_0701912                        3/31/2020   Microsoft Word 2016     Keith Ingram                                                             Withhold   Attorney Client
                    State                                                                                                  and Election                                                       Voting Procedures"
                                                                                                                       Procedures (DRAFT)
                                                                                                                         (AB edits v2).docx




                                                                                                                           ADV2020-14 -
                                                                                                                            COVID-19
              Texas Secretary of                                                                                       (Coronavirus) Voting                                  Attorney draft of advisory "COVID-19 (Coronav​i​ rus)
DOC_0701913                        3/30/2020   Microsoft Word 2016     Keith Ingram                                                             Withhold   Attorney Client
                    State                                                                                                  and Election                                                       Voting Procedures"
                                                                                                                       Procedures (DRAFT)
                                                                                                                          (AB edits).docx




                                                                                                                          ADV2020-14 -
                                                                                                                            COVID-19
              Texas Secretary of                                                                                       (Coronavirus) Voting                                  Attorney draft of advisory "COVID-19 (Coronav​i​ rus)
DOC_0701914                        3/31/2020   Microsoft Word 2016     Keith Ingram                                                             Withhold   Attorney Client
                    State                                                                                                  and Election                                                       Voting Procedures"
                                                                                                                       Procedures (DRAFT)
                                                                                                                        3.31.20 clean.docx




                                                                                                                           ADV2020-14 -
                                                                                                                             COVID-19
              Texas Secretary of                                                                                       (Coronavirus) Voting                                  Attorney draft of advisory "COVID-19 (Coronav​i​ rus)
DOC_0701915                        3/31/2020   Microsoft Word 2016     Keith Ingram                                                             Withhold   Attorney Client
                    State                                                                                                   and Election                                                      Voting Procedures"
                                                                                                                       Procedures (DRAFT)
                                                                                                                        3.31.20 redline.docx




                                                                                                                          ADV2020-14 -
                                                                                                                            COVID-19
              Texas Secretary of                                                                                       (Coronavirus) Voting                                  Attorney draft of advisory "COVID-19 (Coronav​i​ rus)
DOC_0701916                        3/30/2020   Microsoft Word 2016     Keith Ingram                                                             Withhold   Attorney Client
                    State                                                                                                  and Election                                                       Voting Procedures"
                                                                                                                            Procedures
                                                                                                                          (DRAFT).docx




                                                                                                                        ADV2020-XX Best
                                                                                                                          Practices and
              Texas Secretary of                                                                                         Procedures for                                          Attorney draft of advisory "Curbside Voting
DOC_0701917                        6/20/2020   Microsoft Word 2016     Keith Ingram                                                             Withhold   Attorney Client
                    State                                                                                               Curbside Voting -                                                        Procedures"
                                                                                                                          SOS DRAFT
                                                                                                                          6.20.20.docx
                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 42 of 82




                                                                                                                        ADV2020-XX Best
                                                                                                                          Practices and
              Texas Secretary of                                                                                         Procedures for                                    Attorney draft of advisory "Curbside Voting
DOC_0701918                        6/22/2020   Microsoft Word 2016     Keith Ingram                                                           Withhold   Attorney Client
                    State                                                                                               Curbside Voting -                                                  Procedures"
                                                                                                                          SOS DRAFT
                                                                                                                          6.22.20.docx




                                                                                                                         ADV2020-XX Best
                                                                                                                           Practices and
              Texas Secretary of                                                                                          Procedures for                                   Attorney draft of advisory "Curbside Voting
DOC_0701919                        6/24/2020   Microsoft Word 2016     Keith Ingram                                                           Withhold   Attorney Client
                    State                                                                                                Curbside Voting -                                                 Procedures"
                                                                                                                        SOS DRAFT 6.24.20
                                                                                                                            clean.docx




                                                                                                                         ADV2020-XX Best
                                                                                                                           Practices and
              Texas Secretary of                                                                                          Procedures for                                   Attorney draft of advisory "Curbside Voting
DOC_0701920                        6/24/2020   Microsoft Word 2016     Keith Ingram                                                           Withhold   Attorney Client
                    State                                                                                                Curbside Voting -                                                 Procedures"
                                                                                                                        SOS DRAFT 6.24.20
                                                                                                                           redline.docx




                                                                                                                         ADV2020-XX Best
                                                                                                                           Practices and
              Texas Secretary of                                                                                          Procedures for                                   Attorney draft of advisory "Curbside Voting
DOC_0701921                        6/24/2020   Microsoft Word 2016     Keith Ingram                                                           Withhold   Attorney Client
                    State                                                                                                Curbside Voting -                                                 Procedures"
                                                                                                                        SOS DRAFT 6.24.20
                                                                                                                          rev2 clean.docx




                                                                                                                         ADV2020-XX Best
                                                                                                                            Practices and
              Texas Secretary of                                                                                           Procedures for                                  Attorney draft of advisory "Curbside Voting
DOC_0701922                        6/24/2020   Microsoft Word 2016     Keith Ingram                                                           Withhold   Attorney Client
                    State                                                                                                Curbside Voting -                                                 Procedures"
                                                                                                                        SOS DRAFT 6.24.20
                                                                                                                          rev2 redline.docx




                                                                                                                         ADV2020-XX Best
                                                                                                                           Practices and
              Texas Secretary of                                                                                          Procedures for                                   Attorney draft of advisory "Curbside Voting
DOC_0701923                        6/24/2020   Microsoft Word 2016     Keith Ingram                                                           Withhold   Attorney Client
                    State                                                                                                Curbside Voting -                                                 Procedures"
                                                                                                                        SOS DRAFT 6.25.20
                                                                                                                             AM.docx




                                                                                                                         ADV2020-XX Best
                                                                                                                           Practices and
              Texas Secretary of                                                                                          Procedures for                                   Attorney draft of advisory "Curbside Voting
DOC_0701924                        6/25/2020   Microsoft Word 2016     Keith Ingram                                                           Withhold   Attorney Client
                    State                                                                                                Curbside Voting -                                                 Procedures"
                                                                                                                        SOS DRAFT 6.25.20
                                                                                                                             PM.docx
                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 43 of 82




                                                                                                                         ADV2020-XX Best
                                                                                                                           Practices and
                                                                                                                           Procedures for
              Texas Secretary of                                                                                                                                             Attorney draft of advisory "Curbside Voting
DOC_0701925                        6/19/2020   Microsoft Word 2016     Keith Ingram                                     Curbside Voting and    Withhold   Attorney Client
                    State                                                                                                                                                                    Procedures"
                                                                                                                         Alternative Voting
                                                                                                                            (DRAFT) (1)
                                                                                                                             (003).docx




                                                                                                                         ADV2020-XX Best
                                                                                                                           Practices and
              Texas Secretary of                                                                                           Procedures for                                    Attorney draft of advisory "Curbside Voting
DOC_0701926                        5/26/2020   Microsoft Word 2016     Keith Ingram                                                            Withhold   Attorney Client
                    State                                                                                               Curbside Voting and                                                  Procedures"
                                                                                                                         Alternative Voting
                                                                                                                           (DRAFT).docx




                                                                                                                          ADV2020-XX
              Texas Secretary of                                                                                         Curbside Voting                                     Attorney draft of advisory "Curbside Voting
DOC_0701927                        6/22/2020   Microsoft Word 2016     Keith Ingram                                                            Withhold   Attorney Client
                    State                                                                                                  Procedures                                                        Procedures"
                                                                                                                           (Final).docx




                                                                                                                           ADV2020-XX
                                                                                                                          Procedures for
              Texas Secretary of                                                                                                                                             Attorney draft of advisory "Curbside Voting
DOC_0701928                        6/17/2020   Microsoft Word 2016     Keith Ingram                                    Curbside Voting and     Withhold   Attorney Client
                    State                                                                                                                                                                    Procedures"
                                                                                                                          Drive-Through
                                                                                                                       Voting (DRAFT).docx




                                                                                                                           ADV2020-XX
              Texas Secretary of                                                                                       Straight-Party Voting                                Attorney draft of advisory "NEW LAW: HB 25
DOC_0701929                        9/10/2020   Microsoft Word 2016     Keith Ingram                                                            Withhold   Attorney Client
                    State                                                                                                 -- SOS DRAFT                                       (2017) Elimination of Straight-Party Voting"
                                                                                                                            9.10.20.docx




                                                                                                                           ADV2020-XX
              Texas Secretary of                                                                                       Straight-Party Voting                                Attorney draft of advisory "NEW LAW: HB 25
DOC_0701930                        9/11/2020   Microsoft Word 2016     Keith Ingram                                                            Withhold   Attorney Client
                    State                                                                                                 -- SOS DRAFT                                       (2017) Elimination of Straight-Party Voting"
                                                                                                                            9.11.20.docx




                                                                                                                           ADV2020-XX
              Texas Secretary of                                                                                       Straight-Party Voting                                Attorney draft of advisory "NEW LAW: HB 25
DOC_0701931                        9/16/2020   Microsoft Word 2016     Keith Ingram                                                            Withhold   Attorney Client
                    State                                                                                                 -- SOS DRAFT                                       (2017) Elimination of Straight-Party Voting"
                                                                                                                            9.16.20.docx
                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 44 of 82




                                                                                                                            ADV2020-XX
              Texas Secretary of                                                                                                                                              Attorney draft of advisory "NEW LAW: HB 25
DOC_0701932                        9/6/2020    Microsoft Word 2016     Keith Ingram                                    Straight-Party Voting   Withhold   Attorney Client
                    State                                                                                                                                                      (2017) Elimination of Straight-Party Voting"
                                                                                                                           (DRAFT).docx




                                                                                                                        ADV2020-XX Voting
              Texas Secretary of                                                                                         In Person During                                   Attorney draft of advisory "Voting In Person During
DOC_0701933                        6/9/2020    Microsoft Word 2016     Keith Ingram                                                            Withhold   Attorney Client
                    State                                                                                                COVID-19 -- SOS                                                        COVID-19"
                                                                                                                        DRAFT 6.9.20.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                                                                            Attorney draft of advisory "Voting In Person During
DOC_0701934                        6/10/2020   Microsoft Word 2016     Keith Ingram                                      COVID-19 -- SOS       Withhold   Attorney Client
                    State                                                                                                                                                                       COVID-19"
                                                                                                                          DRAFT 6.10.20
                                                                                                                             clean.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                                                                            Attorney draft of advisory "Voting In Person During
DOC_0701935                        6/10/2020   Microsoft Word 2016     Keith Ingram                                      COVID-19 -- SOS       Withhold   Attorney Client
                    State                                                                                                                                                                       COVID-19"
                                                                                                                          DRAFT 6.10.20
                                                                                                                            redline.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                                                                            Attorney draft of advisory "Voting In Person During
DOC_0701936                        6/14/2020   Microsoft Word 2016     Keith Ingram                                      COVID-19 -- SOS       Withhold   Attorney Client
                    State                                                                                                                                                                       COVID-19"
                                                                                                                          DRAFT 6.12.20
                                                                                                                            redline.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                                                                            Attorney draft of advisory "Voting In Person During
DOC_0701937                        6/18/2020   Microsoft Word 2016     Keith Ingram                                      COVID-19 -- SOS       Withhold   Attorney Client
                    State                                                                                                                                                                       COVID-19"
                                                                                                                          DRAFT 6.15.20
                                                                                                                             clean.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                         COVID-19 -- SOS                                    Attorney draft of advisory "Voting In Person During
DOC_0701938                        6/15/2020   Microsoft Word 2016     Keith Ingram                                                            Withhold   Attorney Client
                    State                                                                                                 DRAFT 6.15.20                                                         COVID-19"
                                                                                                                            redline for
                                                                                                                          Christina.docx
                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 45 of 82




                                                                                                                       ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                                                                            Attorney draft of advisory "Voting In Person During
DOC_0701939                        6/15/2020   Microsoft Word 2016     Keith Ingram                                      COVID-19 -- SOS       Withhold   Attorney Client
                    State                                                                                                                                                                       COVID-19"
                                                                                                                          DRAFT 6.15.20
                                                                                                                       redline for OOG.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                          In Person During
              Texas Secretary of                                                                                                                                            Attorney draft of advisory "Voting In Person During
DOC_0701940                        6/15/2020   Microsoft Word 2016     Keith Ingram                                      COVID-19 -- SOS       Withhold   Attorney Client
                    State                                                                                                                                                                       COVID-19"
                                                                                                                           DRAFT 6.15.20
                                                                                                                        redline for SOS.docx




                                                                                                                        ADV2020-XX Voting
              Texas Secretary of                                                                                         In Person During                                   Attorney draft of advisory "Voting In Person During
DOC_0701941                        6/15/2020   Microsoft Word 2016     Keith Ingram                                                            Withhold   Attorney Client
                    State                                                                                                COVID-19 -- SOS                                                        COVID-19"
                                                                                                                        DRAFT 6.15.20.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                                                                            Attorney draft of advisory "Voting In Person During
DOC_0701942                        6/16/2020   Microsoft Word 2016     Keith Ingram                                      COVID-19 -- SOS       Withhold   Attorney Client
                    State                                                                                                                                                                       COVID-19"
                                                                                                                         DRAFT 6.16.20 w-
                                                                                                                          OOG edits.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                                                                            Attorney draft of advisory "Voting In Person During
DOC_0701943                        6/17/2020   Microsoft Word 2016     Keith Ingram                                      COVID-19 -- SOS       Withhold   Attorney Client
                    State                                                                                                                                                                       COVID-19"
                                                                                                                         DRAFT 6.17.20 -
                                                                                                                        addtl AB edits.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                         COVID-19 -- SOS                                    Attorney draft of advisory "Voting In Person During
DOC_0701944                        6/16/2020   Microsoft Word 2016     Keith Ingram                                                            Withhold   Attorney Client
                    State                                                                                                DRAFT 6.17.20 -                                                        COVID-19"
                                                                                                                        OOG +OAG Round 1
                                                                                                                             edits.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                         COVID-19 -- SOS                                    Attorney draft of advisory "Voting In Person During
DOC_0701945                        6/18/2020   Microsoft Word 2016     Keith Ingram                                                            Withhold   Attorney Client
                    State                                                                                               DRAFT 6.18.20 - AB                                                      COVID-19"
                                                                                                                            + OAG edits
                                                                                                                           CLEAN.docx
                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 46 of 82




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                         COVID-19 -- SOS                                    Attorney draft of advisory "Voting In Person During
DOC_0701946                        6/18/2020   Microsoft Word 2016      Keith Ingram                                                           Withhold   Attorney Client
                    State                                                                                               DRAFT 6.18.20 - AB                                                      COVID-19"
                                                                                                                            + OAG edits
                                                                                                                          REDLINE.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                                                                            Attorney draft of advisory "Voting In Person During
DOC_0701947                        6/18/2020   Microsoft Word 2016      Keith Ingram                                     COVID-19 -- SOS       Withhold   Attorney Client
                    State                                                                                                                                                                       COVID-19"
                                                                                                                         DRAFT 6.18.20 11
                                                                                                                           am clean.docx




                                                                                                                        ADV2020-XX Voting
                                                                                                                         In Person During
              Texas Secretary of                                                                                                                                            Attorney draft of advisory "Voting In Person During
DOC_0701948                        6/18/2020   Microsoft Word 2016      Keith Ingram                                     COVID-19 -- SOS       Withhold   Attorney Client
                    State                                                                                                                                                                       COVID-19"
                                                                                                                         DRAFT 6.18.20 11
                                                                                                                          am redline.docx




                                                                                                                       ADV2020-XX Voting
              Texas Secretary of                                                                                        In Person During                                    Attorney draft of advisory "Voting In Person During
DOC_0701949                        6/5/2020    Microsoft Word 2016      Keith Ingram                                                           Withhold   Attorney Client
                    State                                                                                              COVID-19 (CA edits) -                                                    COVID-19"
                                                                                                                        with AB edits.docx




                                                                                                                          ADV2021-09 -
              Texas Secretary of                                     Keith Ingram; Adam                                 Legislative Update                                    Attorney draft of advisory on "2021 Legislative
DOC_0701950                        7/21/2021   Microsoft Word 2016                                                                             Withhold   Attorney Client
                    State                                                   Bitter                                      (DRAFT) - AB edits                                          Summary – 87th Regular Session"
                                                                                                                           7.21.21.docx




                                                                                                                          ADV2021-09 -
              Texas Secretary of                                                                                                                                              Attorney draft of advisory on "2021 Legislative
DOC_0701951                        7/30/2021   Microsoft Word 2016      Keith Ingram                                    Legislative Update     Withhold   Attorney Client
                    State                                                                                                                                                           Summary – 87th Regular Session"
                                                                                                                           7.30.21.docx




                                                                                                                          ADV2021-09 -
              Texas Secretary of                                                                                        Legislative Update                                    Attorney draft of advisory on "2021 Legislative
DOC_0701952                        7/23/2021   Microsoft Word 2016      Keith Ingram                                                           Withhold   Attorney Client
                    State                                                                                                  SOS DRAFT                                                Summary – 87th Regular Session"
                                                                                                                           7.23.21.docx
                                                                      Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 47 of 82




              Texas Secretary of                                                                                        ADV2021-XX - EVBB                                       Attorney draft of advisory "NEW LAW: Training
DOC_0701953                        8/26/2021   Microsoft Word 2016       Keith Ingram                                                             Withhold   Attorney Client
                    State                                                                                               & CCS Training.docx                                     required for EVBB & CCS - House Bill 3107 87R"




                                                                                                                         ADV2021-XX-New                                           Attorney draft of advisory "Changes to Laws
              Texas Secretary of                                      Keith Ingram; Adam                                Application for Ballot                                  Regarding the Application for Ballot by Mail and
DOC_0701954                        9/9/2021    Microsoft Word 2016                                                                                Withhold   Attorney Client
                    State                                                    Bitter                                      by Mail - AB revs                                      Federal Post Card Application; House Bill 3920,
                                                                                                                             9.9.21.docx                                               House Bill 3107, House Bill 1382"




                                                                                                                                                                                 Attorney draft of advisory on "Changes to Laws
                                                                                                                         ADV2021-XX-New
              Texas Secretary of                                                                                                                                                Regarding the Application for Ballot by Mail and
DOC_0701955                        2/1/2022    Microsoft Word 2016       Keith Ingram                                   Application for Ballot    Withhold   Attorney Client
                    State                                                                                                                                                       Federal Post Card Application; House Bill 3920,
                                                                                                                            by Mail.docx
                                                                                                                                                                               House Bill 3107, House Bill 1382, and Senate Bill 1"




                                                                                                                                                                                Attorney draft of advisory on "Changes to Laws
                                                                                                                         ADV2021-XX-NEW
              Texas Secretary of                                                                                                                                                Regarding the Application for Ballot by Mail and
DOC_0701956                        8/31/2021   Microsoft Word 2016       Keith Ingram                                    LAW-Application for      Withhold   Attorney Client
                    State                                                                                                                                                       Federal Post Card Application; House Bill 3920,
                                                                                                                         Ballot by Mail.docx
                                                                                                                                                                                      House Bill 3107, House Bill 1382"




                                                                                                                            ADV2022-XX
                                                                                                                        Canvass and Recount
                                                                                                                        Deadlines for May 7
                                                                                                                          2022 Election of                                     Attorney draft of advisory on "Canvass and Recount
              Texas Secretary of
DOC_0701957                        4/23/2022   Microsoft Word 97/98      Keith Ingram                                        Cities School        Withhold   Attorney Client    Deadlines for the May 7, 2022 Elections of Cities,
                    State
                                                                                                                         Districts and Other                                    School Districts and Other Political Subdivisions "
                                                                                                                        Political Subdivisions
                                                                                                                         (DRAFT) (4.23.22
                                                                                                                               revs).doc




                                                                                                                         ADV2022-XX - Post-
                                                                                                                         Election Procedures
                                                                                                                          and Qualifying for                                      Attorney draft of advisory on "Post-Election
              Texas Secretary of
DOC_0701958                        5/1/2022    Microsoft Word 97/98      Keith Ingram                                    Office for the May 7     Withhold   Attorney Client   Procedures and Qualifying for Office for the May 7,
                    State
                                                                                                                            2022 Election                                                2022 Uniform Election Date"
                                                                                                                          (DRAFT2) (5.1.22
                                                                                                                               revs).doc




                                                                                                                            ADV2022-XX
                                                                                                                         Additional Ballot by
                                                                                                                                                                                 Attorney draft of advisory "Additional Ballot by
              Texas Secretary of                                                                                         Mail Procedures for
DOC_0701959                        4/25/2022   Microsoft Word 2016       Keith Ingram                                                             Withhold   Attorney Client     Mail Procedures for May Uniform Election and
                    State                                                                                                 May Uniform and
                                                                                                                                                                                           Primary Runoff Election"
                                                                                                                           Primary Runoff
                                                                                                                        (4.25.22 revs) (1).docx
                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 48 of 82




                                                                                                                           ADV2022-XX
                                                                                                                        Additional Ballot by
                                                                                                                                                                                    Attorney draft of advisory "Additional Ballot by
              Texas Secretary of                                                                                        Mail Procedures for
DOC_0701960                        4/26/2022   Microsoft Word 2016       Keith Ingram                                                           Withhold     Attorney Client        Mail Procedures for May Uniform Election and
                    State                                                                                                May Uniform and
                                                                                                                                                                                              Primary Runoff Election"
                                                                                                                          Primary Runoff
                                                                                                                        (4.25.22 revs).docx




                                                                                                                        Alexa's Edits 5-16 -
              Texas Secretary of                                                                                                                                                  SOS draft of form "Notice of Rejected Application for
DOC_0701961                        5/3/2020    Microsoft Word 2016    Alexa Buxkemper                                      Instructions         Withhold   Deliberative Process
                    State                                                                                                                                                                            Ballot by Mail"
                                                                                                                           (clean).docx




                                                                                                                        Alexa's Edits 5-16 -
                                                                                                                        Notice of Rejected
              Texas Secretary of                                                                                       Application for Ballot                                     SOS draft of form "Notice of Rejected Application for
DOC_0701962                        5/3/2020    Microsoft Word 2016    Alexa Buxkemper                                                           Withhold   Deliberative Process
                    State                                                                                                by Mail (DRAFT)                                                             Ballot by Mail"
                                                                                                                          (clean-English
                                                                                                                           version).docx




                                                                                                                                                                                  Internal draft of Texas Secretary of State Full
              Texas Secretary of                                                                                        Audit Comparison                    Attorney Client;
DOC_0701963                        10/1/2021   Microsoft Word 2016        Sam Taylor                                                            Withhold                        Forensic Audit of 2020 Elections with Adam Bitter's
                    State                                                                                               TPs (AB edits).docx                Deliberative Process
                                                                                                                                                                                               comments and edits.




                                                                                                                            AVISO DE
              Texas Secretary of                                                                                                                             Attorney client;
DOC_0701964                        4/17/2022   Microsoft Word 2016      Heidi Martinez                                    DEFECTO DEL           Withhold                              Attorney draft of Notice of Rejected ABBM
                    State                                                                                                                                  Deliberative Process
                                                                                                                         SOBRE 6-12.docx




                                                                                                                           AVISO DE
              Texas Secretary of                                                                                                                             Attorney client;
DOC_0701965                        4/15/2022   Microsoft Word 2016      Heidi Martinez                                   DEFECTO DEL            Withhold                            SOS internal draft of Notice of Rejected ABBM
                    State                                                                                                                                  Deliberative Process
                                                                                                                          SOBRE.docx




                                                                          Information
                                                                      Technology is listed
                                                                         as the author.
                                                                                                                        Dear Voter Letter-
                                                                      Document includes
                                                                                                                         November 2020
              Texas Secretary of                                     edits likely suggested                                                                                        Internal draft SOS advisory on ballot by mail and
DOC_0701968                        7/27/2020   Microsoft Word 2016                                                      General (English) -     Withhold   Deliberative Process
                    State                                             by an attorney, but                                                                                                   signature matching procedure.
                                                                                                                          SOS DRAFT
                                                                       we are unable to
                                                                                                                          7.27.20.docx
                                                                     match the document
                                                                          to a specific
                                                                           individual
                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 49 of 82




                                                                      Document includes
                                                                     edits likely suggested                             Dear Voter Letter-
                                                                      by an attorney, but                                November 2020
              Texas Secretary of                                                                                                                                                   Internal draft SOS advisory on ballot by mail and
DOC_0701969                        7/28/2020   Microsoft Word 2016     we are unable to                                 General (English) -     Withhold   Deliberative Process
                    State                                                                                                                                                                   signature matching procedure.
                                                                     match the document                                SOS DRAFT 7.28.20 -
                                                                          to a specific                                    redline.docx
                                                                           individual




                                                                                                                        Dear Voter Letter-
                                                                      We are unable to
                                                                                                                         November 2020
              Texas Secretary of                                       match the draft                                                                                             Internal draft SOS advisory on ballot by mail and
DOC_0701970                        7/28/2020   Microsoft Word 2016                                                      General (English) -     Withhold   Deliberative Process
                    State                                               document to a                                                                                                       signature matching procedure.
                                                                                                                          SOS DRAFT
                                                                      specific individual
                                                                                                                          7.28.20.docx




                                                                      Document includes
                                                                     edits likely suggested
                                                                      by an attorney, but                               DRAFT 6-3 Notice of
              Texas Secretary of                                                                                                                                                  Internal SOS draft of Notice of Rejected Application
DOC_0701971                        4/13/2022   Microsoft Word 2016     we are unable to                                  Rej ABBM-Revised       Withhold   Deliberative Process
                    State                                                                                                                                                                      for Ballot by Mail form
                                                                     match the document                                   (4.1.22) (1).docx
                                                                          to a specific
                                                                           individual




                                                                      Document includes
                                                                     edits likely suggested
                                                                      by an attorney, but                               DRAFT 6-3 Notice of
              Texas Secretary of                                                                                                                                                  Internal SOS draft of Notice of Rejected Application
DOC_0701972                        4/4/2022    Microsoft Word 2016     we are unable to                                  Rej ABBM-Revised       Withhold   Deliberative Process
                    State                                                                                                                                                                      for Ballot by Mail form
                                                                     match the document                                     (4.1.22).docx
                                                                          to a specific
                                                                           individual




                                                                      Document includes
                                                                     edits likely suggested
                                                                      by an attorney, but                               DRAFT 6-3 Notice of
              Texas Secretary of                                                                                                                                                  Internal SOS draft of Notice of Rejected Application
DOC_0701973                        4/29/2022   Microsoft Word 2016     we are unable to                                  Rej ABBM-Revised       Withhold   Deliberative Process
                    State                                                                                                                                                                      for Ballot by Mail form
                                                                     match the document                                    (4.29.22).docx
                                                                          to a specific
                                                                           individual




                                                                      Document includes
                                                                     edits likely suggested
                                                                      by an attorney, but                               DRAFT 6-3 Notice of
              Texas Secretary of                                                                                                                                                  Internal SOS draft of Notice of Rejected Application
DOC_0701974                        5/4/2022    Microsoft Word 2016     we are unable to                                  Rej ABBM-Revised       Withhold   Deliberative Process
                    State                                                                                                                                                                      for Ballot by Mail form
                                                                     match the document                                  (5.4.22) clean.docx
                                                                          to a specific
                                                                           individual




                                                                      Document includes
                                                                     edits likely suggested
                                                                      by an attorney, but                               DRAFT 6-3 Notice of
              Texas Secretary of                                                                                                                                                  Internal SOS draft of Notice of Rejected Application
DOC_0701975                        5/4/2022    Microsoft Word 2016     we are unable to                                  Rej ABBM-Revised       Withhold   Deliberative Process
                    State                                                                                                                                                                      for Ballot by Mail form
                                                                     match the document                                 (5.4.22) redline.docx
                                                                          to a specific
                                                                           individual
                                                                      Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 50 of 82




                                                                                                                         Election Day Closing
              Texas Secretary of                                                                                                                                                     Internal SOS draft of the election day checklist
DOC_0701977                        2/16/2022   Microsoft Word 2016    Elizabeth Hawkins                                  the Polls Checklist -   Withhold   Deliberative Process
                    State                                                                                                                                                          "Election Day - Closing the Polling Place Checklist"
                                                                                                                           2.16.22 revs.docx




                                                                                                                        Election Day Opening
              Texas Secretary of                                                                                                                                                     Internal SOS draft of the election day checklist
DOC_0701978                        2/16/2022   Microsoft Word 2016    Alexa Buxkemper                                    the Polls Checklist -   Withhold   Deliberative Process
                    State                                                                                                                                                          "Election Day - Closing the Polling Place Checklist"
                                                                                                                          2.16.22 revs.docx




                                                                                                                          Election Workers
              Texas Secretary of               Microsoft PowerPoint                                                                                                                Attorney draft presentation "Election Workers and
DOC_0701979                        4/5/2022                              Lena Proft                                        Webinar (CSO          Withhold     Attorney Client
                    State                              2016                                                                                                                                            Officials"
                                                                                                                             2022).pptx




                                                                                                                        FINAL 5-17 SB1 - EV
              Texas Secretary of                                                                                         Clerk Cancellation                                         Internal SOS draft form "Request to Cancel Ballot
DOC_0701983                        1/25/2022   Microsoft Word 2016    Alexa Buxkemper                                                            Withhold   Deliberative Process
                    State                                                                                                 Application 2022                                          by Mail for Use in the Early Voting Clerk's Office"
                                                                                                                          (1.25.22 rev).docx




                                                                                                                               FINAL
                                                                                                                          Documentation for                                        Internal SOS draft form "Information of Person that
              Texas Secretary of
DOC_0701984                        1/19/2022   Microsoft Word 2016    Alexa Buxkemper                                     Person Providing       Withhold   Deliberative Process    Provided Transportation to Seven or More Voters
                    State
                                                                                                                           Transportation                                                         for Curbside Voting"
                                                                                                                            (redline).docx




                                                                                                                        FINAL EVC Notice of
                                                                                                                        Carrier Defect Mailed
              Texas Secretary of                                                                                         +Corrective Action                                         Internal SOS draft form "Notice of Carrier Defect
DOC_0701985                        4/13/2022   Microsoft Word 2016    Alexa Buxkemper                                                            Withhold   Deliberative Process
                    State                                                                                                Form-Revised 3-22-                                                Issued by the Early Voting Clerk"
                                                                                                                           22 (4.13.22 rev)
                                                                                                                               (1).docx




                                                                                                                        FINAL EVC Notice of
                                                                                                                        Carrier Defect Mailed
              Texas Secretary of                                                                                                                                                    Internal SOS draft form "Notice of Carrier Defect
DOC_0701986                        4/15/2022   Microsoft Word 2016    Alexa Buxkemper                                    +Corrective Action      Withhold   Deliberative Process
                    State                                                                                                                                                                  Issued by the Early Voting Clerk"
                                                                                                                         Form-Revised 3-22-
                                                                                                                        22 (4.13.22 rev).docx
                                                                      Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 51 of 82




                                                                                                                         Final EVC Notice of
              Texas Secretary of                                                                                        Carrier Defect Phone                                         Internal SOS draft form "Notice of Carrier Defect
DOC_0701987                        4/17/2022   Microsoft Word 2016    Alexa Buxkemper                                                             Withhold   Deliberative Process
                    State                                                                                               + Corrective Action (6-                                             Issued by the Early Voting Clerk"
                                                                                                                               12).docx




                                                                                                                        FINAL EVC Notice of
                                                                                                                        Carrier DefectPhone
              Texas Secretary of                                                                                                                                                     Internal SOS draft form "Notice of Carrier Defect
DOC_0701988                        4/13/2022   Microsoft Word 2016    Alexa Buxkemper                                    +Corrective Action       Withhold   Deliberative Process
                    State                                                                                                                                                                   Issued by the Early Voting Clerk"
                                                                                                                            Form-Revised
                                                                                                                          (4.13.22 rev).docx




                                                                                                                        FINAL SB1 - Oath of
              Texas Secretary of                                                                                           Assistance and
DOC_0701989                        1/14/2022   Microsoft Word 2016    Alexa Buxkemper                                                             Withhold   Deliberative Process      Internal SOS draft form "Oath of Assistance"
                    State                                                                                               Interpreter - 1.14.22
                                                                                                                           (redline).docx




                                                                                                                         K. Ingram Letter to
                                                                                                                                                                                      Attorney draft of letter to Harris County Clerk
              Texas Secretary of                                                                                          C. Hollins - SOS
DOC_0701990                        8/27/2020   Microsoft Word 97/98     Keith Ingram                                                              Withhold     Attorney Client        Chris Hollins regarding mailings of unsolicited
                    State                                                                                               DRAFT 8.27.20 (1200
                                                                                                                                                                                              applications for ballot by mail
                                                                                                                               pm).doc




                                                                                                                         K. Ingram Letter to
                                                                                                                                                                                      Attorney draft of letter to Harris County Clerk
              Texas Secretary of                                                                                          C. Hollins - SOS
DOC_0701991                        8/27/2020   Microsoft Word 97/98     Keith Ingram                                                              Withhold     Attorney Client        Chris Hollins regarding mailings of unsolicited
                    State                                                                                                  DRAFT 8.27.20
                                                                                                                                                                                              applications for ballot by mail
                                                                                                                               am.doc




                                                                                                                         Legislative Update
              Texas Secretary of               Microsoft PowerPoint    Keith Ingram;                                                                                                   Attorney draft presentation "2021 Legislative
DOC_0701992                        1/4/2022                                                                               for TAEA 1.5.22         Withhold     Attorney Client
                    State                              2016           Christina Adkins                                                                                                                   Updates"
                                                                                                                              rev.pptx




                                                                                                                                                                                      Attorney draft of election advisory "Additional
              Texas Secretary of                                                                                          May Uniform and
DOC_0701993                        4/21/2022   Microsoft Word 2016      Keith Ingram                                                              Withhold     Attorney Client      Ballot by Mail Procedures for May Uniform Election
                    State                                                                                                Primary Runoff.docx
                                                                                                                                                                                                    and Runoff Election"
                                                                      Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 52 of 82




                                                                                                                          November 2 2021
              Texas Secretary of
DOC_0701994                        6/25/2021   Microsoft Word 2016      Adam Bitter                                         (DRAFT) (AB          Withhold     Attorney Client      Attorney draft of 11/2/21 Election Law Calendar
                    State
                                                                                                                         revisions) clean.docx




                                                                                                                          November 2 2021
              Texas Secretary of
DOC_0701995                        6/24/2021   Microsoft Word 2016      Adam Bitter                                         (DRAFT) (AB          Withhold     Attorney Client      Attorney draft of 11/2/21 Election Law Calendar
                    State
                                                                                                                           revisions).docx




                                                                                                                         November 8 2022
              Texas Secretary of                                                                                           Election Law
DOC_0701996                        4/29/2022   Microsoft Word 2016     Heidi Martinez                                                            Withhold     Attorney Client      Attorney draft of 11/8/22 Election Law Calendar
                    State                                                                                                Calendar (DRAFT)
                                                                                                                              (1).docx




                                                                                                                          November 8 2022
              Texas Secretary of                                                                                           Election Law
DOC_0701997                        4/25/2022   Microsoft Word 2016     Heidi Martinez                                                            Withhold     Attorney Client      Attorney draft of 11/8/22 Election Law Calendar
                    State                                                                                                  Calendar (LP
                                                                                                                             edits).docx




                                                                                                                          November 8 2022
              Texas Secretary of                                                                                           Election Law
DOC_0701998                        4/26/2022   Microsoft Word 2016     Heidi Martinez                                                            Withhold     Attorney Client      Attorney draft of 11/8/22 Election Law Calendar
                    State                                                                                                  Calendar (LP
                                                                                                                            edits)_2.docx




                                                                                                                          November 8, 2022
              Texas Secretary of                                                                                            Election Law
DOC_0701999                        4/14/2022   Microsoft Word 2016     Heidi Martinez                                                            Withhold     Attorney Client      Attorney draft of 11/8/22 Election Law Calendar
                    State                                                                                                     Calendar
                                                                                                                           (DRAFT).docx




              Texas Secretary of               Microsoft PowerPoint   Christina Adkins;                                 PowerPoint2021 SOS                                         Internal SOS draft of presentation "SOS Updates
DOC_0702000                        6/7/2021                                                                                                      Withhold   Deliberative Process
                    State                              2016             Kristi Hart                                     Updates (TACA).pptx                                                              2021"
                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 53 of 82




                                                                                                                          Proposed Exam
              Texas Secretary of                                                                                         Questions for Poll                                       Internal SOS draft of proposed exam for poll
DOC_0702002                        4/6/2022    Microsoft Word 2016    Andria Perales                                                          Withhold   Deliberative Process
                    State                                                                                                  Watchers_lp                                                             watchers
                                                                                                                            edits.docx




                                                                                                                          Proposed Exam
              Texas Secretary of                                                                                         Questions for Poll                                       Internal SOS draft of proposed exam for poll
DOC_0702003                        4/26/2022   Microsoft Word 2016    Andria Perales                                                          Withhold   Deliberative Process
                    State                                                                                                  Watchers_lp                                                             watchers
                                                                                                                            edits2.docx




                                                                                                                        SOS Submission to
                                                                                                                          House Elections                                         Internal SOS draft of letter to legislature on
              Texas Secretary of
DOC_0702004                        9/18/2020   Microsoft Word 2016    Briana Godbey                                     Committee - DRAFT     Withhold   Deliberative Process   implementation of election bills HB933, HB1421,
                    State
                                                                                                                           9.17.20 (w-KI                                                      HB2504, HB4130.
                                                                                                                            edits).docx




                                                                                                                        SOS Submission to
                                                                                                                                                                                  Internal SOS draft of letter to legislature on
              Texas Secretary of                                                                                          House Elections
DOC_0702005                        9/17/2020   Microsoft Word 2016    Briana Godbey                                                           Withhold   Deliberative Process   implementation of election bills HB933, HB1421,
                    State                                                                                               Committee - DRAFT
                                                                                                                                                                                              HB2504, HB4130.
                                                                                                                           9.17.20.docx




                                                                                                                        SOS Submission to
                                                                                                                                                                                  Internal SOS draft of letter to legislature on
              Texas Secretary of                                                                                          House Elections
DOC_0702006                        9/18/2020   Microsoft Word 2016    Briana Godbey                                                           Withhold   Deliberative Process   implementation of election bills HB933, HB1421,
                    State                                                                                               Committee - DRAFT
                                                                                                                                                                                              HB2504, HB4130.
                                                                                                                           9.18.20.docx




                                                                                                                        SOS Submission to
                                                                                                                                                                                  Internal SOS draft of letter to legislature on
              Texas Secretary of                                                                                          House Elections
DOC_0702007                        9/19/2020   Microsoft Word 2016    Briana Godbey                                                           Withhold   Deliberative Process   implementation of election bills HB933, HB1421,
                    State                                                                                               Committee - DRAFT
                                                                                                                                                                                              HB2504, HB4130.
                                                                                                                           9.19.20.docx




                                                                                                                        Texas SOS Letter to
                                                                                                                                                                                Internal draft of letter from Adam Bitter to Rep.
              Texas Secretary of                                                                                           Rep. Gonzalez                  Attorney Client;
DOC_0702008                        3/25/2022   Microsoft Word 2016     Adam Bitter                                                            Withhold                           Gonzalez on number of ABBM received in 2022
                    State                                                                                                 3.25.22 DRAFT                  Deliberative Process
                                                                                                                                                                                                     primary.
                                                                                                                              v2.docx
                                                                                           Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 54 of 82




                                                                                                                                                Texas SOS Letter to                                      Internal draft of letter from Adam Bitter to Rep.
              Texas Secretary of                                                                                                                                                  Attorney Client;
DOC_0702009                        3/25/2022   Microsoft Word 2016                           Adam Bitter                                           Rep. Gonzalez      Withhold                            Gonzalez on number of ABBM received in 2022
                    State                                                                                                                                                        Deliberative Process
                                                                                                                                                3.25.22 DRAFT.docx                                                            primary.




                                                                                                                                                  V2_The Texas
              Texas Secretary of                                                                                                                                                  Attorney Client;       Adam Bitter comments on internal draft of SOS
DOC_0702010                        10/2/2021   Microsoft Word 2016                           Adam Bitter                                        Forensic Audit (AB    Withhold
                    State                                                                                                                                                        Deliberative Process     statement on forensic audit of 2020 election
                                                                                                                                                    edits).docx




              Texas Secretary of                                                                                                                VoteTexas Updates -               Attorney Client;       Adam Bitter comments on internal SOS draft of
DOC_0702011                        1/16/2022   Adobe Acrobat (PDF)                           Adam Bitter                                                              Withhold
                    State                                                                                                                        1.16.22 DRAFT.pdf               Deliberative Process     voter registration FAQ updates to VoteTexas




                                                                                                                                                                                                         Spreadsheet "Instances of Suspected Illegal Voting
                                                                                                                                                 Current Working
                                                                                                                                                                                                            Since 3/1/18 - Cases Opened," which contains
DOC_0702878      Texas OAG         5/12/2022   Adobe Acrobat (PDF)                           Wayne Rubio                                           Copy - Case        Withhold      Investigative
                                                                                                                                                                                                        information about current investigations of election
                                                                                                                                                  Openings.pdf
                                                                                                                                                                                                                                fraud.




                                                                                                                                                   EIU - CASE                                            Spreadsheet containing list of fraud investigation
DOC_0702879      Texas OAG         5/12/2022   Adobe Acrobat (PDF)                           Wayne Rubio                                                              Withhold      Investigative
                                                                                                                                                   Tracking.pdf                                              cases referred to OAG and still pending.




                                                                                                                                                                                                      Email with attorney discussion about draft response
                                                                                                                                               0000000038669E14B
                                                                                                                                                                                                        language on Texas election code's explanation of
                                                                                                                                               9CFAD4CA90F5756                    Attorney Client;
STATE066450    Heidi Martinez      6/18/2021     Outlook Email       FW: Absentee Ballot    Heidi Martinez    Melanie Best                                             Redact                          "home base" in voter registration to public inquiry
                                                                                                                                               C37EA3D324152200.                 Deliberative Process
                                                                                                                                                                                                         about mail in ballots from a military family in
                                                                                                                                               msg
                                                                                                                                                                                                            Michigan that previously lived in Texas.




                                                                                                                                                 00000000FD2BBD36                                       Email with internal discussion involving attorneys
                                                                       RE: 2020 Voter                                        Adam Bitter; Kristi F18CC84E98BA3493                 Attorney Client;       regarding how to respond to public inquiry about
STATE069250      Kristi Hart       9/29/2021     Outlook Email                               Kate Fisher      Adam Bitter                                              Redact
                                                                      Registration Data                                            Hart          6FCFC69604132500.               Deliberative Process   2020 election and duplicate voter profiles in county
                                                                                                                                                 msg                                                                    registration lists.
                                                                                  Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 55 of 82




                                                                                                                                           000000007D68A61E5                                   Email containing internal deliberations among staff
                                                                                                                                           A6BFA47998F8B97C                                    about how to reply to an outside party's request for
STATE071776   Kristi Hart   9/9/2021      Outlook Email       RE: recent emails     Beva Kellison       Kristi Hart        Beva Kellison                        Redact    Deliberative Process
                                                                                                                                           506031F24D52000.m                                    advisories and webinars that were only for county
                                                                                                                                           sg                                                                   election officials.




                                                              Re: FOR REVIEW:
                                                                                                                                           00000000E4E8B1F37                                   Pre-decisional internal discussion and draft editing
                                                                November 3rd                         Adam Bitter; Ruth
                                                                                                                                           942764E9AD69F913                                    of video script for Secretary Hughs' thank you video
STATE087404   Joe Esparza   11/8/2020     Outlook Email        General Election    Stephen Chang      Hughs; Teresa                                            Withhold   Deliberative Process
                                                                                                                                           3678E6E64DA2100.                                    regarding the November 2020 General Election and
                                                               Thank You Video                      Farfan; Joe Esparza
                                                                                                                                           msg                                                                    turnout numbers.
                                                                    Script




                                                               FOR REVIEW:
                                                                                                                                           00000000E4E8B1F37
                                                               November 3rd                         Joe Esparza; Adam                                                                          Pre-decisional internal discussion and draft editing
                                                                                                                                           942764E9AD69F913
STATE087405   Joe Esparza   11/8/2020     Outlook Email       General Election     Stephen Chang    Bitter; Ruth Hughs;                                        Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                                           3678E6EA4DA2100.
                                                              Thank You Video                          Teresa Farfan                                                                             regarding the November 2020 General Election.
                                                                                                                                           msg
                                                                  Script




                                                                                                                                             November 3rd
                                                                                                                                            General Election                                     Internal draft of video script for Secretary Hughs'
STATE087406   Joe Esparza   11/8/2020   Microsoft Word 2016                        Stephen Chang                                            Thank You Video    Withhold   Deliberative Process    thank you video regarding the November 2020
                                                                                                                                            Script DRAFT 1                                                 General Election and turnout.
                                                                                                                                                SC.docx




                                                              RE: FOR REVIEW:
                                                                                                                                           00000000E4E8B1F37
                                                                November 3rd                        Ruth Hughs; Teresa                                                                         Pre-decisional internal discussion and draft editing
                                                                                                                                           942764E9AD69F913
STATE087409   Joe Esparza   11/9/2020     Outlook Email        General Election    Stephen Chang    Farfan; Joe Esparza;                                       Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                                           3678E6EA4DB2100.
                                                               Thank You Video                          Adam Bitter                                                                              regarding the November 2020 General Election.
                                                                                                                                           msg
                                                                    Script




                                                              Re: FOR REVIEW:
                                                                                                                                           00000000E4E8B1F37
                                                                November 3rd                          Stephen Chang;                                                                           Pre-decisional internal discussion and draft editing
                                                                                                                                           942764E9AD69F913
STATE087413   Joe Esparza   11/9/2020     Outlook Email        General Election     Ruth Hughs       Teresa Farfan; Joe                                        Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                                           3678E6EE4DB2100.
                                                               Thank You Video                      Esparza; Adam Bitter                                                                         regarding the November 2020 General Election.
                                                                                                                                           msg
                                                                    Script




                                                              RE: FOR REVIEW:
                                                                                                                                           00000000E4E8B1F37
                                                                November 3rd                        Ruth Hughs; Teresa                                                                         Pre-decisional internal discussion and draft editing
                                                                                                                                           942764E9AD69F913
STATE087417   Joe Esparza   11/9/2020     Outlook Email        General Election    Stephen Chang    Farfan; Joe Esparza;                                       Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                                           3678E6EE4DD2100.
                                                               Thank You Video                          Adam Bitter                                                                              regarding the November 2020 General Election.
                                                                                                                                           msg
                                                                    Script
                                                                            Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 56 of 82




                                                        RE: FOR REVIEW:
                                                                                                                              00000000E4E8B1F37
                                                          November 3rd                        Ruth Hughs; Teresa                                                                  Pre-decisional internal discussion and draft editing
                                                                                                                              942764E9AD69F913
STATE087421   Joe Esparza   11/9/2020   Outlook Email    General Election    Stephen Chang    Farfan; Joe Esparza;                                Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                              3678E6E64DE2100.
                                                         Thank You Video                          Adam Bitter                                                                       regarding the November 2020 General Election.
                                                                                                                              msg
                                                              Script




                                                        Re: FOR REVIEW:
                                                                                                                              00000000E4E8B1F37
                                                          November 3rd                          Stephen Chang;                                                                    Pre-decisional internal discussion and draft editing
                                                                                                                              942764E9AD69F913
STATE087424   Joe Esparza   11/9/2020   Outlook Email    General Election     Ruth Hughs       Teresa Farfan; Joe                                 Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                              3678E6E84DE2100.
                                                         Thank You Video                      Esparza; Adam Bitter                                                                  regarding the November 2020 General Election.
                                                                                                                              msg
                                                              Script




                                                        RE: FOR REVIEW:
                                                                                                                              00000000E4E8B1F37
                                                          November 3rd                        Teresa Farfan; Ruth                                                                 Pre-decisional internal discussion and draft editing
                                                                                                                              942764E9AD69F913
STATE087427   Joe Esparza   11/9/2020   Outlook Email    General Election    Stephen Chang    Hughs; Joe Esparza;                                 Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                              3678E6EA4E02100.
                                                         Thank You Video                         Adam Bitter                                                                        regarding the November 2020 General Election.
                                                                                                                              msg
                                                              Script




                                                        RE: FOR REVIEW:
                                                                                                                              00000000E4E8B1F37
                                                          November 3rd                        Teresa Farfan; Ruth                                                                 Pre-decisional internal discussion and draft editing
                                                                                                                              942764E9AD69F913
STATE087430   Joe Esparza   11/9/2020   Outlook Email    General Election    Stephen Chang    Hughs; Joe Esparza;                                 Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                              3678E6E24E12100.m
                                                         Thank You Video                         Adam Bitter                                                                        regarding the November 2020 General Election.
                                                                                                                              sg
                                                              Script




                                                        RE: FOR REVIEW:
                                                                                                                              00000000E4E8B1F37
                                                          November 3rd                        Ruth Hughs; Stephen                                                                 Pre-decisional internal discussion and draft editing
                                                                                                                              942764E9AD69F913
STATE087433   Joe Esparza   11/9/2020   Outlook Email    General Election     Teresa Farfan   Chang; Joe Esparza;                                 Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                              3678E6EC4E12100.
                                                         Thank You Video                          Adam Bitter                                                                       regarding the November 2020 General Election.
                                                                                                                              msg
                                                              Script




                                                        Re: FOR REVIEW:
                                                                                                                              00000000E4E8B1F37
                                                          November 3rd                        Stephen Chang; Joe                                                                  Pre-decisional internal discussion and draft editing
                                                                                                                              942764E9AD69F913
STATE087436   Joe Esparza   11/9/2020   Outlook Email    General Election     Ruth Hughs         Esparza; Adam                                    Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                              3678E6E64E22100.m
                                                         Thank You Video                      Bitter; Teresa Farfan                                                                 regarding the November 2020 General Election.
                                                                                                                              sg
                                                              Script




                                                        RE: FOR REVIEW:
                                                                                                                              00000000E4E8B1F37
                                                          November 3rd                          Ruth Hughs; Joe                                                                   Pre-decisional internal discussion and draft editing
                                                                                                                              942764E9AD69F913
STATE087439   Joe Esparza   11/9/2020   Outlook Email    General Election    Stephen Chang       Esparza; Adam                                    Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                              3678E6E84E22100.m
                                                         Thank You Video                      Bitter; Teresa Farfan                                                                 regarding the November 2020 General Election.
                                                                                                                              sg
                                                              Script
                                                                                       Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 57 of 82




                                                                RE: FOR REVIEW:
                                                                                                                                                 00000000E4E8B1F37
                                                                  November 3rd                             Ruth Hughs; Joe                                                                           Pre-decisional internal discussion and draft editing
                                                                                                                                                 942764E9AD69F913
STATE087441     Joe Esparza        11/9/2020   Outlook Email     General Election       Stephen Chang       Esparza; Adam                                            Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                                                 3678E6EC4E22100.
                                                                 Thank You Video                         Bitter; Teresa Farfan                                                                         regarding the November 2020 General Election.
                                                                                                                                                 msg
                                                                      Script




                                                                Re: FOR REVIEW:
                                                                                                                                                 00000000E4E8B1F37
                                                                  November 3rd                           Stephen Chang; Joe                                                                          Pre-decisional internal discussion and draft editing
                                                                                                                                                 942764E9AD69F913
STATE087443     Joe Esparza        11/9/2020   Outlook Email     General Election        Ruth Hughs         Esparza; Adam                                            Withhold   Deliberative Process of video script for Secretary Hughs' thank you video
                                                                                                                                                 3678E6EC4E32100.
                                                                 Thank You Video                         Bitter; Teresa Farfan                                                                         regarding the November 2020 General Election.
                                                                                                                                                 msg
                                                                      Script




                                                                                                                                                 000000003C1B5F3C                                      Email with internal discussion involving attorney
                                                                   Re: Questions
                                                                                                                                                 E71D2C4E90563F14                Attorney Client;       and Legal Director featuring draft response to
STATE090961     Chuck Pinney       8/26/2020   Outlook Email     regarding mail in      Charles Pinney     Christina Adkins                                           Redact
                                                                                                                                                 26B6A864245F2400.              Deliberative Process   public inquiry regarding dropping off and curing
                                                                       ballots
                                                                                                                                                 msg                                                               defective mail-in ballots.




                                                                                                                                                 00000000714010BDF                                     Email with internal discussion involving attorneys
                                                               Re: Possible Harrison                                                             B693B488BAE89C78                Attorney Client;      regarding how to respond to allegations of election
STATE091103     Chuck Pinney       9/29/2020   Outlook Email                            Charles Pinney        Kristi Hart                                             Redact
                                                               County Voter Fraud                                                                2D24010C4172700.m              Deliberative Process    fraud (deceased voter) sent by Harrison County
                                                                                                                                                 sg                                                                         official.




                                                                                                                                                 00000000318D9F297
                                                                                                                                                                                                        Email with internal discussion regarding how to
                                                               RE: Urgent: Vote by                                                               557E04286373A60C4
STATE091153   Elections Internet   4/16/2020   Outlook Email                              Kristi Hart     Elections Internet     Tiffany Owens                        Redact    Deliberative Process    respond to election security inquiry from Tritek
                                                                 Mail Machine                                                                    ADCA4FA42A2200.m
                                                                                                                                                                                                                       Technologies, Inc.
                                                                                                                                                 sg




                                                                                                                                                 00000000090C3B26B
                                                                                                                                                                                                       Email with internal discussion involving attorneys
                                                               RE: VOTE BY MAIL                           Elections Internet;                    1C96C4BAAA05A1A
STATE091288   Elections Internet   5/6/2020    Outlook Email                             Beva Kellison                            Kristi Hart                         Redact    Deliberative Process     regarding how to respond to request for 100
                                                                APPLICATIONS                               Ernest Fuentes                        A3B127A1C4882B00.
                                                                                                                                                                                                                            ABBMs.
                                                                                                                                                 msg




                                                                                                                                                 00000000090C3B26B
                                                                                                                                                                                                       Email with internal discussion involving attorneys
                                                               RE: VOTE BY MAIL                             Beva Kellison;                       1C96C4BAAA05A1A
STATE091289   Elections Internet   5/6/2020    Outlook Email                            Ernest Fuentes                            Kristi Hart                         Redact    Deliberative Process     regarding how to respond to request for 100
                                                                APPLICATIONS                              Elections Internet                     A3B127A1E4882B00.
                                                                                                                                                                                                                            ABBMs.
                                                                                                                                                 msg
                                                                                       Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 58 of 82




                                                                                                                                                   00000000090C3B26B
                                                               RE: Mail-in statewide                                                                                                                   Email with internal discussion regarding how to
                                                                                                         Elections Internet;                       1C96C4BAAA05A1A
STATE091299   Elections Internet   6/1/2020    Outlook Email     voter reg forms         Beva Kellison                            Kristi Hart                          Redact   Deliberative Process   respond to request Ginni Scott/Frisco, TX for 500
                                                                                                          Ernest Fuentes                           A3B127A124112C00.
                                                                     request                                                                                                                                               ABBMs.
                                                                                                                                                   msg




                                                                                                                                                   00000000090C3B26B
                                                               RE: Mail-in statewide                       Beva Kellison;                                                                              Email with internal discussion regarding how to
                                                                                                                                                   1C96C4BAAA05A1A
STATE091300   Elections Internet   6/1/2020    Outlook Email     voter reg forms          Kristi Hart    Elections Internet;                                           Redact   Deliberative Process   respond to request Ginni Scott/Frisco, TX for 500
                                                                                                                                                   A3B127A1C4112C00.
                                                                     request                              Ernest Fuentes                                                                                                   ABBMs.
                                                                                                                                                   msg




                                                                                                                                                   00000000090C3B26B
                                                                                                                                                                                                        Email with internal discussion regarding how to
                                                                    RE: Voter                            Elections Internet;                       1C96C4BAAA05A1A
STATE091301   Elections Internet   6/1/2020    Outlook Email                             Beva Kellison                            Kristi Hart                          Redact   Deliberative Process    respond to request from LWVCC for 1,000 voter
                                                                registration forms                        Ernest Fuentes                           A3B127A164192C00.
                                                                                                                                                                                                              registration forms and 400 ABBMs.
                                                                                                                                                   msg




                                                                                                                                                   00000000090C3B26B
                                                                                                           Beva Kellison;                                                                               Email with internal discussion regarding how to
                                                                    RE: Voter                                                                      1C96C4BAAA05A1A
STATE091302   Elections Internet   6/1/2020    Outlook Email                              Kristi Hart    Elections Internet;                                           Redact   Deliberative Process    respond to request from LWVCC for 1,000 voter
                                                                registration forms                                                                 A3B127A1E4192C00.
                                                                                                          Ernest Fuentes                                                                                      registration forms and 400 ABBMs.
                                                                                                                                                   msg




                                                                                                                                                   0000000038669E14B                                   Email with internal discussion involving attorneys
                                                               FW: Absentee Ballot                       Christina Adkins;                         9CFAD4CA90F5756               Attorney Client;       regarding how to respond to public inquiry about
STATE091650    Heidi Martinez      6/26/2020   Outlook Email                            Heidi Martinez                                                                 Redact
                                                                    Envelope                             Alexa Buxkemper                           C37EA3D344932300.            Deliberative Process      returning absentee ballot and non-compliant
                                                                                                                                                   msg                                                  instructions provided to voters by Travis County.




                                                                                                                                                   0000000038669E14B
                                                                                                                                                                                                        Attorney discussion regarding draft response to
                                                                Effect of Criminal                                             Christina Adkins;   9CFAD4CA90F5756               Attorney Client;
STATE091694    Heidi Martinez      1/31/2022   Outlook Email                            Heidi Martinez      Adam Bitter                                                Redact                          inquiry about candidate eligibility and criminality
                                                               Indictment (DRAFT)                                               Keith Ingram       C37EA3D3C4BE2600             Deliberative Process
                                                                                                                                                                                                                   in 2022 primary election.
                                                                                                                                                   .msg




                                                                                                                                                   0000000038669E14B
                                                                  FW: Effect of                          Adam Bitter; Keith                                                                             Attorney discussion regarding draft response to
                                                                                                                                                   9CFAD4CA90F5756
STATE091697    Heidi Martinez      2/1/2022    Outlook Email   Criminal Indictment      Heidi Martinez   Ingram; Christina                                             Redact     Attorney Client      inquiry about candidate eligibility and criminality
                                                                                                                                                   C37EA3D344BF2600
                                                                    (DRAFT)                                   Adkins                                                                                               in 2022 primary election.
                                                                                                                                                   .msg
                                                                                   Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 59 of 82




                                                                                                                                                                                         Email with internal discussion involving attorneys
                                                                                                                                     00000000AC5A2DE8
                                                            FW: Grimes CO:                                                                                                                regarding how to respond to inquiry by Grimes
                                                                                                      Christina Adkins;              9DD31C46BC41B229              Attorney Client;
STATE091935   Heidi Martinez   9/24/2020   Outlook Email   ABBM- State IDs do       Heidi Martinez                                                       Redact                            County Elections Administrator Lucy Ybarra
                                                                                                        Melanie Best                 119AEC9FC4CF2700             Deliberative Process
                                                              not match                                                                                                                    regarding receipt of ABBMs with mismatched
                                                                                                                                     .msg
                                                                                                                                                                                                       names and addresses.




                                                                  RE: DPS
                                                           Commissioned Study
                                                                                                     Linda Payne; Adam               00000000312E15915
                                                            of Drivers License                                                                                                           Email with internal discussion involving attorneys
                                                                                                     Bitter; Keith Ingram;           5770546915BC0C18F             Attorney Client;
STATE092783    Kristi Hart     6/11/2020   Outlook Email    Division Under SB         Kristi Hart                                                        Redact                          regarding how to respond to inquiry from academic
                                                                                                      Joe Esparza; Corey             CF9A4A446F2100.m             Deliberative Process
                                                           616 - request to meet                                                                                                               researcher from UT regarding SB 616.
                                                                                                              Rose                   sg
                                                             with Secretary of
                                                                   State




                                                                  RE: DPS
                                                           Commissioned Study
                                                                                                     Linda Payne; Adam               00000000312E15915
                                                            of Drivers License                                                                                                           Email with internal discussion involving attorneys
                                                                                                     Bitter; Keith Ingram;           5770546915BC0C18F             Attorney Client;
STATE092791    Kristi Hart     6/16/2020   Outlook Email    Division Under SB        Linda Payne                                                         Redact                          regarding how to respond to inquiry from academic
                                                                                                      Joe Esparza; Corey             CF9A4A24822100.ms            Deliberative Process
                                                           616 - request to meet                                                                                                               researcher from UT regarding SB 616.
                                                                                                              Rose                   g
                                                             with Secretary of
                                                                   State




                                                                  RE: DPS
                                                           Commissioned Study
                                                                                                     Linda Payne; Adam               00000000312E15915
                                                            of Drivers License                                                                                                           Email with internal discussion involving attorneys
                                                                                                     Bitter; Keith Ingram;           5770546915BC0C18F             Attorney Client;
STATE092799    Kristi Hart     6/17/2020   Outlook Email    Division Under SB        Linda Payne                                                         Redact                          regarding how to respond to inquiry from academic
                                                                                                      Joe Esparza; Corey             CF9A4AA4892100.m             Deliberative Process
                                                           616 - request to meet                                                                                                               researcher from UT regarding SB 616.
                                                                                                              Rose                   sg
                                                             with Secretary of
                                                                   State




                                                                  RE: DPS
                                                           Commissioned Study
                                                                                                     Linda Payne; Adam               00000000312E15915
                                                            of Drivers License                                                                                                           Email with internal discussion involving attorneys
                                                                                                     Bitter; Keith Ingram;           5770546915BC0C18F             Attorney Client;
STATE092808    Kristi Hart     6/17/2020   Outlook Email    Division Under SB         Kristi Hart                                                        Redact                          regarding how to respond to inquiry from academic
                                                                                                      Joe Esparza; Corey             CF9A4A848B2100.m             Deliberative Process
                                                           616 - request to meet                                                                                                               researcher from UT regarding SB 616.
                                                                                                              Rose                   sg
                                                             with Secretary of
                                                                   State




                                                                  RE: DPS
                                                           Commissioned Study
                                                                                                     Linda Payne; Adam               00000000312E15915
                                                            of Drivers License                                                                                                           Email with internal discussion involving attorneys
                                                                                                     Bitter; Keith Ingram;           5770546915BC0C18F             Attorney Client;
STATE092816    Kristi Hart     6/11/2020   Outlook Email    Division Under SB        Linda Payne                                                         Redact                          regarding how to respond to inquiry from academic
                                                                                                      Joe Esparza; Corey             CF9A4AA4932100.m             Deliberative Process
                                                           616 - request to meet                                                                                                               researcher from UT regarding SB 616.
                                                                                                              Rose                   sg
                                                             with Secretary of
                                                                   State




                                                                                                                                     00000000312E15915
                                                                                                                                                                                          Email with internal discussion regarding how to
                                                            RE: 2020 General                          Kate Fisher; Adam              5770546915BC0C18F
STATE092862    Kristi Hart     6/3/2021    Outlook Email                              Kristi Hart                                                        Redact   Deliberative Process   respond to public inquiry about votes cast but not
                                                            Election Security                               Bitter                   CF9A4A64722700.ms
                                                                                                                                                                                             counted in the November 2020 Election.
                                                                                                                                     g
                                                                              Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 60 of 82




                                                                                                                                       00000000312E15915
                                                                                                                                                                                               Email with internal discussion regarding how to
                                                        FW: 2020 General                                                               5770546915BC0C18F
STATE092876   Kristi Hart   6/3/2021    Outlook Email                           Kate Fisher       Kristi Hart          Lillian Eder                           Redact   Deliberative Process   respond to public inquiry about votes cast but not
                                                        Election Security                                                              CF9A4AA4FA2000.m
                                                                                                                                                                                                  counted in the November 2020 Election.
                                                                                                                                       sg




                                                                                                                                          000000002DE56D613
                                                        FW: Verification of                                                                                                                   Email with internal discussion regarding how to
                                                                                                                   Beva Kellison; Lillian 8958847B03B0486A9
STATE093082   Kristi Hart   9/9/2020    Outlook Email     Ballot Return         Kate Fisher       Kristi Hart                                                 Redact   Deliberative Process    respond to USPS request for list of pre-printed
                                                                                                                          Eder            7D5B7FC4FB2100.m
                                                        Addresses - TEXAS                                                                                                                       return addresses for 2020 General Election.
                                                                                                                                          sg




                                                                                                                                          000000002DE56D613
                                                        RE: Verification of                                                                                                                   Email with internal discussion regarding how to
                                                                                                                   Beva Kellison; Lillian 8958847B03B0486A9
STATE093084   Kristi Hart   9/9/2020    Outlook Email     Ballot Return          Kristi Hart      Kate Fisher                                                 Redact   Deliberative Process    respond to USPS request for list of pre-printed
                                                                                                                          Eder            7D5B7FC4FC2100.m
                                                        Addresses - TEXAS                                                                                                                       return addresses for 2020 General Election.
                                                                                                                                          sg




                                                        RE: Open Records                                                               00000000C1FD2388F                                      Email chain involving General Counsel and Legal
                                                        Request: County                                                                E93714ABEE22AED                  Attorney Client;     Director regarding how to respond to public request
STATE093105   Kristi Hart   8/11/2021   Outlook Email                            Kristi Hart      Adam Bitter                                                 Redact
                                                         Election Official                                                             A3078572A4992A00.               Deliberative Process from UCLA professor for county court orders of local
                                                          Designations                                                                 msg                                                             election administration changes.




                                                           FW: Voter                                                                        FW_ Voter                                         Email chain involving General Counsel and Legal
                                                          Registration                                               Krystine Ramon;       Registration                 Attorney Client;     Director regarding how to respond to public request
STATE093108   Kristi Hart   5/21/2021   Outlook Email                           Kate Fisher     Christina Adkins                                              Redact
                                                          Questions (EI                                                Kristi Hart        Questions (EI                Deliberative Process from UCLA professor for county court orders of local
                                                           Response)                                                                      Response).msg                                                election administration changes.




                                                           FW: Voter                                                                       FW_ Voter                                          Email chain involving General Counsel and Legal
                                                          Registration                                                                    Registration                  Attorney Client;     Director regarding how to respond to public request
STATE093118   Kristi Hart   7/29/2021   Outlook Email                           Kate Fisher     Christina Adkins       Kristi Hart                            Redact
                                                          Questions (EI                                                                   Questions (EI                Deliberative Process from UCLA professor for county court orders of local
                                                           Response)                                                                     Response)1.msg                                                election administration changes.




                                                                                                                                        000000000BF68DBC                                     Email with internal discussion involving General
                                                         RE: 2020 Voter                                             Adam Bitter; Kristi 05823E4C875E52A2                Attorney Client;    Counsel regarding how to respond to allegations of
STATE093161   Kristi Hart   7/22/2021   Outlook Email                           Adam Bitter       Kate Fisher                                                 Redact
                                                        Registration Data                                                 Hart          69BAD5E2247B2200.              Deliberative Process election fraud, based on Know County voter history
                                                                                                                                        msg                                                            data, sent by concerned citizen.
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 61 of 82




                                                                                                                                                00000000E1FE2A06                                    Email featuring attorney discussion regarding how
                                                                                                                                                B874854FBA23A434              Attorney Client;       to respond to inquiry on absentee ballots from
STATE095826    Melanie Best       8/6/2020    Outlook Email   FW: Absentee Ballot      Melanie Best       Legal Team                                                Redact
                                                                                                                                                7C193096445F2400.            Deliberative Process   military family living in Michigan that previously
                                                                                                                                                msg                                                                  resided in Texas.




                                                                                                                                                00000000E047F74BF
                                                              FW: Corrected Ballot                       Heidi Martinez;                                                                             Email with attorney discussion regarding how to
                                                                                                                                                E9A1B41AD6A913F
STATE095899    Melanie Best      8/31/2020    Outlook Email     Questions (EI          Melanie Best     Christina Adkins;                                           Redact     Attorney Client      respond to Killeen, TX's inquiry mail ballots sent to
                                                                                                                                                C0CE4E1BA4052200
                                                                  Response)                               Melanie Best                                                                                   FPCA voters and corrected ballot notice.
                                                                                                                                                .msg




                                                                                                        Krystine Ramon;                         00000000E047F74BF                                   Email featuring attorney discussion regarding how
                                                                                                         Genevieve Gill;                        E9A1B41AD6A913F                                      to respond to inquiry on absentee ballots from
STATE095931    Melanie Best       8/4/2020    Outlook Email   FW: Absentee Ballot      Melanie Best                                                                 Redact     Attorney Client
                                                                                                       Melanie Best; Heidi                      C0CE4E1BC4362300                                    military family living in Michigan that previously
                                                                                                           Martinez                             .msg                                                                 resided in Texas.




                                                                                                                                                00000000E047F74BF                                   Email featuring attorney discussion regarding how
                                                                                                                                                E9A1B41AD6A913F               Attorney Client;       to respond to inquiry on absentee ballots from
STATE095946    Melanie Best       8/6/2020    Outlook Email   FW: Absentee Ballot      Melanie Best    Elections-Attorneys                                          Redact
                                                                                                                                                C0CE4E1B444C2300             Deliberative Process   military family living in Michigan that previously
                                                                                                                                                .msg                                                                 resided in Texas.




                                                                                                                                                                                                    Email with internal discussion involving attorneys
                                                                                                                                                000000006C250082D
                                                                                                         Heidi Martinez;                                                                             regarding how to respond to inquiry by outside
                                                                                                                                                43E2C42BDB1B1920              Attorney Client;
STATE096285   Christina Adkins   11/10/2020   Outlook Email   RE: City Candidate       Melanie Best     Christina Adkins;                                           Redact                            attorney about the possible runoff election in
                                                                                                                                                F7DA3C784292200.             Deliberative Process
                                                                                                          Melanie Best                                                                              Waxahachie when one candidate moved but refuse
                                                                                                                                                msg
                                                                                                                                                                                                                      to withdraw.




                                                                                                                                                                                                    Email with internal discussion involving attorneys
                                                                                                                                                000000006C250082D
                                                                                                                                                                                                     regarding how to respond to inquiry by outside
                                                                                                        Christina Adkins;                       43E2C42BDB1B1920              Attorney Client;
STATE096290   Christina Adkins   11/10/2020   Outlook Email   FW: City Candidate      Heidi Martinez                                                                Redact                            attorney about the possible runoff election in
                                                                                                          Melanie Best                          F7DA3C7C4292200.             Deliberative Process
                                                                                                                                                                                                    Waxahachie when one candidate moved but refuse
                                                                                                                                                msg
                                                                                                                                                                                                                      to withdraw.




                                                                                                                                                000000006C250082D                                    Email with attorney discussion regarding how to
                                                              RE: EV Ballot Board
                                                                                                                                                43E2C42BDB1B1920              Attorney Client;        respond to Guadalupe County's inquiry about
STATE096448   Christina Adkins   6/25/2020    Outlook Email   question for Primary     Melanie Best        Lena Proft        Christina Adkins                       Redact
                                                                                                                                                F7DA3C7842A2700.             Deliberative Process   emergency appointments to the early voting ballot
                                                                     Runoff
                                                                                                                                                msg                                                                      board.
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 62 of 82




                                                                                                                                                 000000006C250082D                                     Email with attorney discussion regarding how to
                                                              RE: EV Ballot Board
                                                                                                                               Melanie Best;     43E2C42BDB1B1920              Attorney Client;         respond to Guadalupe County's inquiry about
STATE096452   Christina Adkins   6/25/2020    Outlook Email   question for Primary     Melanie Best         Lena Proft                                               Redact
                                                                                                                              Christina Adkins   F7DA3C7A42A2700.             Deliberative Process    emergency appointments to the early voting ballot
                                                                     Runoff
                                                                                                                                                 msg                                                                       board.




                                                                                                                                                                                                       Email with internal discussion between attorney
                                                                                                                                                 000000006C250082D                                     and Legal Director regarding how to respond to
                                                               FW: Poll Watchers                                                                 43E2C42BDB1B1920              Attorney Client;          inquiry from a Dallas County official on poll
STATE096501   Christina Adkins   10/30/2020   Outlook Email                           Krystine Ramon    Christina Adkins                                             Redact
                                                               and Voter Privacy                                                                 F7DA3C7A4122000.             Deliberative Process    watcher who wanted to collect names and VUID of
                                                                                                                                                 msg                                                    voters whose ballots were rejected by the Early
                                                                                                                                                                                                                        Ballot Board.




                                                                FW: RE: MASS
                                                                EMAIL (County
                                                               Judges-47) Special
                                                                Runoff Election                                                                  000000003517B3674
                                                                                                                                                                                                         Attorney's draft of a response to a question
                                                                Ordered for U.S.                                                                 6378B4BA0E2FAED
STATE096527   Christina Adkins   5/18/2021    Outlook Email                           Heidi Martinez    Elections Internet    Christina Adkins                       Redact     Attorney Client      presented by a Ellis County official about the early
                                                                   House of                                                                      F67FDFD844A82000.
                                                                                                                                                                                                            voting schedule in a special election
                                                              Representatives, 6th                                                               msg
                                                                 Congressional
                                                                  District (EI
                                                                   Response)




                                                              FW: Johnson County
                                                              Texas Move of Early                                                                0000000078ECA431F                                     Email with attorney discussion regarding how to
                                                                Voting Location                                                                  0AE5F43954A09E42                                     respond to Johnson County official's inquiry about
STATE097093   Christina Adkins   10/19/2020   Outlook Email                           Heidi Martinez    Elections Internet    Christina Adkins                       Redact     Attorney Client
                                                               Across Parking Lot                                                                C2B0B1724C22000.                                    early voting lines and locations for the 2020 General
                                                                  Question (EI                                                                   msg                                                                       Election.
                                                                   Response




                                                                 FW: BORDEN                                                                      0000000078ECA431F                                    Email with attorney discussion regarding how to
                                                               COUNTY CLERK                             Elections Internet;                      0AE5F43954A09E42                                     respond to Borden County official's inquiry about
STATE097101   Christina Adkins   10/23/2020   Outlook Email                           Krystine Ramon                                                                 Redact     Attorney Client
                                                              OFFICE QUESTION -                          Christina Adkins                        C2B0B17A4E32000.                                       voter assistance in hospital for 2020 General
                                                                Voter in hospital                                                                msg                                                            Election due to car accident.




                                                                                                                                                                                                       Attorney communication regarding response to
                                                                                                                                                 0000000078ECA431F
                                                                  FW: Website                                                                                                                            complaint about the VoteTexas website not
                                                                                                                                                 0AE5F43954A09E42
STATE097103   Christina Adkins   10/27/2020   Outlook Email        Complaint            LegalTeam       Christina Adkins                                             Redact     Attorney Client       adequately describing early voting and complaint
                                                                                                                                                 C2B0B1784F92000.
                                                                 VoteTexas.gov                                                                                                                         that VoteTexas website block computers using
                                                                                                                                                 msg
                                                                                                                                                                                                             Virtual Private Networks (VPNs).




                                                                                                                                                 0000000078ECA431F                                     Email with attorney discussion of response to
                                                              RE: UOCAVA Voting                                                                  0AE5F43954A09E42              Attorney Client;          question from outside counsel for National
STATE097106   Christina Adkins   8/19/2020    Outlook Email                          Christina Adkins    Charles Pinney                                              Redact
                                                                    System                                                                       C2B0B1704582100.m            Deliberative Process    Federation of the Blind Texas about vote-by-mail
                                                                                                                                                 sg                                                         options for visually impaired voters.
                                                                                  Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 63 of 82




                                                                                                                                         0000000078ECA431F                                    Email with attorney discussion regarding how to
                                                                                                     Christina Adkins;
                                                              FW: emergency                                                              0AE5F43954A09E42                                     respond to Erath County official's inquiry about
STATE097130   Christina Adkins   8/26/2020   Outlook Email                          Melanie Best     Elections Internet;                                     Redact     Attorney Client
                                                              special election                                                           C2B0B17A4802100.                                      delivery of completed mail-in ballots for 2020
                                                                                                       Melanie Best
                                                                                                                                         msg                                                                 General Election.




                                                                                                                                         0000000078ECA431F                                    Email with attorney discussion regarding how to
                                                               Re: Questions
                                                                                                                                         0AE5F43954A09E42                                   respond to Harris County Republican Party officer's
STATE097132   Christina Adkins   8/26/2020   Outlook Email   regarding mail in     Charles Pinney    Christina Adkins                                        Redact     Attorney Client
                                                                                                                                         C2B0B1704832100.m                                   inquiry about curing mail-in ballots and dropping
                                                                   ballots
                                                                                                                                         sg                                                      off mail-in ballots with the county clerk.




                                                                                                                                         0000000078ECA431F                                    Email with attorney discussion regarding how to
                                                               Re: Questions
                                                                                                                                         0AE5F43954A09E42                                   respond to Harris County Republican Party officer's
STATE097135   Christina Adkins   8/26/2020   Outlook Email   regarding mail in     Charles Pinney    Christina Adkins                                        Redact     Attorney Client
                                                                                                                                         C2B0B1724832100.m                                   inquiry about curing mail-in ballots and dropping
                                                                   ballots
                                                                                                                                         sg                                                      off mail-in ballots with the county clerk.




                                                                                                                                         0000000078ECA431F                                    Email with attorney discussion regarding how to
                                                               RE: Questions
                                                                                                                                         0AE5F43954A09E42                                   respond to Harris County Republican Party officer's
STATE097137   Christina Adkins   8/26/2020   Outlook Email   regarding mail in    Christina Adkins    Charles Pinney                                         Redact     Attorney Client
                                                                                                                                          C2B0B17A4842100.                                   inquiry about curing mail-in ballots and dropping
                                                                  ballots
                                                                                                                                                msg                                              off mail-in ballots with the county clerk.




                                                                                                                                                                                           Email with internal discussion involving attorneys
                                                                                                                                         0000000078ECA431F
                                                                                                                                                                                             regarding how to respond to public inquiry from
                                                                                                                                         0AE5F43954A09E42              Attorney Client;
STATE097153   Christina Adkins   9/23/2020   Outlook Email   RE: Early voting     Christina Adkins   Elections Internet                                      Redact                        Lewisville, TX resident about early voting and vote-
                                                                                                                                         C2B0B17C4112200.             Deliberative Process
                                                                                                                                                                                            by-mail and whether they should be expanded for
                                                                                                                                         msg
                                                                                                                                                                                              the 2020 General Election because of COVID.




                                                                                                                                                                                            Email with internal discussion involving attorneys
                                                                                                                                         0000000035FA4DA9
                                                                                                                                                                                                regarding how to respond to Bastrop County
                                                             RE: Mail in voting                      Charles Pinney;                     4717BF4A823A281E              Attorney Client;
STATE097341   Christina Adkins   8/11/2020   Outlook Email                          Keith Ingram                           Adam Bitter                       Redact                        official's inquiry about election information found on
                                                                 question                            Christina Adkins                    9716D9CB44C32100.            Deliberative Process
                                                                                                                                                                                            social media claiming that mail-in voters needed to
                                                                                                                                         msg
                                                                                                                                                                                                         mail their ballot by 10/20/20.




                                                                                                                                                                                            Email with internal discussion involving attorneys
                                                                                                                                         000000003C1B5F3C
                                                                                                                                                                                                regarding how to respond to Bastrop County
                                                             Re: Mail in voting                       Keith Ingram;                      E71D2C4E90563F14              Attorney Client;
STATE099560    Chuck Pinney      8/12/2020   Outlook Email                         Charles Pinney                          Adam Bitter                       Redact                        official's inquiry about election information found on
                                                                 question                            Christina Adkins                    26B6A86444142500.            Deliberative Process
                                                                                                                                                                                            social media claiming that mail-in voters needed to
                                                                                                                                         msg
                                                                                                                                                                                                         mail their ballot by 10/20/20.
                                                                                    Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 64 of 82




                                                                                                        Heidi Martinez;                                                                           Email with attorney conversation regarding how to
                                                                                                                                               000000003C1B5F3C
                                                                                                      Melanie Best; Keith                                                                        respond to vote by ballot courier inquiry from Dallas
                                                              Re: Courier issue                                                                E71D2C4E90563F14              Attorney Client;
STATE099563   Chuck Pinney     10/14/2020   Outlook Email                            Charles Pinney   Ingram; Lena Proft;                                          Redact                            VOTES by which VOTES would pay a courier
                                                                  follow up                                                                    26B6A864E4222500.            Deliberative Process
                                                                                                       Christina Adkins;                                                                          service to operate ballot drop-off locations in Dallas
                                                                                                                                               msg
                                                                                                          Elec Legal                                                                                                     County.




                                                                                                                                               0000000038669E14B                                     Attorney client communication regarding draft
                                                              attire considered
                                                                                                        Keith Ingram;                          9CFAD4CA90F5756               Attorney Client;        response to Wharton County on early election
STATE101420   Heidi Martinez   10/1/2020    Outlook Email      electioneering?       Heidi Martinez                                                                Redact
                                                                                                       Christina Adkins                        C37EA3D3E47E2200             Deliberative Process   inquiry about whether attire with certain political
                                                                  (DRAFT)
                                                                                                                                               .msg                                                        slogans constituted electioneering.




                                                                                                                                                                                                     Attorney discussion regarding draft response to
                                                                                                                                               00000000AC5A2DE8
                                                             Question regarding                                                                                                                    Cameron County inquiry on voter eligibility and by
                                                                                                       Christina Adkins;                       9DD31C46BC41B229              Attorney Client;
STATE101422   Heidi Martinez   10/1/2021    Outlook Email   Election Advisory No.    Heidi Martinez                                                                Redact                           what process it could obtain additional registrant
                                                                                                        Keith Ingram                           119AEC9F84D62300.            Deliberative Process
                                                              2021-11 (DRAFT)                                                                                                                      information from the Department of Public Safety
                                                                                                                                               msg
                                                                                                                                                                                                                         or SOS.




                                                                                                                                                                                                     Attorney discussion regarding draft response to
                                                               RE: Question                                                                    00000000AC5A2DE8
                                                                                                                                                                                                   Cameron County inquiry on voter eligibility and by
                                                             regarding Election                                                                9DD31C46BC41B229              Attorney Client;
STATE101424   Heidi Martinez   10/5/2021    Outlook Email                            Heidi Martinez      Keith Ingram       Christina Adkins                       Redact                           what process it could obtain additional registrant
                                                            Advisory No. 2021-11                                                               119AEC9F64242400.            Deliberative Process
                                                                                                                                                                                                   information from the Department of Public Safety
                                                                  (DRAFT)                                                                      msg
                                                                                                                                                                                                                         or SOS.




                                                                                                                                                                                                     Attorney discussion regarding draft response to
                                                               FW: Question                                                                    00000000AC5A2DE8
                                                                                                                                                                                                   Cameron County inquiry on voter eligibility and by
                                                             regarding Election                                                                9DD31C46BC41B229              Attorney Client;
STATE101427   Heidi Martinez   10/5/2021    Outlook Email                            Heidi Martinez      Keith Ingram                                              Redact                           what process it could obtain additional registrant
                                                            Advisory No. 2021-11                                                               119AEC9FC46A2000.            Deliberative Process
                                                                                                                                                                                                   information from the Department of Public Safety
                                                                  (DRAFT)                                                                      msg
                                                                                                                                                                                                                         or SOS.




                                                                                                                                                                                                   Attorney client communication regarding how to
                                                                                                                                               000000001570DC57D                                    respond to two inquiries from Sen. Taylor about
                                                            RE: Office of Senator
                                                                                                      Keith Ingram; Joe                        07C32428138E5AF3              Attorney Client;      incidents involving constituents, the first a voter
STATE101441    Joe Esparza     10/29/2020   Outlook Email    Taylor Constituent       Adam Bitter                                                                  Redact
                                                                                                           Esparza                             A027D58C43B2300.             Deliberative Process whose VUID was assigned to a voter in a different
                                                                 Assistance
                                                                                                                                               msg                                               county and, second, a drive-through voting question
                                                                                                                                                                                                 about whether votes cast at NRG would thrown out.




                                                                                                                                                                                                   Attorney client communication regarding how to
                                                                                                                                               000000001570DC57D                                    respond to two inquiries from Sen. Taylor about
                                                            RE: Office of Senator
                                                                                                       Adam Bitter; Joe                        07C32428138E5AF3              Attorney Client;      incidents involving constituents, the first a voter
STATE101445    Joe Esparza     10/29/2020   Outlook Email    Taylor Constituent       Keith Ingram                                                                 Redact
                                                                                                          Esparza                              A027D58E43B2300.             Deliberative Process whose VUID was assigned to a voter in a different
                                                                 Assistance
                                                                                                                                               msg                                               county and, second, a drive-through voting question
                                                                                                                                                                                                 about whether votes cast at NRG would thrown out.
                                                                                 Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 65 of 82




                                                                                                                                                                                         Attorney client communication regarding how to
                                                                                                                                   000000001570DC57D                                      respond to two inquiries from Sen. Taylor about
                                                         FW: Office of Senator
                                                                                                   Adam Bitter; Keith              07C32428138E5AF3                                      incidents involving constituents, the first a voter
STATE101449   Joe Esparza   10/29/2020   Outlook Email    Taylor Constituent       Joe Esparza                                                         Redact     Attorney Client
                                                                                                       Ingram                      A027D58843D2300.                                     whose VUID was assigned to a voter in a different
                                                              Assistance
                                                                                                                                   msg                                                 county and, second, a drive-through voting question
                                                                                                                                                                                       about whether votes cast at NRG would thrown out.




                                                                                                                                   000000001570DC57D                                   Email with internal discussion involving attorneys
                                                         RE: Question from
                                                                                                   Stephen Chang; Joe              07C32428138E5AF3              Attorney Client;      regarding how to respond to Texas Tribune inquiry
STATE101452   Joe Esparza   11/3/2020    Outlook Email    the Texas Tribune        Keith Ingram                                                        Redact
                                                                                                  Esparza; Adam Bitter             A027D5844512300.m            Deliberative Process     about claim that curbside voting was not being
                                                         about polling places
                                                                                                                                   sg                                                       offered at every polling place in Lubbock.




                                                                                                                                   000000001570DC57D                                   Email with internal discussion involving attorneys
                                                          Re: Question from
                                                                                                   Keith Ingram; Joe               07C32428138E5AF3              Attorney Client;      regarding how to respond to Texas Tribune inquiry
STATE101454   Joe Esparza   11/3/2020    Outlook Email    the Texas Tribune       Stephen Chang                                                        Redact
                                                                                                  Esparza; Adam Bitter             A027D5844512300.m            Deliberative Process     about claim that curbside voting was not being
                                                         about polling places
                                                                                                                                   sg                                                       offered at every polling place in Lubbock.




                                                                                                                                   000000001570DC57D                                   Email with internal discussion involving attorneys
                                                         FW: Question from
                                                                                                  Joe Esparza; Adam                07C32428138E5AF3              Attorney Client;      regarding how to respond to Texas Tribune inquiry
STATE101456   Joe Esparza   11/3/2020    Outlook Email    the Texas Tribune       Stephen Chang                                                        Redact
                                                                                                  Bitter; Keith Ingram             A027D58A4512300.m            Deliberative Process     about claim that curbside voting was not being
                                                         about polling places
                                                                                                                                   sg                                                       offered at every polling place in Lubbock.




                                                                                                                                   000000001570DC57D                                   Email with internal discussion involving attorneys
                                                         FW: Question from
                                                                                                  Joe Esparza; Adam                07C32428138E5AF3              Attorney Client;      regarding how to respond to Texas Tribune inquiry
STATE101458   Joe Esparza   11/3/2020    Outlook Email    the Texas Tribune       Stephen Chang                                                        Redact
                                                                                                  Bitter; Keith Ingram             A027D58A4512300.m            Deliberative Process     about claim that curbside voting was not being
                                                         about polling places
                                                                                                                                   sg                                                       offered at every polling place in Lubbock.




                                                                                                                                   000000001570DC57D                                   Email with internal discussion involving attorneys
                                                         RE: Question from
                                                                                                   Stephen Chang; Joe              07C32428138E5AF3              Attorney Client;      regarding how to respond to Texas Tribune inquiry
STATE101460   Joe Esparza   11/3/2020    Outlook Email    the Texas Tribune        Keith Ingram                                                        Redact
                                                                                                  Esparza; Adam Bitter             A027D58E4512300.m            Deliberative Process     about claim that curbside voting was not being
                                                         about polling places
                                                                                                                                   sg                                                       offered at every polling place in Lubbock.




                                                                                                                                   000000001570DC57D
                                                                                                                                                                                       Email with internal discussion involving attorneys
                                                                                                   Stephen Chang; Joe              07C32428138E5AF3              Attorney Client;
STATE101464   Joe Esparza    7/7/2020    Outlook Email   RE: Curbside voting       Keith Ingram                                                        Redact                            re Reform Auston inquiry on curbside voting
                                                                                                  Esparza; Adam Bitter             A027D58C4FE2300.             Deliberative Process
                                                                                                                                                                                         eligibility, process, and notice requirements.
                                                                                                                                   msg
                                                                             Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 66 of 82




                                                                                                                               000000001570DC57D
                                                                                                                                                                                   Email with internal discussion involving attorneys
                                                                                               Keith Ingram; Joe               07C32428138E5AF3              Attorney Client;
STATE101466   Joe Esparza   7/7/2020   Outlook Email   RE: Curbside voting    Stephen Chang                                                        Redact                            re Reform Auston inquiry on curbside voting
                                                                                              Esparza; Adam Bitter             A027D58E4FE2300.             Deliberative Process
                                                                                                                                                                                     eligibility, process, and notice requirements.
                                                                                                                               msg




                                                                                                                               000000001570DC57D
                                                                                                 Keith Ingram;                                                                     Email with internal discussion involving attorneys
                                                                                                                               07C32428138E5AF3              Attorney Client;
STATE101469   Joe Esparza   7/7/2020   Outlook Email   RE: Curbside voting     Adam Bitter    Stephen Chang; Joe                                   Redact                            re Reform Auston inquiry on curbside voting
                                                                                                                               A027D5804FF2300.             Deliberative Process
                                                                                                   Esparza                                                                           eligibility, process, and notice requirements.
                                                                                                                               msg




                                                                                                                               000000001570DC57D
                                                                                                                                                                                   Email with internal discussion involving attorneys
                                                                                               Keith Ingram; Joe               07C32428138E5AF3              Attorney Client;
STATE101471   Joe Esparza   7/7/2020   Outlook Email   RE: Curbside voting    Stephen Chang                                                        Redact                            re Reform Auston inquiry on curbside voting
                                                                                              Esparza; Adam Bitter             A027D5844FF2300.             Deliberative Process
                                                                                                                                                                                     eligibility, process, and notice requirements.
                                                                                                                               msg




                                                                                                                               000000001570DC57D
                                                                                                                                                                                   Email with internal discussion involving attorneys
                                                                                               Keith Ingram; Joe               07C32428138E5AF3              Attorney Client;
STATE101474   Joe Esparza   7/7/2020   Outlook Email   RE: Curbside voting    Stephen Chang                                                        Redact                            re Reform Auston inquiry on curbside voting
                                                                                              Esparza; Adam Bitter             A027D5864FF2300.             Deliberative Process
                                                                                                                                                                                     eligibility, process, and notice requirements.
                                                                                                                               msg




                                                                                                                               000000001570DC57D
                                                                                                                                                                                   Email with internal discussion involving attorneys
                                                                                               Stephen Chang; Joe              07C32428138E5AF3              Attorney Client;
STATE101477   Joe Esparza   7/7/2020   Outlook Email   Re: Curbside voting     Keith Ingram                                                        Redact                            re Reform Auston inquiry on curbside voting
                                                                                              Esparza; Adam Bitter             A027D5884FF2300.             Deliberative Process
                                                                                                                                                                                     eligibility, process, and notice requirements.
                                                                                                                               msg




                                                                                                                               000000001570DC57D
                                                                                                                                                                                   Email with internal discussion involving attorneys
                                                                                               Keith Ingram; Joe               07C32428138E5AF3              Attorney Client;
STATE101480   Joe Esparza   7/7/2020   Outlook Email   RE: Curbside voting    Stephen Chang                                                        Redact                            re Reform Auston inquiry on curbside voting
                                                                                              Esparza; Adam Bitter             A027D58C4FF2300.             Deliberative Process
                                                                                                                                                                                     eligibility, process, and notice requirements.
                                                                                                                               msg




                                                                                                                               000000001570DC57D
                                                                                                                                                                                   Email with internal discussion involving attorney re
                                                       RE: press request -                     Joe Esparza; Keith              07C32428138E5AF3              Attorney Client;
STATE101483   Joe Esparza   7/9/2020   Outlook Email                          Stephen Chang                                                        Redact                            Texas Monthly inquiry on curbside voting and
                                                         texas monthly                        Ingram; Adam Bitter              A027D5844032400.m            Deliberative Process
                                                                                                                                                                                     request to speak to SOS staff on background.
                                                                                                                               sg
                                                                                 Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 67 of 82




                                                                                                                                       000000001570DC57D
                                                                                                                                                                                           Email with internal discussion involving attorney re
                                                          RE: press request -                      Joe Esparza; Keith                  07C32428138E5AF3              Attorney Client;
STATE101485   Joe Esparza     7/9/2020    Outlook Email                           Stephen Chang                                                            Redact                            Texas Monthly inquiry on curbside voting and
                                                            texas monthly                         Ingram; Adam Bitter                  A027D5864032400.m            Deliberative Process
                                                                                                                                                                                             request to speak to SOS staff on background.
                                                                                                                                       sg




                                                                                                                                       000000001570DC57D
                                                                                                                                                                                           Email with internal discussion involving attorney re
                                                          FW: press request -                     Joe Esparza; Adam                    07C32428138E5AF3              Attorney Client;
STATE101487   Joe Esparza     7/9/2020    Outlook Email                           Stephen Chang                                                            Redact                            Texas Monthly inquiry on curbside voting and
                                                            texas monthly                         Bitter; Keith Ingram                 A027D58E4032400.m            Deliberative Process
                                                                                                                                                                                             request to speak to SOS staff on background.
                                                                                                                                       sg




                                                                                                                                       000000001570DC57D
                                                                                                                                                                                           Email with internal discussion involving attorneys
                                                                                                  Joe Esparza; Adam                    07C32428138E5AF3
STATE101489   Joe Esparza     7/8/2020    Outlook Email   RE: Curbside voting     Stephen Chang                                                            Redact     Attorney Client        re Reform Auston inquiry on curbside voting
                                                                                                  Bitter; Keith Ingram                 A027D5844052400.m
                                                                                                                                                                                             eligibility, process, and notice requirements.
                                                                                                                                       sg




                                                                                                                                       00000000E4E8B1F37
                                                                                                                                                                                             Attorney client discussion re response to KXAN
                                                          FW: KXAN request                        Joe Esparza; Adam                    942764E9AD69F913
STATE101491   Joe Esparza    8/24/2020    Outlook Email                           Stephen Chang                                                            Redact     Attorney Client      inquiry on nursing home resident in-person voting
                                                                8/24                              Bitter; Keith Ingram                 3678E6EC4C82300.
                                                                                                                                                                                                           and mail-in voting.
                                                                                                                                       msg




                                                                                                                                       00000000562549545
                                                                                                                                                                                            Attorney client discussion draft response to Rep.
                                                            RE: Constituent                                                            B7F71418486023B9              Attorney Client;
STATE101492   Joe Esparza    11/19/2020   Outlook Email                            Joe Esparza       Keith Ingram        Adam Bitter                       Redact                           Morrison office's question on printouts of ballot to
                                                              Guidance                                                                 D4568A6E4B42000.             Deliberative Process
                                                                                                                                                                                              confirm that voter's votes were not changed.
                                                                                                                                       msg




                                                                                                                                       00000000502B2BC4
                                                                                                   Keith Ingram; Joe                                                                         Attorney client discussion re conversation with
                                                          RE: Letter regarding                                                         BD3C3B4683FA2447
STATE101507   Keith Ingram   8/30/2020    Outlook Email                            Adam Bitter     Esparza; Christina                                      Redact     Attorney Client        Harris County clerk Chris Hollins and mail-in
                                                            ABBM mailing                                                               59F0CB8AA4482500.
                                                                                                        Adkins                                                                                                   voting.
                                                                                                                                       msg




                                                                                                                                       00000000502B2BC4
                                                                                                   Keith Ingram; Joe                                                                         Attorney client discussion re conversation with
                                                          RE: Letter regarding                                                         BD3C3B4683FA2447
STATE101511   Keith Ingram   8/30/2020    Outlook Email                            Adam Bitter     Esparza; Christina                                      Redact     Attorney Client        Harris County clerk Chris Hollins and mail-in
                                                            ABBM mailing                                                               59F0CB8A04492500.
                                                                                                        Adkins                                                                                                   voting.
                                                                                                                                       msg
                                                                                Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 68 of 82




                                                                                                                                  00000000502B2BC4
                                                                                                  Adam Bitter; Joe                                                                     Attorney client discussion re conversation with
                                                         Re: Letter regarding                                                     BD3C3B4683FA2447
STATE101515   Keith Ingram   8/30/2020   Outlook Email                            Keith Ingram   Esparza; Christina                                   Redact     Attorney Client       Harris County clerk Chris Hollins and mail-in
                                                           ABBM mailing                                                           59F0CB8AA44A2500.
                                                                                                      Adkins                                                                                               voting.
                                                                                                                                  msg




                                                                                                                                  00000000502B2BC4
                                                            RE: Interview                          Stephen Chang;                 BD3C3B4683FA2447                                     Attorney discussion re how to respond to KHOU
STATE101519   Keith Ingram   9/3/2020    Outlook Email                            Adam Bitter                                                         Redact     Attorney Client
                                                              request                               Keith Ingram                  59F0CB8A64502500.                                   interview request on ABBM rules and procedures.
                                                                                                                                  msg




                                                                                                                                  00000000502B2BC4
                                                            RE: Interview                        Adam Bitter; Keith               BD3C3B4683FA2447                                     Attorney discussion re how to respond to KHOU
STATE101523   Keith Ingram   9/3/2020    Outlook Email                           Stephen Chang                                                        Redact     Attorney Client
                                                              request                                Ingram                       59F0CB8AC4502500.                                   interview request on ABBM rules and procedures.
                                                                                                                                  msg




                                                                                                                                  00000000502B2BC4
                                                            RE: Interview                        Keith Ingram; Adam               BD3C3B4683FA2447                                     Attorney discussion re how to respond to KHOU
STATE101528   Keith Ingram   9/3/2020    Outlook Email                           Stephen Chang                                                        Redact     Attorney Client
                                                              request                                   Bitter                    59F0CB8A24512500.                                   interview request on ABBM rules and procedures.
                                                                                                                                  msg




                                                                                                                                  00000000502B2BC4
                                                            FW: Interview                                                         BD3C3B4683FA2447                                     Attorney discussion re how to respond to KHOU
STATE101532   Keith Ingram   9/3/2020    Outlook Email                           Stephen Chang      Keith Ingram                                      Redact     Attorney Client
                                                              request                                                             59F0CB8A84512500.                                   interview request on ABBM rules and procedures.
                                                                                                                                  msg




                                                                                                                                  00000000502B2BC4
                                                                                                 Melanie Best; Lena                                                                    Attorney discussion re how to respond to Bexar
                                                         Re: another question                                                     BD3C3B4683FA2447              Attorney Client;
STATE101536   Keith Ingram   1/21/2022   Outlook Email                            Keith Ingram    Proft; Elections-                                   Redact                           County inquiry on ABBM that included copy of
                                                                please                                                            59F0CB8A64B02500.            Deliberative Process
                                                                                                     Attorneys                                                                              license, but did not fill out the form.
                                                                                                                                  msg




                                                                                                                                  00000000502B2BC4
                                                                                                                                                                                      Attorney client communication to SOS executive
                                                         RE: 2020 Facebook                                                        BD3C3B4683FA2447
STATE101539   Keith Ingram   6/17/2020   Outlook Email                           Stephen Chang      Keith Ingram                                      Redact     Attorney Client       team regarding 2020 election update sent by
                                                          Elections Update                                                        59F0CB8A04E42600.
                                                                                                                                                                                                         Facebook.
                                                                                                                                  msg
                                                                                 Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 69 of 82




                                                            Re: request for
                                                         assistance with GAO                                                                  00000000502B2BC4                                        Communications with attorney about what was
                                                            study of voting                                                                   BD3C3B4683FA2447                                         discussed on phone call and the outcome of the
STATE101545   Keith Ingram   8/5/2020    Outlook Email                             Keith Ingram       Adam Bitter                                                    Redact     Attorney Client
                                                           accessibility for                                                                  59F0CB8A04ED2700                                       phone call about federal GAO project reviewing the
                                                              people with                                                                     .msg                                                           voting for people with disabilities.
                                                              disabilities




                                                             RE: FYSA:
                                                             HOUSTON
                                                         CHRONICLE: Harris                        Stephen Chang; Joe                          00000000502B2BC4
                                                                                                                                                                                                     Email with SOS attorney communicating to SOS
                                                          County OKs Up To                          Esparza; Adam                             BD3C3B4683FA2447                 Attorney Client;
STATE101553   Keith Ingram   4/29/2020   Outlook Email                             Keith Ingram                                                                      Redact                        executive team about Houston Chronicle mail-ballot
                                                           $12M For Mail                           Bitter; Christina                          59F0CB8AE46A2800.               Deliberative Process
                                                                                                                                                                                                              news piece on Harris County.
                                                            Ballots Amid                          Adkins; Ruth Hughs                          msg
                                                             Coronavirus
                                                              Concerns




                                                           Re: DRAFT: add                                                                     00000000502B2BC4                                       Attorney draft of response to question from citizen
                                                           voting places for                         Melanie Best;                            BD3C3B4683FA2447                 Attorney Client;         about disability, voting, and voting locations
STATE101556   Keith Ingram   6/4/2020    Outlook Email                             Keith Ingram                                                                      Redact
                                                           people over 60?                          Christina Adkins                          59F0CB8AA4732800.               Deliberative Process   reserved for at-risk populations and for people over
                                                               DRAFT                                                                          msg                                                                             60.




                                                                                                                                                                                                   Email with internal conversation about how best to
                                                          Re: Accessibility of                        Ruth Hughs;        Joe Esparza; Stephen Re_ Accessibility of             Attorney Client;    respond to message from National Federation of the
STATE101559   Keith Ingram   5/27/2020   Outlook Email                             Keith Ingram                                                                      Redact
                                                           Mail In Ballots                             Secretary          Chang; Adam Bitter Mail In Ballots.msg              Deliberative Process   Blind of Texas regarding vote by mail reform to
                                                                                                                                                                                                        provide further assistance to the disabled.




                                                                                                                                              00000000709434F26                                       Attorney client communication regarding how to
                                                         FW: 2020 Election
                                                                                                                                              491C94CA711E1098                                       respond to inquiry from Hamilton County on early
STATE101562   Keith Ingram   1/7/2021    Outlook Email   Administration and         Kristi Hart      Keith Ingram                                                    Redact     Attorney Client
                                                                                                                                              3131F43840D2500.m                                      voting and failure to separate military and general
                                                           Voting Survey
                                                                                                                                              sg                                                                             vote.




                                                                                                                                              00000000709434F26                                       Attorney client communication regarding how to
                                                          Re: 2020 Election
                                                                                                                                              491C94CA711E1098                 Attorney Client;      respond to inquiry from Hamilton County on early
STATE101564   Keith Ingram   1/7/2021    Outlook Email   Administration and        Keith Ingram       Kristi Hart                                                    Redact
                                                                                                                                              3131F43C40D2500.m               Deliberative Process   voting and failure to separate military and general
                                                           Voting Survey
                                                                                                                                              sg                                                                             vote.




                                                                                                                                                                                                   Attorney discussion about ABBM requirements and
                                                                                                     Melanie Best;                            00000000BC493D95
                                                                                                                                                                                                     how to respond to Bexar County official's voter
                                                         Re: another question                     Charles Pinney; Lena                        E59D9D4C9D1BCBC                  Attorney Client;
STATE101566   Keith Ingram   1/21/2022   Outlook Email                             Keith Ingram                                                                      Redact                        registration question about ABBM where voter had
                                                                please                               Proft; Election                          8FEDE0AD144C2260                Deliberative Process
                                                                                                                                                                                                      included a copy of driver's license but did not
                                                                                                       Attorneys                              0.msg
                                                                                                                                                                                                                   complete the form.
                                                                               Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 70 of 82




                                                         Fw: ROSTER FOR                                                                                                                        Email with attorney client communication about
                                                                                                                                            0000000091BF44E55
                                                          VOTERS HAND-                              Adam Bitter;                                                                               how to respond to reports that Harris County was
                                                                                                                                            CCD364D97FD4B15               Attorney Client;
STATE101570   Keith Ingram   3/10/2021   Outlook Email     DELIVERING            Keith Ingram   Christina Adkins; Joe                                           Redact                        accepting mail in ballots in an unapproved manner,
                                                                                                                                            3A1740BE44CC2600.            Deliberative Process
                                                             CARRIER                                   Esparza                                                                                   while falsely claiming they had received SOS
                                                                                                                                            msg
                                                            ENVELOPE                                                                                                                                                approval.




                                                           FW: request for
                                                         assistance with GAO                                                                0000000091BF44E55                                    Communications with attorney about what was
                                                            study of voting                                                                 CCD364D97FD4B15                                       discussed on phone call and the outcome of the
STATE101574   Keith Ingram   8/4/2020    Outlook Email                           Keith Ingram       Adam Bitter                                                 Redact     Attorney Client
                                                           accessibility for                                                                3A1740BEE4A42200.                                   phone call about federal GAO project reviewing the
                                                              people with                                                                   msg                                                         voting for people with disabilities.
                                                              disabilities




                                                                                                                                            00000000154535D6E
                                                                                                                                                                                                Email with attorney discussion re how to respond to
                                                           Re: Vice News                         Stephen Chang; Joe                         55F114E9B9A8AAD7
STATE101577   Keith Ingram   7/14/2021   Outlook Email                           Keith Ingram                                                                   Redact     Attorney Client       VICE News inquiry on election security proposals
                                                              inquiry                           Esparza; Adam Bitter                        DD9F5FC640F2000.
                                                                                                                                                                                                           and historical voter turnout.
                                                                                                                                            msg




                                                                                                                                                                                                 Email discussion between SOS attorney and legal
                                                                                                                                            000000002DE56D613
                                                                                                                                                                                                   assistant to General Counsel regarding how to
                                                          RE: Coopersmith                        Kate Fisher; Adam      Kristi Hart; Adam   8958847B03B0486A9             Attorney Client;
STATE102157    Kristi Hart   9/28/2020   Outlook Email                           Adam Bitter                                                                    Redact                             respond to historical absentee ballot rejection
                                                              Request                                  Bitter                  Bitter       7D5B7FC4452200.ms            Deliberative Process
                                                                                                                                                                                                  information request from Texas A&M Professor
                                                                                                                                            g
                                                                                                                                                                                                               Jonathan Coopersmith.




                                                                                                                                                                                                 Email discussion between SOS attorney and legal
                                                                                                                                            000000002DE56D613
                                                                                                                                                                                                   assistant to General Counsel regarding how to
                                                          RE: Coopersmith                                               Kristi Hart; Adam   8958847B03B0486A9             Attorney Client;
STATE102161    Kristi Hart   9/28/2020   Outlook Email                           Kate Fisher        Adam Bitter                                                 Redact                             respond to historical absentee ballot rejection
                                                              Request                                                          Bitter       7D5B7F44462200.ms            Deliberative Process
                                                                                                                                                                                                  information request from Texas A&M Professor
                                                                                                                                            g
                                                                                                                                                                                                               Jonathan Coopersmith.




                                                                                                                                                                                                 Email discussion between SOS attorney and legal
                                                                                                                                            000000002DE56D613
                                                                                                                                                                                                   assistant to General Counsel regarding how to
                                                          RE: Coopersmith                                               Kristi Hart; Adam   8958847B03B0486A9             Attorney Client;
STATE102165    Kristi Hart   9/30/2020   Outlook Email                           Adam Bitter        Kate Fisher                                                 Redact                             respond to historical absentee ballot rejection
                                                              Request                                                          Bitter       7D5B7F444D2200.m             Deliberative Process
                                                                                                                                                                                                  information request from Texas A&M Professor
                                                                                                                                            sg
                                                                                                                                                                                                               Jonathan Coopersmith.




                                                                                                                                                                                                 Email discussion between SOS attorney and legal
                                                                                                                                            000000002DE56D613
                                                                                                                                                                                                   assistant to General Counsel regarding how to
                                                          RE: Coopersmith                                               Kristi Hart; Adam   8958847B03B0486A9             Attorney Client;
STATE102170    Kristi Hart   10/1/2020   Outlook Email                           Adam Bitter        Kate Fisher                                                 Redact                             respond to historical absentee ballot rejection
                                                              Request                                                          Bitter       7D5B7FC44F2200.m             Deliberative Process
                                                                                                                                                                                                  information request from Texas A&M Professor
                                                                                                                                            sg
                                                                                                                                                                                                               Jonathan Coopersmith.
                                                                             Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 71 of 82




                                                                                                                                                                                                Email discussion between SOS attorney and legal
                                                                                                                                           000000002DE56D613
                                                                                                                                                                                                  assistant to General Counsel regarding how to
                                                        RE: Coopersmith                                               Kristi Hart; Adam    8958847B03B0486A9             Attorney Client;
STATE102176   Kristi Hart   10/1/2020   Outlook Email                           Kate Fisher         Adam Bitter                                                Redact                             respond to historical absentee ballot rejection
                                                            Request                                                          Bitter        7D5B7FE44F2200.m             Deliberative Process
                                                                                                                                                                                                 information request from Texas A&M Professor
                                                                                                                                           sg
                                                                                                                                                                                                              Jonathan Coopersmith.




                                                                                                                                                                                                Email discussion between SOS attorney and legal
                                                                                                                                           000000002DE56D613
                                                                                                                                                                                                  assistant to General Counsel regarding how to
                                                        RE: Coopersmith                                               Kristi Hart; Adam    8958847B03B0486A9             Attorney Client;
STATE102182   Kristi Hart   10/1/2020   Outlook Email                          Adam Bitter           Kate Fisher                                               Redact                             respond to historical absentee ballot rejection
                                                            Request                                                          Bitter        7D5B7F64502200.ms            Deliberative Process
                                                                                                                                                                                                 information request from Texas A&M Professor
                                                                                                                                           g
                                                                                                                                                                                                              Jonathan Coopersmith.




                                                                                                                                                                                                Email discussion between SOS attorney and legal
                                                                                                                                          000000002DE56D613
                                                                                                                                                                                                  assistant to General Counsel regarding how to
                                                        RE: Coopersmith                                               Kristi Hart; Adam 8958847B03B0486A9                Attorney Client;
STATE102187   Kristi Hart   10/1/2020   Outlook Email                          Adam Bitter           Kate Fisher                                               Redact                             respond to historical absentee ballot rejection
                                                            Request                                                   Bitter; Adam Bitter 7D5B7FA4502200.ms             Deliberative Process
                                                                                                                                                                                                 information request from Texas A&M Professor
                                                                                                                                          g
                                                                                                                                                                                                              Jonathan Coopersmith.




                                                                                                                                                                                                Email discussion between SOS attorney and legal
                                                                                                                                           000000002DE56D613
                                                                                                                                                                                                  assistant to General Counsel regarding how to
                                                        FW: Coopersmith                                                                    8958847B03B0486A9             Attorney Client;
STATE102193   Kristi Hart   10/1/2020   Outlook Email                           Kristi Hart          Kate Fisher                                               Redact                             respond to historical absentee ballot rejection
                                                            Request                                                                        7D5B7F04512200.ms            Deliberative Process
                                                                                                                                                                                                 information request from Texas A&M Professor
                                                                                                                                           g
                                                                                                                                                                                                              Jonathan Coopersmith.




                                                                                                                                                                                                Email discussion between SOS attorney and legal
                                                                                                                                           000000002DE56D613
                                                                                                                                                                                                  assistant to General Counsel regarding how to
                                                        RE: Coopersmith                           Kate Fisher; Adam   Kristi Hart; Adam    8958847B03B0486A9             Attorney Client;
STATE102199   Kristi Hart   10/2/2020   Outlook Email                          Adam Bitter                                                                     Redact                             respond to historical absentee ballot rejection
                                                            Request                                     Bitter               Bitter        7D5B7F645B2200.ms            Deliberative Process
                                                                                                                                                                                                 information request from Texas A&M Professor
                                                                                                                                           g
                                                                                                                                                                                                              Jonathan Coopersmith.




                                                                                                                                                                                                Email discussion between SOS attorney and legal
                                                                                                                                           000000002DE56D613
                                                                                                                                                                                                  assistant to General Counsel regarding how to
                                                        RE: Coopersmith                                               Kristi Hart; Adam    8958847B03B0486A9             Attorney Client;
STATE102206   Kristi Hart   10/5/2020   Outlook Email                          Adam Bitter           Kate Fisher                                               Redact                             respond to historical absentee ballot rejection
                                                            Request                                                          Bitter        7D5B7F446A2200.ms            Deliberative Process
                                                                                                                                                                                                 information request from Texas A&M Professor
                                                                                                                                           g
                                                                                                                                                                                                              Jonathan Coopersmith.




                                                                                                                                           000000002DE56D613                                        Email with attorney client communication
                                                        FW: ***Duplicated
                                                                                                                      Lillian Eder; Beva   8958847B03B0486A9                                   regarding voter inquiry submitted to Fannin County
STATE102215   Kristi Hart   10/9/2020   Outlook Email     ballot sent out    Elections Internet      Kristi Hart                                               Redact     Attorney Client
                                                                                                                            Kellison       7D5B7F84A92200.ms                                     Clerk's office regarding whether the voter's Early
                                                        (County ballot)***
                                                                                                                                           g                                                              Voting ballot had been received.
                                                                                  Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 72 of 82




                                                                                                                                            000000002DE56D613                                      Email with SOS staff and attorney internal
                                                          FW: Hinky Letter
                                                                                                                                            8958847B03B0486A9               Attorney Client;      correspondence regarding inquiry from Comal
STATE102220   Kristi Hart   10/16/2020   Outlook Email   From Comal County           Kristi Hart      Lillian Eder       Heidi Martinez                           Redact
                                                                                                                                            7D5B7F84C12200.ms              Deliberative Process County voter who was registered by received a voter
                                                             Elections
                                                                                                                                            g                                                      registration form anyway from the County.




                                                                                                                                              000000002DE56D613
                                                                                                                                                                                                  Email with SOS internal communication regarding
                                                          RE: Ballot drop-box                                          Beva Kellison; Lillian 8958847B03B0486A9
STATE102225   Kristi Hart   10/20/2020   Outlook Email                               Kristi Hart      Kate Fisher                                                 Redact   Deliberative Process    early voting clerk locations inquiries for Harris
                                                               locations                                                      Eder            7D5B7F24CE2200.m
                                                                                                                                                                                                                        County.
                                                                                                                                              sg




                                                                                                                                            000000002DE56D613                                      Email with SOS staff and attorney internal
                                                          FW: Hinky Letter
                                                                                                                         Heidi Martinez;    8958847B03B0486A9               Attorney Client;      correspondence regarding inquiry from Comal
STATE102227   Kristi Hart   10/20/2020   Outlook Email   From Comal County           Kristi Hart      Lillian Eder                                                Redact
                                                                                                                         Christina Adkins   7D5B7F04CF2200.m               Deliberative Process County voter who was registered by received a voter
                                                             Elections
                                                                                                                                            sg                                                     registration form anyway from the County.




                                                                                                                                            000000001B1E1690B
                                                                                                                                                                                                      Email with SOS staff and attorney internal
                                                                                                                                            7A76A4597D6F69A4
STATE102411   Kristi Hart   12/30/2021   Outlook Email       RE: Inquiry            Kate Fisher      Adam Bitter           Kristi Hart                            Redact     Attorney Client      communication regarding how to respond to inquiry
                                                                                                                                            E5B663BE4462000.
                                                                                                                                                                                                   about how election state inspectors are appointed.
                                                                                                                                            msg




                                                                                                                                            00000000FD2BBD36                                    Email chain with SOS attorney and staff conversion
                                                           FW: Situation in                                               Beva Kellison;    F18CC84E98BA3493                Attorney Client;      about report from TX Democrats that a box of
STATE102519   Kristi Hart   10/2/2020    Outlook Email                               Kristi Hart    Ernest Fuentes                                                Redact
                                                            Comal County                                                 Christina Adkins   6FCFC696640B2000.              Deliberative Process  completed voter registration forms were sent to
                                                                                                                                            msg                                                         their Comal County chairwoman.




                                                                                                                        Jennifer Williams;
                                                                                                                        Christina Adkins,
                                                          RE: Non-Responses                                                  Tamara        00000000FD2BBD36                                         Email chain with attorney communication
                                                         by Elections Division-                    Adam Bitter; Kate      Schoonmaker;     F18CC84E98BA3493                 Attorney Client;     regarding how to respond to voter inquiry about
STATE103466   Kristi Hart    9/1/2020    Outlook Email                               Kristi Hart                                                                  Redact
                                                           SOS - Requesting                            Fisher             Genevieve Gill;  6FCFC69604452100.               Deliberative Process ABBM and early voting totals in Hays County from
                                                              Assistance                                                 Stephen Chang;    msg                                                              2019 and 2020 elections.
                                                                                                                        Keith Ingram; Joe
                                                                                                                       Esparza; Ruth Hughs




                                                                                                                       Beva Kellison; Lillian
                                                                                                                         Eder; Christina
                                                          RE: Non-Responses                                              Adkins; Tamara       00000000FD2BBD36                                      Email chain with attorney communication
                                                         by Elections Division-                                           Schoonmaker;        F18CC84E98BA3493              Attorney Client;     regarding how to respond to voter inquiry about
STATE103475   Kristi Hart    9/1/2020    Outlook Email                               Kristi Hart      Kate Fisher                                                 Redact
                                                           SOS - Requesting                                              Genevieve Gill;      6FCFC69684472100.            Deliberative Process ABBM and early voting totals in Hays County from
                                                              Assistance                                                 Stephen Chang;       msg                                                           2019 and 2020 elections.
                                                                                                                        Keith Ingram; Joe
                                                                                                                       Esparza; Ruth Hughs
                                                                              Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 73 of 82




                                                         RE: MASS E-MAIL                                                                   00000000FD2BBD36                                   Email with SOS staff communication regarding how
                                                        (VR/EA/CC/V-1093) -                                                                F18CC84E98BA3493                                     to respond to March 2022 primary inquiry from
STATE103587   Kristi Hart   1/7/2022    Outlook Email                           Lillian Eder         Kristi Hart                                                Redact   Deliberative Process
                                                           March 1, 2022                                                                   6FCFC696C4C22400.                                  Refugio County about justice of the peace candidate
                                                          Primary Election                                                                 msg                                                        eligibility across multiple precincts.




                                                                                                                                                                                                Email conversation between SOS staff and SOS
                                                                                                                                           00000000FD2BBD36
                                                                                                                      Jennifer Williams;                                                      general counsel's office regarding how to respond to
                                                         RE: PIR - Polling                                                                 F18CC84E98BA3493
STATE103590   Kristi Hart   4/15/2021   Outlook Email                           Kate Fisher         Adam Bitter       Kristi Hart; Keith                        Redact     Attorney Client    inquiry from Republican Party of Texas about 2020
                                                            Locations                                                                      6FCFC69604EE2400.
                                                                                                                           Ingram                                                             polling locations and county appointment of election
                                                                                                                                           msg
                                                                                                                                                                                                                     officials.




                                                                                                                                            00000000FD2BBD36                                   Email with communication between SOS attorney
                                                         RE: 2020 General                                             Kristi Hart; Jennifer F18CC84E98BA3493                                   and SOS general counsel's office regarding how to
STATE103595   Kristi Hart   6/3/2021    Outlook Email                           Kate Fisher         Adam Bitter                                                 Redact     Attorney Client
                                                         Election Security                                                  Williams        6FCFC69644F42400.                                    respond to inquiry about voter fraud / rejected
                                                                                                                                            msg                                                      ballots in the 2020 General Election.




                                                                                                                                           00000000FD2BBD36                                    Email with communication between SOS attorney
                                                         RE: 2020 General                                             Kristi Hart;Jennifer F18CC84E98BA3493                                    and SOS general counsel's office regarding how to
STATE103597   Kristi Hart   6/3/2021    Outlook Email                           Adam Bitter          Kate Fisher                                                Redact     Attorney Client
                                                         Election Security                                                  Williams       6FCFC69664F42400.                                     respond to inquiry about voter fraud / rejected
                                                                                                                                           msg                                                       ballots in the 2020 General Election.




                                                                                                                                            00000000FD2BBD36                                   Email with communication between SOS attorney
                                                         RE: 2020 General                         Kate Fisher; Adam   Kristi Hart; Jennifer F18CC84E98BA3493                                   and SOS general counsel's office regarding how to
STATE103599   Kristi Hart   6/15/2021   Outlook Email                           Adam Bitter                                                                     Redact     Attorney Client
                                                         Election Security                              Bitter              Williams        6FCFC696E4F72400.                                    respond to inquiry about voter fraud / rejected
                                                                                                                                            msg                                                      ballots in the 2020 General Election.




                                                                                                                                           00000000FD2BBD36                                    Email with communication between SOS attorney
                                                                                                                       Kristi Hart; Kate
                                                         RE: 2020 General                                                                  F18CC84E98BA3493                                    and SOS general counsel's office regarding how to
STATE103601   Kristi Hart   6/15/2021   Outlook Email                           Kate Fisher         Adam Bitter        Fisher; Jennifer                         Redact     Attorney Client
                                                         Election Security                                                                 6FCFC69624F82400.                                     respond to inquiry about voter fraud / rejected
                                                                                                                           Williams
                                                                                                                                           msg                                                       ballots in the 2020 General Election.




                                                                                                                                                                                                Emails between SOS General Counsel's assistant
                                                         RE: Public Records                                                               00000000FD2BBD36
                                                                                                                                                                                                Jennifer Williams and SOS Staff communication
                                                           Request [SR-                                               Adam Bitter; Kristi F18CC84E98BA3493
STATE103606   Kristi Hart   7/9/2021    Outlook Email                         Jennifer Williams      Kate Fisher                                                Redact     Attorney Client     regarding information request regarding data used
                                                        ACTIVE.FID5189265                                                   Hart          6FCFC696A4FD2400
                                                                                                                                                                                                in study of election security for the 2016 election
                                                                 ]                                                                        .msg
                                                                                                                                                                                                            and subsequent elections.
                                                                               Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 74 of 82




                                                                                                                                      00000000FD2BBD36                                       Email from SOS staffer to SOS General Counsel
                                                                FW:                                               Adam Bitter; Kristi F18CC84E98BA3493                                      regarding communication received by from citizen
STATE103608   Kristi Hart   7/22/2021    Outlook Email                           Kate Fisher      Adam Bitter                                               Redact     Attorney Client
                                                         KnoxCityDupess.xlsx                                            Hart          6FCFC69624032500.                                      claiming that someone voted five times in Knox
                                                                                                                                      msg                                                       County during the 2020 General Election.




                                                                                                                                      00000000FD2BBD36
                                                                                                                                                                                            Email chain between SOS staff members regarding
                                                          RE: Voter Fraud -                                         Julia Montes;     F18CC84E98BA3493
STATE103695   Kristi Hart   3/31/2020    Outlook Email                            Kristi Hart     Beva Kellison                                             Redact   Deliberative Process    draft FAQ for voters who receive a solicitation to
                                                              Phishing                                              Nathan Goggin     6FCFC69624692300.
                                                                                                                                                                                                      vote by mail, sent by Vote.org.
                                                                                                                                      msg




                                                                                                                                        000000000318E9606
                                                                                                                                                                                          Email chain between SOS staff members regarding
                                                          RE: Voter Fraud -                                       Beva Kellison; Kristi 0A27942910E4CAF0
STATE103705   Kristi Hart   3/31/2020    Outlook Email                           Beva Kellison    Julia Montes                                              Redact   Deliberative Process  draft FAQ for voters who receive a solicitation to
                                                              Phishing                                                   Hart           85404F104522600.m
                                                                                                                                                                                                    vote by mail, sent by Vote.org.
                                                                                                                                        sg




                                                                                                                                                                                          Email between SOS staff referencing attorney-client
                                                          RE: MASS EMAIL                                                              000000007D68A61E5
                                                                                                                                                                                          communication regarding issues with incorporating
                                                          (CC/EA/VR -1061)                                                            A6BFA47998F8B97C                Attorney Client;
STATE103723   Kristi Hart   12/10/2021   Outlook Email                           Lillian Eder      Kristi Hart                                              Redact                        SB1-complying forms that SOS needs to determine
                                                          Updated Forms for                                                           506031F849B2100.m              Deliberative Process
                                                                                                                                                                                           before they can respond to an inquiry from Travis
                                                                2022                                                                  sg
                                                                                                                                                                                                                County.




                                                                                                                                                                                          Email between SOS staff referencing attorney-client
                                                         FW: MASS EMAIL                                                               000000007D68A61E5
                                                                                                                                                                                          communication regarding issues with incorporating
                                                         (CC/EA/VR -1061)                                                             A6BFA47998F8B97C                Attorney Client;
STATE103727   Kristi Hart   12/10/2021   Outlook Email                            Kristi Hart      Lillian Eder                                             Redact                        SB1-complying forms that SOS needs to determine
                                                         Updated Forms for                                                            506031FA49B2100.m              Deliberative Process
                                                                                                                                                                                           before they can respond to an inquiry from Travis
                                                               2022                                                                   sg
                                                                                                                                                                                                                County.




                                                                                                                                                                                             Email chain involving emails by attorney Heidi
                                                         FW: MASS EMAIL                                                               000000007D68A61E5
                                                                                                                                                                                             Martinez regarding how to respond to inquiry on
                                                         (CC/EA/VR -1061)                                                             A6BFA47998F8B97C                Attorney Client;
STATE103739   Kristi Hart   12/11/2021   Outlook Email                            Kristi Hart     Beva Kellison     Heidi Martinez                          Redact                          2022 updated voter registration forms from Erath
                                                         Updated Forms for                                                            506031F24A62100.m              Deliberative Process
                                                                                                                                                                                            County, and whether old forms are compliant with
                                                               2022                                                                   sg
                                                                                                                                                                                                                 SB1.




                                                            RE: [External                                                             000000007D68A61E5
                                                                                                                                                                                            Email with discussing on how to respond to Dallas
                                                         Sender]Requesting                                                            A6BFA47998F8B97C
STATE103743   Kristi Hart   12/30/2021   Outlook Email                           Beva Kellison     Kristi Hart       Beva Kellison                          Redact   Deliberative Process   county officials request for updated voter register
                                                         Dallas County Voter                                                          506031F84AF2100.m
                                                                                                                                                                                                   applications in different languages.
                                                             Applications                                                             sg
                                                                               Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 75 of 82




                                                            RE: [External                                                              000000007D68A61E5
                                                                                                                                                                                           Email with discussing on how to respond to Dallas
                                                         Sender]Requesting                                                             A6BFA47998F8B97C
STATE103752   Kristi Hart   12/30/2021   Outlook Email                            Kristi Hart     Beva Kellison                                            Redact   Deliberative Process   county officials request for updated voter register
                                                         Dallas County Voter                                                           506031F84B02100.m
                                                                                                                                                                                                  applications in different languages.
                                                             Applications                                                              sg




                                                            RE: MILITARY                                                               000000007D68A61E5                                    Email with SOS staff deliberations about how to
                                                         VOTING NUMBERS -                       Kate Fisher; Kristi                    A6BFA47998F8B97C                                      respond to PIR about mail ballots for military
STATE103789   Kristi Hart    7/1/2020    Outlook Email                           Lillian Eder                          Beva Kellison                       Redact   Deliberative Process
                                                           REQUEST FOR                                Hart                             506031FC4602400.m                                     voters/election integrity for the 2016 General
                                                           INFORMATION                                                                 sg                                                                       Election.




                                                            Re: MILITARY                                                               000000007D68A61E5                                    Email with SOS staff deliberations about how to
                                                         VOTING NUMBERS -                       Lillian Eder; Kristi                   A6BFA47998F8B97C                                      respond to PIR about mail ballots for military
STATE103791   Kristi Hart    7/1/2020    Outlook Email                           Kate Fisher                           Beva Kellison                       Redact   Deliberative Process
                                                           REQUEST FOR                                  Hart                           506031F64612400.m                                     voters/election integrity for the 2016 General
                                                           INFORMATION                                                                 sg                                                                       Election.




                                                          FW: MASS EMAIL
                                                          (CC/EA/VR - 940) -                                                           000000007D68A61E5                                         Email chain with internal SOS staff
                                                             Proclamation                                                              A6BFA47998F8B97C                                        communications about FAQ webpages in
STATE103798   Kristi Hart   7/28/2020    Outlook Email                            Kristi Hart      Julia Montes                                            Redact   Deliberative Process
                                                            regarding Early                                                            506031F648C2400.m                                     development for early voting during the 2020
                                                         Voting for November                                                           sg                                                                 General Election.
                                                           3, 2020 Elections




                                                          FW: MASS EMAIL
                                                          (CC/EA/VR - 940) -                                                           000000007D68A61E5                                         Email chain with internal SOS staff
                                                             Proclamation                                                              A6BFA47998F8B97C                                        communications about FAQ webpages in
STATE103801   Kristi Hart   7/29/2020    Outlook Email                            Kristi Hart     Nicole Guerra                                            Redact   Deliberative Process
                                                            regarding Early                                                            506031F048F2400.m                                     development for early voting during the 2020
                                                         Voting for November                                                           sg                                                                 General Election.
                                                           3, 2020 Elections




                                                          RE: MASS EMAIL
                                                          (CC/EA/VR - 940) -                                                           000000007D68A61E5                                         Email chain with internal SOS staff
                                                             Proclamation                                                              A6BFA47998F8B97C                                        communications about FAQ webpages in
STATE103806   Kristi Hart   7/29/2020    Outlook Email                            Kristi Hart     Nicole Guerra                                            Redact   Deliberative Process
                                                            regarding Early                                                            506031F248F2400.m                                     development for early voting during the 2020
                                                         Voting for November                                                           sg                                                                 General Election.
                                                           3, 2020 Elections




                                                          RE: MASS EMAIL
                                                          (CC/EA/VR - 940) -                                                           000000007D68A61E5                                         Email chain with internal SOS staff
                                                             Proclamation                                                              A6BFA47998F8B97C                                        communications about FAQ webpages in
STATE103811   Kristi Hart   7/29/2020    Outlook Email                           Julia Montes       Kristi Hart                                            Redact   Deliberative Process
                                                            regarding Early                                                            506031FA4922400.m                                     development for early voting during the 2020
                                                         Voting for November                                                           sg                                                                 General Election.
                                                           3, 2020 Elections
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 76 of 82




                                                                  RE: Voter                                                                   000000007D68A61E5                                 Email with internal SOS staff communication about
                                                              Registration Mail                                                               A6BFA47998F8B97C                                  a review of an envelope and returned form for a VR
STATE104023     Kristi Hart      12/15/2021   Outlook Email                           Ernest Fuentes         Kristi Hart                                          Redact   Deliberative Process
                                                              Package Questions                                                               506031F84912000.m                                  application submitted by JD Key and whether it is
                                                                (EI Response)                                                                 sg                                                              in compliance with SB1.




                                                                                                                                                                                                  Email with attorney discussion of concerns and
                                                                                                         Christina Adkins;                    0000000097EFB6F11
                                                                                                                                                                                                    suggested changes to training materials for
                                                                                                        Elections-Attorneys;                  B0B134C8B5B2E3B               Attorney Client;
STATE104043   Krystine Ramon      6/2/2020    Outlook Email   RE: Please review...    Krystine Ramon                                                              Redact                          Volunteer Deputy Registrar training hosted by
                                                                                                        David Velez-Perez;                    F47FC988E42B2500.            Deliberative Process
                                                                                                                                                                                                Travis County Tax Office and the Texas Democratic
                                                                                                         Alexa Buxkemper                      msg
                                                                                                                                                                                                                   Convention.




                                                                                                         Alexa Buxkemper;                     00000000E047F74BF                                   Email with attorney discussion regarding inquiry
                                                               RE: Dropping off
                                                                                                          Krystine Ramon;                     E9A1B41AD6A913F               Attorney Client;      from Harris County Clerk's office about what the
STATE104046    Melanie Best      6/13/2020    Outlook Email     Voted BBM on           Melanie Best                             Adam Bitter                       Redact
                                                                                                         Christina Adkins;                    C0CE4E1BE44A2400             Deliberative Process    election code says about using multiple Clerk's
                                                                 election day
                                                                                                             Elec Legal                       .msg                                                       offices for collecting mail in ballots.




                                                                                                                                              000000006C250082D
                                                                                                                                                                                                 Email with attorney discussion of how to answer
                                                               RE: Courier issue                        Lena Proft; Christina                 43E2C42BDB1B1920              Attorney Client;
STATE104970   Christina Adkins   10/14/2020   Outlook Email                            Keith Ingram                                                               Redact                        proposal from Dallas V.O.T.E.S about using courier
                                                                   follow up                             Adkins; Elec Legal                   F7DA3C7443D2100.             Deliberative Process
                                                                                                                                                                                                    services as mail in ballot drop-off locations.
                                                                                                                                              msg




                                                                                                                                              000000006C250082D                                   Email with attorney communication about how to
                                                              RE: City Elections                          Heidi Martinez;                     43E2C42BDB1B1920                                    respond to inquiry from contractor about alleged
STATE104974   Christina Adkins   10/18/2020   Outlook Email                          Christina Adkins                                                             Redact     Attorney Client
                                                                    2020                                    Kristi Hart                       F7DA3C7A45D2100.                                    issue with voting list in TEAM system in Grimes
                                                                                                                                              msg                                                                 County election.




                                                                                                                                              000000006C250082D
                                                                                                          Keith Ingram;                                                                              Email with attorney discussion about how to
                                                               Re: 33.007 # poll                                                              43E2C42BDB1B1920              Attorney Client;
STATE104976   Christina Adkins    9/1/2021    Outlook Email                           Charles Pinney     Melanie Best; Elec                                       Redact                          respond to Parker County official's question about
                                                                   watchers                                                                   F7DA3C7A4FF2400.             Deliberative Process
                                                                                                              Legal                                                                                    poll watchers rules and number limits.
                                                                                                                                              msg




                                                                                                                                              000000006C250082D                                   Communication between Keith Ingram and Legal
                                                              Re: Introduction of                                                             43E2C42BDB1B1920              Attorney Client;        Director regarding how to respond to outside
STATE104980   Christina Adkins   9/28/2021    Outlook Email                            Keith Ingram       Christina Adkins                                        Redact
                                                              ElectSure Learning                                                              F7DA3C7C4F02800.             Deliberative Process   proposal from Electsure Learning to provide SB1-
                                                                                                                                              msg                                                    related training to election administrators.
                                                                                    Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 77 of 82




                                                                                                                                                                                                     Communication between Keith Ingram and Legal
                                                                                                                                                  000000006C250082D
                                                                                                                                                                                                    Director Christina Adkins regarding how to respond
                                                             FW: Introduction of                                                                  43E2C42BDB1B1920              Attorney Client;
STATE104982   Christina Adkins   9/28/2021   Outlook Email                          Christina Adkins      Keith Ingram                                                Redact                          to outside proposal from Electsure Learning to
                                                             ElectSure Learning                                                                   F7DA3C724082900.             Deliberative Process
                                                                                                                                                                                                          provide SB1-related training to election
                                                                                                                                                  msg
                                                                                                                                                                                                                      administrators.




                                                                                                                                                  00000000C25E51080                                   Internal discussion between SOS attorneys and
                                                              Re: KXAN request                          Keith Ingram; Joe                         8B5BF40A71F2E5D5              Attorney Client;       executive team about how to respond to KXAN
STATE104983   Christina Adkins   8/24/2020   Outlook Email                           Stephen Chang                             Christina Adkins                       Redact
                                                                    8/24                               Esparza; Adam Bitter                       A2A9ADD84AC2800.             Deliberative Process inquiry about COVID-19 an voting by nursing home
                                                                                                                                                  msg                                                                    residents.




                                                                                                                                                  00000000C25E51080                                   Internal discussion between SOS attorneys and
                                                              RE: KXAN request                          Stephen Chang; Joe                        8B5BF40A71F2E5D5              Attorney Client;       executive team about how to respond to KXAN
STATE104985   Christina Adkins   8/24/2020   Outlook Email                            Keith Ingram                             Christina Adkins                       Redact
                                                                    8/24                               Esparza; Adam Bitter                       A2A9ADDA4AC2800.             Deliberative Process inquiry about COVID-19 an voting by nursing home
                                                                                                                                                  msg                                                                    residents.




                                                                                                                                                  0000000C25E510808                                   Internal discussion between SOS attorneys and
                                                              RE: KXAN request                          Keith Ingram; Joe                         B5BF40A71F2E5D5               Attorney Client;       executive team about how to respond to KXAN
STATE104987   Christina Adkins   8/25/2020   Outlook Email                           Stephen Chang                             Christina Adkins                       Redact
                                                                    8/24                               Esparza; Adam Bitter                       A2A9ADDE4CA2800.             Deliberative Process inquiry about COVID-19 an voting by nursing home
                                                                                                                                                  msg                                                                    residents.




                                                              RE: MASS EMAIL
                                                                  ADVISORY
                                                              (CC/EA/VR - 1031)
                                                                                                                                                  000000007C8593002
                                                               Advisory 2022-04                                                                                                                       Email with attorney Christina Adkins making edits
                                                                                                         David H Gattuso;                         B050C47A021FAF43              Attorney Client;
STATE104989   Christina Adkins   1/20/2022   Outlook Email     Emergency Ballot     Christina Adkins                           SOS Webmaster                          Redact                             to a draft election advisory for the May 2022
                                                                                                           Kristi Hart                            14A192124392D00.m            Deliberative Process
                                                             Procedures and 2022-                                                                                                                      elections regarding emergency ballot procedures
                                                                                                                                                  sg
                                                               05-Limited Ballot
                                                              Voters and District
                                                                    Chart




                                                                                                                                                  000000005A9CA9781                                  Legal Director Christina Adkins communicating
                                                              Fwd: County Chair                                                                   CB8EB40B5BBD714               Attorney Client;    with attorney Charles Pinney regarding response to
STATE105013   Christina Adkins   11/4/2021   Outlook Email                          Christina Adkins      Charles Pinney                                              Redact
                                                              Manual Feedback                                                                     5D3A388FC4C62100.            Deliberative Process  Texas Democrats' suggestions about revisions to
                                                                                                                                                  msg                                                             County Chair manual.




                                                                                                                                                  0000000057C4C3325                                   Email with discussion among General Counsel and
                                                              RE: Representative                       Christina Adkins; Joe
                                                                                                                                                  97F7D47977054AD5              Attorney Client;       Legal Director Christina Adkins about questions
STATE105015   Christina Adkins   1/28/2022   Outlook Email      Collier Letter        Adam Bitter         Esparza; Keith                                              Redact
                                                                                                                                                  731028AC4CB2A00.             Deliberative Process    from legislative staff of Rep. Collier about SOS'
                                                                   Request                             Ingram; Sam Taylor
                                                                                                                                                  msg                                                               interpretation of SB1.
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 78 of 82




                                                                                                                                                                                                  Internal communication between SOS attorneys
                                                                                                                                             000000000F42E7293
                                                                                                                                                                                                 regarding how to respond to inquiries about BBM
                                                                                                                                             C856D4C928B5B390              Attorney Client;
STATE105016   Christina Adkins   8/6/2020   Outlook Email   FW: Absentee Ballot        Melanie Best     Elections-Attorneys                                      Redact                             from private citizen living in Michigan with
                                                                                                                                             9E41200441D2100.m            Deliberative Process
                                                                                                                                                                                                 husband deployed overseas, who formerly lived in
                                                                                                                                             sg
                                                                                                                                                                                                                       Texas.




                                                                                                                                                                                                Communication between Keith Ingram and Legal
                                                                                                                                             000000000F42E7293
                                                                                                                                                                                               Director Christina Adkins regarding how to respond
                                                                                                                                             C856D4C928B5B390              Attorney Client;
STATE105033   Christina Adkins   6/1/2020   Outlook Email   RE: Please review...     Christina Adkins     Keith Ingram                                           Redact                          to outside proposal from Electsure Learning to
                                                                                                                                             9E41200645D2100.m            Deliberative Process
                                                                                                                                                                                                     provide SB1-related training to election
                                                                                                                                             sg
                                                                                                                                                                                                                 administrators.




                                                                                                                                                                                                 Email with Attorney Melanie Best's draft of email
                                                                                                                                             000000000F42E7293
                                                             DRAFT: add voting                                                                                                                     for response to voters' questions about COVID
                                                                                                          Keith Ingram;                      C856D4C928B5B390              Attorney Client;
STATE105036   Christina Adkins   6/4/2020   Outlook Email   places for people over     Melanie Best                           Melanie Best                       Redact                             immunity, whether non-disabled persons can
                                                                                                         Christina Adkins                    9E4120084622100.m            Deliberative Process
                                                                60? DRAFT                                                                                                                        qualified for disability protections if their spouse is
                                                                                                                                             sg
                                                                                                                                                                                                        disabled, and voting locations/set up.




                                                                                                                                                                                                 Email with discussion between attorneys Adam
                                                             RE: MASS EMAIL                                                                  000000000F42E7293                                 Bitter, Keith Ingrams, and Christina Adkins, about
                                                             (CC/EA/VR - 940) -                           Keith Ingram;                      C856D4C928B5B390              Attorney Client;       how to respond to Jim Hogg County official's
STATE105038   Christina Adkins   6/8/2020   Outlook Email                              Adam Bitter                                                               Redact
                                                               Ballot-by-Mail                            Christina Adkins                    9E41200E46B2100.m            Deliberative Process     question about the Texas Supreme Court's
                                                              Litigation Update                                                              sg                                                emergency order and whether COVID fears would
                                                                                                                                                                                                be considered as a disability for ABBM eligibility.




                                                                                                                                                                                                   Email with discussion between attorneys Adam
                                                             FW: MASS EMAIL                                                                  000000000F42E7293                                   Bitter, Keith Ingrams, and Christina Adkins, about
                                                             (CC/EA/VR - 940) -                         Christina Adkins;                    C856D4C928B5B390                                       how to respond to Jim Hogg County official's
STATE105041   Christina Adkins   6/8/2020   Outlook Email                              Keith Ingram                                                              Redact     Attorney Client
                                                               Ballot-by-Mail                             Adam Bitter                        9E41200846C2100.m                                       question about the Texas Supreme Court's
                                                              Litigation Update                                                              sg                                                  emergency order and whether COVID fears would
                                                                                                                                                                                                  be considered as a disability for ABBM eligibility.




                                                                                                                                                                                                 Email with discussion between attorneys Adam
                                                             Re: MASS EMAIL                                                                  000000000F42E7293                                 Bitter, Keith Ingrams, and Christina Adkins, about
                                                             (CC/EA/VR - 940) -                           Adam Bitter;                       C856D4C928B5B390              Attorney Client;       how to respond to Jim Hogg County official's
STATE105044   Christina Adkins   6/8/2020   Outlook Email                              Keith Ingram                                                              Redact
                                                               Ballot-by-Mail                            Christina Adkins                    9E41200A46C2100.m            Deliberative Process     question about the Texas Supreme Court's
                                                              Litigation Update                                                              sg                                                emergency order and whether COVID fears would
                                                                                                                                                                                                be considered as a disability for ABBM eligibility.




                                                                                                                                                                                                 Email with discussion between attorneys Adam
                                                             RE: MASS EMAIL                                                                  000000000F42E7293                                 Bitter, Keith Ingrams, and Christina Adkins, about
                                                             (CC/EA/VR - 940) -                           Keith Ingram;                      C856D4C928B5B390              Attorney Client;       how to respond to Jim Hogg County official's
STATE105047   Christina Adkins   6/8/2020   Outlook Email                              Adam Bitter                                                               Redact
                                                               Ballot-by-Mail                            Christina Adkins                    9E41200E46C2100.m            Deliberative Process     question about the Texas Supreme Court's
                                                              Litigation Update                                                              sg                                                emergency order and whether COVID fears would
                                                                                                                                                                                                be considered as a disability for ABBM eligibility.
                                                                                    Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 79 of 82




                                                                                                                                                                                                  Email with discussion between attorneys Adam
                                                              Re: MASS EMAIL                                                                000000000F42E7293                                   Bitter, Keith Ingrams, and Christina Adkins, about
                                                              (CC/EA/VR - 940) -                                                            C856D4C928B5B390                                       how to respond to Jim Hogg County official's
STATE105050   Christina Adkins   6/8/2020    Outlook Email                          Christina Adkins     Keith Ingram                                           Redact     Attorney Client
                                                                Ballot-by-Mail                                                              9E41200847D2100.m                                       question about the Texas Supreme Court's
                                                               Litigation Update                                                            sg                                                  emergency order and whether COVID fears would
                                                                                                                                                                                                 be considered as a disability for ABBM eligibility.




                                                                                                                                                                                                   Email conversation between Legal Director
                                                                                                                                            000000000F42E7293
                                                                                                                                                                                              Christina Adkins and attorney Melanie Best to draft
                                                              Re: Ballot by Mail                                                            C856D4C928B5B390              Attorney Client;
STATE105052   Christina Adkins   6/14/2020   Outlook Email                          Christina Adkins     Melanie Best                                           Redact                        language to respond to voters questions about mail-
                                                                   DRAFT                                                                    9E41200E47F2100.m            Deliberative Process
                                                                                                                                                                                                 in voting for voters who do not meet eligibility
                                                                                                                                            sg
                                                                                                                                                                                                  requirements, but are worried about COVID.




                                                                                                                                                                                                   Email conversation between Legal Director
                                                                                                                                            000000000F42E7293
                                                                                                                                                                                                  Christina Adkins and attorney Heidi Martinez
                                                             FW: Absentee Ballot                       Christina Adkins;                    C856D4C928B5B390
STATE105054   Christina Adkins   6/26/2020   Outlook Email                           Heidi Martinez                                                             Redact     Attorney Client       about how to respond to ballot by email situation
                                                                  Envelope                             Alexa Buxkemper                      9E41200E4B92100.m
                                                                                                                                                                                                  wherein Travis County was not following SOS
                                                                                                                                            sg
                                                                                                                                                                                                                    guidance.




                                                                FW: Governor                                                                000000000F42E7293
                                                                                                                                                                                                 Email with deliberation of SOS legal team about
                                                               Abbott: institute                        Keith Ingram;                       C856D4C928B5B390              Attorney Client;
STATE105056   Christina Adkins   6/29/2020   Outlook Email                             LegalTeam                                                                Redact                          how to respond to an outside request for universal
                                                              universal vote-by-                       Christina Adkins                     9E4120084C32100.m            Deliberative Process
                                                                                                                                                                                                       voting by mail during the pandemic.
                                                                    mail!                                                                   sg




                                                                                                                                                                                                 Email with attorney discussion between Heidi
                                                                RE: Questions                                                               000000000F42E7293
                                                                                                        Heidi Martinez;                                                                         Martinez, Christina Adkins, and Melanie Best
                                                                Regarding the                                                               C856D4C928B5B390              Attorney Client;
STATE105065   Christina Adkins   2/19/2020   Outlook Email                            Melanie Best     Christina Adkins;                                        Redact                             about draft responses to FAQ on candidate
                                                             Election Application                                                           9E4120044662200.m            Deliberative Process
                                                                                                         Melanie Best                                                                         applications, prepared in response to questions from
                                                                   (DRAFT)                                                                  sg
                                                                                                                                                                                                               a private attorney.




                                                                                                                                                                                                Email with discussion among SOS legal team on
                                                               RE: Query from
                                                                                                                                            000000000F42E7293                                  how to draft response from regarding inquiry from
                                                               AARO: Denial of
                                                                                                       Christina Adkins;                    C856D4C928B5B390              Attorney Client;     AARO on the legal basis for denying the ability to
STATE105069   Christina Adkins   4/21/2020   Outlook Email     Voting Rights for      Melanie Best                         Genevieve Gill                       Redact
                                                                                                        Heidi Martinez                      9E41200040D2300.m            Deliberative Process register to vote to American citizen who have never
                                                                (some) Texas
                                                                                                                                            sg                                                 lived in Texas, but whose parents have, although
                                                             Expatriates (DRAFT)
                                                                                                                                                                                                    they now live outside the United States.




                                                                                                                                                                                                Email with discussion among SOS legal team on
                                                               FW: Query from
                                                                                                                                            000000000F42E7293                                  how to draft response from regarding inquiry from
                                                               AARO: Denial of
                                                                                                       Christina Adkins;                    C856D4C928B5B390              Attorney Client;     AARO on the legal basis for denying the ability to
STATE105072   Christina Adkins   4/21/2020   Outlook Email     Voting Rights for     Heidi Martinez                        Genevieve Gill                       Redact
                                                                                                         Melanie Best                       9E41200240D2300.m            Deliberative Process register to vote to American citizen who have never
                                                                (some) Texas
                                                                                                                                            sg                                                 lived in Texas, but whose parents have, although
                                                             Expatriates (DRAFT)
                                                                                                                                                                                                    they now live outside the United States.
                                                                                      Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 80 of 82




                                                                                                                                                                                                      Email with discussion among SOS legal team on
                                                                 Re: Query from
                                                                                                                                                  000000000F42E7293                                  how to draft response from regarding inquiry from
                                                                AARO: Denial of
                                                                                                         Melanie Best; Heidi                      C856D4C928B5B390              Attorney Client;     AARO on the legal basis for denying the ability to
STATE105075   Christina Adkins   4/21/2020    Outlook Email     Voting Rights for     Christina Adkins                          Genevieve Gill                        Redact
                                                                                                             Martinez                             9E41200C40E2300.m            Deliberative Process register to vote to American citizen who have never
                                                                  (some) Texas
                                                                                                                                                  sg                                                 lived in Texas, but whose parents have, although
                                                              Expatriates (DRAFT)
                                                                                                                                                                                                          they now live outside the United States.




                                                                                                         Melanie Best; Keith                      0000000078ECA431F
                                                                                                                                                                                                     Email with attorney discussion of how to answer
                                                               RE: Courier issue                         Ingram; Lena Proft;                      0AE5F43954A09E42              Attorney Client;
STATE105095   Christina Adkins   10/14/2020   Outlook Email                            Heidi Martinez                                                                 Redact                        proposal from Dallas V.O.T.E.S about using courier
                                                                   follow up                              Christina Adkins;                       C2B0B1784A92000.             Deliberative Process
                                                                                                                                                                                                        services as mail in ballot drop-off locations.
                                                                                                             Elec Legal                           msg




                                                                                                                                                  0000000078ECA431F
                                                                                                         Keith Ingram; Lena                                                                          Email with attorney discussion of how to answer
                                                                Re: Courier issue                                                                 0AE5F43954A09E42              Attorney Client;
STATE105100   Christina Adkins   10/14/2020   Outlook Email                             Melanie Best      Proft; Christina                                            Redact                        proposal from Dallas V.O.T.E.S about using courier
                                                                    follow up                                                                     C2B0B17E4A92000.             Deliberative Process
                                                                                                         Adkins; Elec Legal                                                                             services as mail in ballot drop-off locations.
                                                                                                                                                  msg




                                                                                                                                                  0000000078ECA431F
                                                               Fwd: Keith - Who                                                                                                                      Email with attorney communication between Keith
                                                                                                                                                  0AE5F43954A09E42
STATE105110   Christina Adkins   9/16/2020    Outlook Email    are all these people     Keith Ingram      Christina Adkins                                            Redact     Attorney Client      Ingram and Christina Adkins regarding LWVT
                                                                                                                                                  C2B0B1764F42100.
                                                                  on the ballot?                                                                                                                                email newsletter on voting.
                                                                                                                                                  msg




                                                                                                                                                  0000000078ECA431F
                                                                                                                                                                                                    Email with SOS attorney conversation about how to
                                                              FW: lost mail ballot                                                                0AE5F43954A09E42
STATE105123   Christina Adkins    7/9/2020    Outlook Email                            Heidi Martinez    Elections Internet    Christina Adkins                       Redact     Attorney Client    respond to Roberts County official's question about
                                                                (EI Response)                                                                     C2B0B1744132800.m
                                                                                                                                                                                                       early voting affidavit for a lost mail in ballot.
                                                                                                                                                  sg




                                                                                                                                                  0000000078ECA431F
                                                              FW: re-sending ballot                                                                                                                 Email with SOS attorney conversation about how to
                                                                                                                                                  0AE5F43954A09E42
STATE105125   Christina Adkins    7/9/2020    Outlook Email     lost question (EI      Heidi Martinez    Elections Internet    Christina Adkins                       Redact     Attorney Client    respond to Roberts County official's question about
                                                                                                                                                  C2B0B17A4132800.
                                                                    Response)                                                                                                                          early voting affidavit for a lost mail in ballot.
                                                                                                                                                  msg




                                                                                                                                                  0000000078ECA431F                                     Email with attorney communication between
                                                              FW: Party ABBM (EI                                                                  0AE5F43954A09E42                                   Christina Adkins and Heidi Martinez about how to
STATE105127   Christina Adkins   1/21/2022    Outlook Email                            Heidi Martinez    Elections Internet    Christina Adkins                       Redact     Attorney Client
                                                                   Response)                                                                      C2B0B17242D2800.                                     responded to Hardin County official's question
                                                                                                                                                  msg                                                          about a party-produced ABBM.
                                                                                     Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 81 of 82




                                                                                                                                                                                                       Email with attorney communication between
                                                                                                                                                0000000078ECA431F                                    Christina Adkins and Heidi Martinez about how to
                                                              FW: Questions on
                                                                                                                                                0AE5F43954A09E42                                      respond to Frio County official's question about
STATE105133   Christina Adkins   1/14/2020   Outlook Email   working out of town      Heidi Martinez   Elections Internet   Christina Adkins                        Redact     Attorney Client
                                                                                                                                                C2B0B1724762800.m                                   early voting by registered voters, who are out of the
                                                                 voters (EI)
                                                                                                                                                sg                                                  county, and don't have an address at which they can
                                                                                                                                                                                                                  be sent a mail in ballot.




                                                                                                                                                                                                       Email with attorney communication between
                                                                                                                                                                                                     Christina Adkins, Melanie Best, Charles Pinney,
                                                                                                                                                0000000078ECA431F
                                                             FW: Special Election-                                          Christina Adkins;                                                       and Heidi Martinez about who responded to and the
                                                                                                                                                0AE5F43954A09E42
STATE105134   Christina Adkins   1/28/2020   Outlook Email    Emergency Ballots       Heidi Martinez   Elections Internet     Melanie Best;                         Redact     Attorney Client        manner in which they responded to Eagle Pass
                                                                                                                                                C2B0B1784782800.m
                                                                    (EI)                                                     Charles Pinney                                                           official's question about whether she could use
                                                                                                                                                sg
                                                                                                                                                                                                    general election ballots during early voting, because
                                                                                                                                                                                                    the County was running out of early voting ballots.




                                                                                                                                                                                                        Email with attorney communication between
                                                                                                                                                0000000078ECA431F
                                                              FW: COUPLE OF                                                                                                                         Christina Adkins and Heidi Martinez about how to
                                                                                                                                                0AE5F43954A09E42
STATE105136   Christina Adkins   1/31/2020   Outlook Email      THINGS (EI            Heidi Martinez   Elections Internet   Christina Adkins                        Redact     Attorney Client      respond to Bandera County official's question about
                                                                                                                                                C2B0B17047A2800.
                                                                 Response)                                                                                                                           a candidate, who wasn't a VDR, handing out and
                                                                                                                                                msg
                                                                                                                                                                                                       then collecting voter registration applications.




                                                                                                                                                                                                        Email with attorney communication between
                                                                                                                                                0000000035FA4DA9                                    Genevieve Gill and Krystine Ramon about response
                                                                                                                            Christina Adkins;   4717BF4A823A281E                                     to Shackelford County official's question about an
STATE105141   Christina Adkins   5/26/2020   Outlook Email   FW: BBM Question         Krystine Ramon   Elections Internet                                           Redact     Attorney Client
                                                                                                                             Genevieve Gill     9716D9CB44F12000.                                    ABBM based on disability for the primary, which
                                                                                                                                                msg                                                 did not indicate which party's primary in which the
                                                                                                                                                                                                                voter wished to participate.




                                                                                                                                                                                                   Email discussion Legal Director Christina Adkins
                                                                                                                                                0000000035FA4DA9                                  and Keith Ingram related to Travis County's inquiry
                                                                                                                                                4717BF4A823A281E              Attorney Client;    about volunteer deputy registrar training conducted
STATE105143   Christina Adkins   6/1/2020    Outlook Email   RE: Please review...      Keith Ingram    Christina Adkins                                             Redact
                                                                                                                                                9716D9CB64F72000.            Deliberative Process at the Texas Democratic Convention, SOS's possible
                                                                                                                                                msg                                                   participation, and ballot drop boxes for voter
                                                                                                                                                                                                                registration applications.




                                                                                                                                                                                                   Email discussion Legal Director Christina Adkins
                                                                                                                                                0000000035FA4DA9                                  and Keith Ingram related to Travis County's inquiry
                                                                                                                                                4717BF4A823A281E              Attorney Client;    about volunteer deputy registrar training conducted
STATE105145   Christina Adkins   6/1/2020    Outlook Email   RE: Please review...      Keith Ingram    Christina Adkins                                             Redact
                                                                                                                                                9716D9CBC4F72000.            Deliberative Process at the Texas Democratic Convention, SOS's possible
                                                                                                                                                msg                                                   participation, and ballot drop boxes for voter
                                                                                                                                                                                                                registration applications.




                                                                                                                                                                                                      Email with attorney communication between
                                                                                                                                                0000000035FA4DA9
                                                                                                                                                                                                    Melanie Best, Keith Ingram, and Christina Adkins
                                                              FW: Ballot by Mail                        Keith Ingram;                           4717BF4A823A281E              Attorney Client;
STATE105148   Christina Adkins   6/9/2020    Outlook Email                             Melanie Best                                                                 Redact                          about how to respond to a likely-to-be FAQ about
                                                                   DRAFT                               Christina Adkins                         9716D9CB04032100.            Deliberative Process
                                                                                                                                                                                                    mail in voting during the pandemic by voters who
                                                                                                                                                msg
                                                                                                                                                                                                           don't meet eligibility requirements.
                                                                                       Case 5:21-cv-00844-XR Document 747-15 Filed 09/01/23 Page 82 of 82




                                                                                                                                                                                                Email with attorney communication between
                                                                                                                                         00000000EA87D65F
                                                                                                                                                                                             Christina Adkins and Krystine Ramon about how to
                                                                 FW: City Secretary                          Elections Internet;         0E1B604FB976FA0D
STATE105158   Christina Adkins     4/22/2021    Outlook Email                           Krystine Ramon                                                       Redact     Attorney Client         respond to Hemphill official's question about
                                                                   Office Hours                               Christina Adkins           EE778DE2C43D2000
                                                                                                                                                                                             whether the City Secretary's office was required to
                                                                                                                                         .msg
                                                                                                                                                                                                     be open during early voting hours.




                                                                                                                                                                                               Email with attorney communication between
                                                                                                                                         00000000EA87D65F
                                                                                                                                                                                           Christina Adkins and Krystine Ramon about how to
                                                                                                                                         0E1B604FB976FA0D              Attorney Client;
STATE105160   Christina Adkins     1/25/2021    Outlook Email   FW: TEAM Questions      Krystine Ramon        Christina Adkins                               Redact                         respond to inquiry from the Southern Coalition for
                                                                                                                                         EE778DE2A4592100.            Deliberative Process
                                                                                                                                                                                           Social Justice concerning the use of TEAM, the role
                                                                                                                                         msg
                                                                                                                                                                                           of county boards, and the increase in mail in ballots.




                                                                                                                                         00000000318D9F297                                   Email with attorney communication between Adam
                                                                Fwd: Winter Weather    Elections Internet    Adam Bitter; Keith          557E04286373A60C4                                   Bitter, Keith Ingram, and, likely Christina Adkins
STATE108179   Elections Internet   2/16/2021    Outlook Email                                                                                                Redact     Attorney Client
                                                                      issues           (Christina Adkins)        Ingram                  ADCA4F643B2500.m                                    regarding early voting inquiry from Young County
                                                                                                                                                 sg                                          regarding unreliable electricity at polling locations.




                                                                   Fwd: URGENT:                                                          00000000090C3B26B                                 Internal communication among SOS executive team
                                                                                                             Joe Esparza; Adam
                                                                Requesting comment                                                       1C96C4BAAA05A1A                                     regarding how to respond to Community Impact
STATE108205   Elections Internet   10/21/2020   Outlook Email                           Stephen Chang       Bitter; Keith Ingram;                            Redact   Deliberative Process
                                                                 from SOS on drive-                                                      A3B127A164BC2000.                                  Newspaper regarding whether drive-thru votes in
                                                                                                              Elections Internet
                                                                     thru voting                                                                msg                                                  Harris County would be counted.




                                                                    Re: ADVICE
                                                                                                                                                                                             Email with internal attorney-client communication
                                                                 REQUIRED: Active                                                        000000006C250082D
                                                                                                             Adam Bitter; Keith                                                                between Ruth Hughes, Adam Bitter, and Keith
                                                                     Threats to                                                          43E2C42BDB1B1920              Attorney Client;
STATE108324   Christina Adkins     10/20/2020   Outlook Email                             Ruth Hughs        Ingram; Joe Esparza;                             Redact                           Ingram regarding how to respond to inquiry from
                                                                Disenfranchise Tens                                                      F7DA3C7A4812100.             Deliberative Process
                                                                                                              Christina Adkins                                                                Harris County Clerk Chris Hollins regarding the
                                                                  of Thousands of                                                               msg
                                                                                                                                                                                                        legality of drive thru voting.
                                                                Harris County Voters




                                                                   RE: ADVICE
                                                                                                                                                                                             Email with internal attorney-client communication
                                                                 REQUIRED: Active                                                        000000006C250082D
                                                                                                            Keith Ingram; Ruth                                                                between Adam Bitter, Keith Ingram and the SOS
                                                                     Threats to                                                          43E2C42BDB1B1920              Attorney Client;
STATE108327   Christina Adkins     10/20/2020   Outlook Email                            Adam Bitter        Hughs; Joe Esparza;                              Redact                              Executive Team regarding how to respond to
                                                                Disenfranchise Tens                                                       F7DA3C784822100.            Deliberative Process
                                                                                                             Christina Adkins                                                                  inquiry from Harris County Clerk Chris Hollins
                                                                  of Thousands of                                                               msg
                                                                                                                                                                                                  regarding the legality of drive thru voting.
                                                                Harris County Voters
